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s97xdoy «GPF ET? LOOZHYNZO

cool

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] VOOcdaSL0
Zeprostp I azetodta Su 00°00z ELVYWWOA ANIGVILENO ON ON SaA -Po0cdHS ZO
[seutdezetyL
puy seutdezexo ‘seutdezeta] POOTdHSTO
Teprostp I zaeqtodza  5w 00°00T ELVEVWOd HNIGVILANO ON ON SEA -POOTDNYTE
[seatqeatszeq ptow Aq jeg] SOO CAYNS8O SOO CHYWNTE FOOCONAPT
Iepiostp J azetodtg Bw 00°006 WNIGOS ALVYOUdTIVA SHA SaA SaA -yOOTINFTE -POOZOHAST -7O07TdHS8O0 TWA / W1d LOOEOV0N
[SeATIeATASq ptoy Aqqeg] soocinrgc
Iepiostp J azetodtg Bu 00°006 WNIdGOS HLYONdTIVA SHA Sada ON -BOO0 CONTI
[SeaTIeAtseqd ptow Aqqeg]
Zeprostp J azetodtg Bw 00°009 WNIdGOS ALYOUdTIVA ON ON SaA
[SSuTdezertyL
puy seutdezexg ‘seutdezetq] POOZONYIZ
Zepiostp J azetodtg Bw 00°008 HLVYWWNA ANIGVILHYNS ON ON SaA -POOCTONVET
[seutwy ArzetqzeL] FOOCONVET
woTqueasid sda Bu 00°F HQTYOTHOONGAH NHCIasgdId ON ON SHA -POOZONVET
[SeaTIeATASC Susy AUeXxoTyL]) VOOTONVET SOOcNNE9T SOO7TUYW90
Tepzlostp I zejtodta Bu 00°0r ALVONYOHA IOXILNSdN 1a ON ON SHA -POOZDNVET -SOO0ZHYWLO -POOzZONYE? TWA / Wild 900E070R
aleprzostp [seat jeatiseq ptow Aaqeg] SOOZN¥L6O
“JT aetodtg Sw oo0°o00zT WNIGOS ALYOUdTVA ON Sada ON -poozc Loos
Zepazcstp [seat jeatszeq ptow Aqqed] vOOTAHSLO
“I azeTodtg Bw 00°009 WOIGOS HLYONdTYA ON Sada Sada -pyooconyvst
[seutdezetyL
Aepszostp puy seutdezexo ‘seutdezetq) POOZDAYSZ
“I aeqtodtg Bw 00°00F HLVYWWNA ANIdVILHNS ON ON SaA -POOCONVLT
[(Uteyo-epts oTjqeudt ty
Aepizostp YIM seuptzety jouer) VOOTdHSES SOOCNYITT
“I zetodtg Bu 00°OST HNIZYNOUdAWOAdT ON Sax SHA -POOcONYTT -POOZONWSZ dLS 10 £00f070e
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 16% abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771823
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C691

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] VOOcdaSs0z
TeprosTtp zejTodt Su 00°00% ELVYWWOA ANIGVILENO ON ON SaA -POOcdHSLT
[seutdezetyL
puy seutdezexo ‘seutdezeta] DOOTdHS9T
Teprostp aeptodtg Bw 00°00€ HLVYWWAA ANIGVILHNG ON ON SaA -PO0cdHS9T
[seutdezertyL
puy seutdezexo ‘seutdezetq] vOOTdHSST
TEprOSTp aeqtodtg Bu 00°002 HLVaWWNA ANIGVILENS ON ON SHA -PO0cdHS vO
[SeATIeATASq ptoy Aqqeg] SOOCAVNLZ
TeprosTtp reptodtg Bw 00°009 WNIdGOS HLYONdTIVA SHA Sada Sada -PoocIne’s2
[sto0aTtqtTyUul eyeqdney
UTUOJOASS SATIOSTES] SoOozTOr6Tt
Teprostp zejTodt Bu 00°0z HQATHOTHOOUGAH ANILAXONVd SHA ON ON -SOOCNNP9T
[Seat eATASq Susy AuUexoTyL]) SOOcNNC9T SOOTNNC6T SOOCNYIOE
TOproOstp azeptodtg Bu 00°02 HIVONYOEd TIOXILNSYdNTA SaA ON ON -SOOZNOT9T -SOOZNYPTE -yOOzTdHSOZ TWA / dLO 600£0708
[seatqeatszeq ptoy Aqjedg] SOO CAYNEO
TEeprostp aetodtg 6w oo0°00zT WNIGOS ALVYONdTIVA SHA SaA ON -DPOOTdHSTZ
[seatqeatseq ptoy Aqjeg] POOcdHSTa
Teprostp reTodtE Bu 00° 006 WhIGOS HLVONdIVA ON SaA SHA -POOZOAVTE
[Seat eATASq Susy AuUexoTyL]) VOOTONYOT SOO 7TUVN60 VOOCONAPT
TOproOstp azeptodtg Bu 00°0F HLIVONYOEd TIOXILNYdNTA ON ON SHA -POOZDAYOT -vOOZDEAST -yOOTdHSSO TWA / WId 800£0708
[S®aTAeATIaq SsuouaTdorzAqng] SOOZHAYOE
TEeprostp aepodtg Bu 00°ST TJOCIHHdOTVH SHA ON ON -SOOCTAWNITE
[seatqeatseq ptoy Aqjeg] SOOCHAYOE
Teprostp aetodtq 6w 00°002T WOIGOS SLVONdTVA SHA ON ON -SOOZHYN60
[Seatzeatseq seutTdezetpozusg] SOOCHVNTE SOOCUVNTE VOOCONQPT
Aye TxXuy Bu 00°2 WYdEZVHOT SHA ON ON -SOOZGHA60 -POOZDHAST -POOZdHS80 TWA / W1d LOOf00E
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITTT JO 726% abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771824
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s97xdoy «GPF ET? LOOZHYNZO

voor

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] VoocInryt
TeprosTtp zejTodt Su 00°00€ ELVYWWOA ANIGVILENO ON ON SaA -POOCNN’8Z
[SSATIPATIEQ SpTwexogqzeD] PpoOocTINYT
TeprosTtp azejTodta Su 00°00% HNIGHZVNWadyD ON ON SHA -POOcadTE Zz
[seutdezeryy
puy seutdezexg ‘ssutdezeta] POOCNNL LZ SO00ZLDOFO SOOcdHATTS
Teprzostp ae podtg Bw 00°002 HLVYWWNA ANIdVILHYNS ON ON SaA -yOOTHdY6Z -SOO7THHAEZ -VOO7TEHSEZT TWA / ALO TIOEOV0N
[S®PATIeATAeq SsuCUSYdorAqng] 900CNWLET
TeprosTtp reptodtg Bw 00°6 TJOCISYHdOTVH ON ON ON - S00 COHA9T
[seatqeatszeq prow Aqqjeg]
Teprostp azetodtg 6w oo*o00sT WOIdGOS ALVYOUdTIVA ON ON ON
[SSATIPATAGq sUTdezeTpozuEg]
Tepiostp I zeTodta Bw 00°OT WYdazvVId ON ON ON
[seutwy AzetqzeL] SOOCNYET
Sd Bu 00°9 NHdTasdIad ON ON ON -GOO0COHAST
[SSeATIPATASq ptoy Aqqeg] SOOZONCFT
TeprosTtp aetodtg 6w oo*000T WNIdGOS ALYONdTVA SHA ON ON -G00¢LO002
[seaTqeatied ptow Aqjeg]) SOOZLOO6T
tTeprostp aeptodtg Bw 00°006 WONIdGOS ALVYOUdTIVA SHA SaA ON -Poo0cddst2
[seutdezertyL
puy seutdezexo ‘seutdezetq] VOOTdHSTZ
TeprosTtp zejTodta Bu 00°00z2 HLVaWWNA ANIGVILENS ON ON SHA -POOcoOnNwLe
[SeATIeATASq ptoy Aqqeg] VOOCdHS0C
teptostp zejtodtq 6wu 00°000T WONIGOS ALYOUdTYA ON ON Sada -PoOoconvl2
[seat {eAtieqd suousydozAqjng] SOO cOseaST SOO ZOaaPvT SOO0cdHATO
TOprosrtp aeptodtg Bu 00°ST TJOCTIYsdOTVH ON ON ON -SOOZOHAST -SO0ZEHAEO -FOOTHHSTZ TWA / VW1d OTOf070R
[seatqeatszsq ptow Aq3e4g] soociInréet SOOCNNC6T SOOCNYLOE
Ieprostp J azeqtodtq 6w oo0*o000T WNIdGOS HLVYOUdTVA SHA ON ON -SOOZHYN8Z -SOOZNYPTE -POOZdHSOZ TWA / dLO 6000708
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO €6% abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771825
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S691

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[S@ATIPAT IEG
puy ploy oTTAotTes] S00¢.LOOOT
pToo uowwop 6w 00°000T CGIOVW OITAOITIVSTALYOY SHA ON ON -GO00ZLO0S0
[seatqeatszeq prow Aq3e,] 9D0TAVNIBT
Zeprostp I zetodt@ Sw o00°o0st WONIGOS HLVONdTIVA SHA SHA SHA -Pooconzet
[seutdezeryy
puy seutdezexg ‘seutdezetq] POOZLOOZT  9007HH49Z SOOTHAYZT
tepiostp I] azetodta 6m 00°009 BLVUWNOd ENIGWILENG oN ON SHA -POOTHNYZT -SOOZHdWET -POOZLDOET TWA / Wild ETOEOvOE
[seutdezeryy
puy seutdezexo ‘seutdezetq] FOOTLOOLO
Teprostp ae podtg Bw 00°009 HLVYWWNA ANIdVILHYNS ON ON SaA -POO7TLOOVO
[seutdezetyL
puy seutdezexg ‘seutdezetaq] POOZLOOVO
TeprosTtp reptodtg Bw 00°00S ELVYWWNA ANIdVILHNS ON ON Sada -FOO0CLOOEO
[seutTdezertyuL
puy soeutdezexg ‘soutdezetq] POOZLOOEO
aTepszostp reyTodtg Bu 00°00% HLVavVWNA ANIGVILYNO ON ON SEA -POOTLOOTO
[seatqeatszeq prow Aqjeg] SOOcONWTT
TeprosTtp zejTodta Bu 00°006 WOIGOS HLVONdTVA SHA SHA SHA -POOcdHSOE
[(UTeUD-Spts oTqeudt iy
YIM Seutzetyjouerd]) POOZLOOTT SOO?cTINE eT SOOCAYWNZ?
TSprostp aepodtg Bu 90°Sz HNIZVNOUCHEWOART ON Sada SaA -YOOTGHSOE -SOOTHYWWEZ -7OOZTLOOLO TWA / W1d ZIOE070H
[SeATIeATASq ptoy Aqqeg] SOOZAONEO
teptostp zeqtodtq 6wu 00°00zT WNIdGOS ALVYONdTVA SHA ON ON -Gd0coNYTO
[seaTieatieq ptow Aqqea] soozinrte
tTeprostp aeptodtg Bw 00°006 WONIdGOS ALVYOUdTIVA SHA SaA SaA -PO0cdHS9T
[seutdezertyL
puy seutdezexg ‘seutdezeta] vOOTcdHS ce SOO07TLODOVO SOOCEHHATTS
Iepiostp J zetodtg Bu 00°00z2 ELVYWWAA ANIGVILHNO ON ON SHA -POOZdHSPLT -SO0O7EHACZ -POOZTdHSEZ TWA / dLO TTOf070R
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT JO ¥G% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771826
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969T

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[seatqeatszeq prow Aqje4] SOO0cdHA CT
Zeprostp I azetodta Su 00°006 WONIdGOS HLVONdTYA ON Sax SaA -SOOCNYPOT
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOCNWL9T
Zeprostp J azetodtg Bw 00°002 HLVYWWAA ANIGVILHNG ON ON SaA -GOOCNYCOT
[seutwy AretqrEL] SOOCNYLOT
sda Bw 00's NAHQTasadIad ON ON SaA -SOOCNYCOT
[SPATIEATASC SuSyAUeXOTYL]) SOOcNYCLO SOOCAYWOT
Iepilostp J zetodtg Su 00°00z HLVONVOUd TIOXTHINAdOIONZ ON ON SaA -SOOCNYPLO -GOOCNVI'9Z dlO IO STOE0V0N
[seatqeatszeq prow Aqqjeg]
Zeprostp J azetodtgq 6w oo*o00zT WNIdGOS ALVOAdTIVA ON ON ON
[SSPATIPATAeq SsuCUSYdorAqng]
Iepiostp J azetodtg Bu 00°ST TOCTSYHdOTVH ON ON ON
[S®aTIeATAegq SeUTdEezeTpozueEg]
Zeprostp I azetodtad Bu 00°OT WYddZvVId ON ON ON
[seutwy AzetqzeL] SO0zLO00Z
woTqueasid sda Bu 00°8 NHQITasdIad ON ON ON -S0O07@dHSTC
[squeby otbzeutwedog
uotsueqodAy puy oTbreuerpy] Sooza4e460
TeTtewy Bu 00°0T HATYOTHOONGAH HANTIMAOdIN ON Sada ON -S00caHATO
(UTeUD-epts oTIeUydt Ty
YIM SseupTzety jouer] VOOTAONTO
Zeprostp I azetodtad Bu oo°SL HNIZVNOUCAWOAdT ON ON SHA -POOCLOOST
[SeATIeATASq ptoy Aqqeg] SOO0CdHS50C
Iapiostp J zetodtg Bu 00°006 WONIdGOS HLVYONdTIVA SHA Sada Sada -Poo0cdsod
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] POOZAON80
Teprostp J] szeTodtg Bu 00°009 HLVaVWNA ANIGVILYNS ON ON SEA -pO0cdaSO?
[SSATISATASC Susy QUeXOTYL]) SOOcdHSTC SOOcdaSOC SOOCUYWET
Iepiostp J zetodtg Bu 00°00z2 HLIVLEOV IOXTIHINYdO1IDNNZ ON ON ON -SOOZdHSTZ -SOOZHYNPZ -POOZAON60 TWA / dLO PIOFOV0R
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTITT JO GG¥% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771827
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LOOT

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[seatqeatszeq prow Aq3e,] 9007TdHS 97
Iepiostd J zetodtg Bu 00°006 WiIdOS HLVONdTVA SHA SHA ON -SOOCNWITE
[SeATIeATASq ptoy Aqqeg] SOOCNVCOE
Teprostqd I zetodtq bw o0°o000T WiIdOS HLVONdTIVA ON ON Sada -SOOCNWLOT
[seutdazeryL
puy seutdezexg ‘seutdezetq] SOOCNWLOE
Ieprostqd J zetodtg Bw 00°00€ ELVYWWAA ANIdVILEYNO ON ON SaA -VOO0cOHAzTS
. [Sept T Tuy]
ZHW=PTOo uowwoD 6wW 00*000T TOWWLHOVAVd = SHA ON ON
[sotqAToony] SOO0CLOO8T 900cONWLe soOcINCOT
CAV=PTOO WOWWOD Bu 00° 7z HNTIXSHWONR SHA ON ON -SOOZLOOTZ -SOOZINTTT -SOOZNYPTE TWA / dLO 9TOE0V0R
[seaTieatieq ptow Aqqea] GOOZAYNGO
Teprostp I azetodtq bw o0°00st WiIdOS HLVONdTIVA ON SaA ON - SOO CHWW9T
[seatqeatszeq prow Aqje,] SOOCHVNST
Teprostp I zetodtq@ b&w o0°00zT WiIdOS HLVONdTIVA ON Sada ON -~SOOTHHAET
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCNYISZ
Iepiostp I zetodtg Bu 00°008 HLVavWnd ANIGVILYNS ON ON Sada -SOOCNWL6T
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SOOZNYL8T
Teprostp J] szertodtg Bu 00° 00% HLVaVWOA ANIGVILHYNO ON ON SadA -~SOOCNVDLT
[SSATIEATASQ SUSyAUeXOCTYL]
Iepiostp J zetodtg Bu 00°002 GIVLEOV TOXTIHLNAdOTONZ ON ON SaA
[seutwy AzetTqAzeL] SOOCNYLAT
sda 6u 007s NAHCTasdIad@ ON ON SaA -SOOZNYCLT
[seutwy Azetqze]]) SOOCNVC8T SOOCAVWOT
sda Bu 00°79 NHdTaadIad ON ON SaA -SOOCNWCITT -SOOCcNWL9Z dLO IO STOE0V0E
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 96% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771828
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8691

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seaTIeatieqd prtow Aqqea] soozInrsz
Zepiostp I zeqTodtq Sw oo°o0sT WNIdOS HLIVONdTVWA SHA SHA SaA -YOOcoxaVT
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOO7cdHALO SOO0ZOHaTE SOO7cNOLLZ
Zeprostp I azetodtad Bu 00°009 ELYVYWWOA ANIGVILYAS ON ON SHA -POOZOHG?T -SOOZNOrsz -S00z7TaHAgO TWA / W1d 61TOEOTOR
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZLOOET
Zepriostp J azetodtg 5u 00°008 ELYVYWWNA ANIGVILYNS ON ON ON -SOO0cdHSPT
[UTeETd
‘(D> UTWeEIATA) PTOW oTqQrOSsy]
PT99 VWOWWOD Bu o0°009 QIOW OIdHOOsy SHA ON ON
[SOATIPATIOG
puy ploy oTTAotTes] SOOcONYWVT
ptTod vuowwoD Bw 00°000T QIOV OTTAOTTVSTALHOV SHA ON ON -SOO0cONYTT
[seatjeatszeq ptoy Aqje4g] SOO7TLOOET
Tepiostp I zertodtg Bu 00°006 WNIdOS HLIVONdTVA SHA SHA SHA -SOOCNYCTT
[SseutTdezeryuL
puy seutdezexg ‘seutdezetq] soocdd4A co SOO0¢dHSET SOOCAWNGZ
Zepiostp J azetodtg Bu 00°009 ELVaWNOdA ANIGVILANG ON ON SHA -SOOTNWPTT -SOOZAVNSZ -S007EHAEO TWA / W1d 8T0E070R
[SeptT Tuy]
addtzp 6w 00°000T TOWWLHOWEYd ON SHA ON
[UteTA
‘(D UpweatA) PTOW ofgqzo0osy] SOOcEdHAIZ
eddtzp 6wu 00°00S5T dIOW SIGwXOoOsy ON SaA ON -SO0cdHAC?
[seaTjeatizsq ptoy Aqjeg] soocinrod
Zepiostp I zeqTodtq Sw oo°o0ct WhIdOS HLVONdIVA ON Sada ON -SOOCaHATO
[SeaTqeaAtszeq ptow Aqqeg]
Ieprostp J azejTodtgq 6w oo*o000T WONIdGOS HLYOUdIYA ON ON SHA
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCNW?TE soocnnrod
Zeprostp I azetodta Bu o00°009 BLVAWNNA ANIGVILHNO ON ON SHA -SOOcCNYWCLO -SO00CaHHTO dL5S 10 LIO£0POe
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO LS® abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771829
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s97xdoy «GPF ET? LOOZHYNZO

[seutTdezeryL

6691

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

puy seutdezexg ‘seutdsezetq] S0072d4480
Iepiostp J azetodtg Bw 00°009 HLVaWWNA ANIGVILHYNS ON ON SaA -SOOCNYEO
[SeATIeATASq suEAUeXOTYL])
Zeprostp I azetodta Su 00°00z HLVONVOUd TOXTHINAdOIONZ ON ON ON
[SSPATICATI9C SuseyQUeXoTyL] S002O4eadzO S00 7ZDaaTO SOOCAYVWTE
Teprostp I zeqtodza bw 00° 002 BINLEOW IOXIHINEdOIONZ ON ON ON -S007OHAZO -SOOZNMTO -S007EHS60 TWA / Vd 0Z0£0700
[SeATIeATASq ptoy Aqqeg] 900CNVCOE
Tepiostp I azejodtq bu 00°000T WOIdOS SLWVOWdTYA ON On ON  -900ZNWLZO
[SSPATIPATAaq SsuUSyAUeXOTYL]
Zeprostp J azetodtg Bw 00°002 ALVLAOV IOXTHINAdOIONZ ON ON ON
[SSATIPATIaq sUuTdezetpozueg]
Iaepiostp J aeqtodtg Bu 90°OT WYddZzvVId ON ON ON
(UTeUD-Spts oTIeYyIT TY
YITM seutzetyjouseud]) 900cCNVCZO
Zeprostp J azetodtg Bu 00°S4 AQIMOTHOOUCAH SNIZVWONdHOTHD ON ON ON -900CNV22O
[S®aTAeATAaq SsucueYydorzAqng]
Zepiostp J azetodtg Bw 00°6 TOCTIaAXdOTVH ON ON ON
[UTeYD-Spts oTIeUudT Ty
YITM SsoutTZzetyqoueTg] 900ZNYLOE
Teprostp J] szeTodtg 6uw 00°OST AQCIYOTHDOUCAH SANIZYWONdHOTHD ON ON ON -900ZNVWCTO
[seatqeatszeq prow Aqqeg]
Zeprostp I zejtodt@ bw o00°o0st WNIdGOS HLYOUdTYA ON ON ON
[SOEaATAeATAeq suoueYydozAqng]
teprostp J azeptodtg Bu oo's TOCINHdOTWH ON ON ON
[SeaTqeATIeq sutTdezetpozuag]
Tepiostp I zeptodtg Bu 90°0T WYdaZVId ON ON ON
[UzeUD-SpTSs ofaeydtT Ty
YITM SsoutTZzetyqoueTg] 900ZN¥LTO
Teprostp J] szeTodtg 6w 00°0S ACIMOTHOONCAH BNIZVWONdNOTHD ON ON ON -900ZNVWCTO
[seatqeatszsq ptow Aq3e4g] SOOCOHATE SOOCOAATE SOOCNNLPLE
Zeprostp I zejtodtq@ Sw 00°000z WNIdGOS HLVYOUdTVA SHA ON ON -soozinareéz -soozNarez -S00z7adH480 TWA / WId 6TOf070R
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO aG% abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

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OOLT
S9zxdoy SPIET:LOOZHYNZO Ses*OOTpew AST“ 600TZOZTI/3T19/4ndjno/ds/9ZT00°L PPT p/ Tenbotes /pord/eiso/
[seutTdezeryL
puy seutdezexg ‘seutdsezetq] SOOZaaATZ
“J aeqtodtg Bw 00°00T HLVaWWNA ANIGVILHYNS ON ON SaA -SOOTHHATZ
‘J azeqtodtq [seatqeatTszeq prow Aqje,]
poou ezt{Ttqeas Sw 00°000T qGIOV OIOedTVA ON Sax SaA
[ST0OqTQqTYUI Seyeqdnsey
UTUCIOLSS BSATIOSTSS] SOO7cAdYTZ
UOT ssa.1daq 5u 00°02 HCIYOTHOOUCAH HNILYXOUVd ON Sada SHA -GOO0CEHA ST
[St2o0qTqTYyUI eyeqdney
UTUOIOLSS BATIOS TES] SOO0zcdaHaASt
uotsseadeq Bu 00° OT ACIYOTHOOSCAH BNILEXOdvd ON ON SHA -SOOCEHAVT
“I aeptodtq [seat yeatszeq ptoy Aqqed] SOOTEHAST
poow e2zTtTTqeas Bu 00°666 WONIdGOS HLVONdTYA ON ON SaA -YNA
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOO07TdHA TT
“I aeqtodtg Bw 00°002 HLVYWWAA ANIdVILHNS ON ON SaA -GO00cdseAc?
[SPATIPATIEq
uot sueqzedAy eutweTAyTeT Aue]
Te T1syisty Bu 00°02T TINVGVadA ON SaxA SHA
(UTE Td ‘sr0qtqtyut 30Y]
woTsueqzedAy Bu 00°02 TINdVIVNH ON SHA SHA
[uTredeyH * [Oxy SO QIQTYUrL
uotieberbby jeTeqe td] HONTLNOD SOOZHYNZZ
stzioqjoed eutbuy Bu oo°SL HIONVATYAdIG ON SaxA SHA -¢NN -GOOCAHYNZO dLO IO TZ0€0v0a
[seatqeatszeq prow Aqjeg] SOOCOHCTE
Zeprostp J azetodtgq 6w oo*o00sT WNIGOS ALVYOUdTVA ON ON ON -g00cOeacO
[seataeatszeq ptow Aq eg] S00¢OseaTO
Teprostp J zejTodtgq bw 90°00zT WhIdOS HLVONdTVA SHA SHA ON -SO00cedv90
[seatqeatszsq ptow Aq3e4g] SoOcaadYSO S00 7cOaaTO SOOCAYVWTE
Ieprostp J azeqtodtq 6w oo*o0sT WONIdGOS ALVYOUdTYA ON Sax SHA -SOOZNYWreO -SOOZNNTO -S00ZEGHA60 TWA / WId OZ0f0708
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO 66% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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s97xdoy «GPF ET? LOOZHYNZO

1OLT

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[seatqeatszeq prow Aqje,] SOOCAYNTZ
Zeprzostp I zeqtodtq Sw 00°o00sT WiIdOS HLVONdIVA ON SHA ON -SOO7TAWNOE
[seatqeatTszeq prow Aqje,] SOOCUVNI6C
Zepiostp I AzeTodtq Sw on°a0zTt WhIdOS HLVONdTVA ON SHA ON - GOO 7ZHWWZO
[seataeatszed ptow Aq3jeg] SOOZAYNTO SOOcHdVTZ
Taprostp I zejTodtq@ bw 90°000T WiIdOS HLVONdTVA ON ON SHA -YOOCAWWOT -SOO7TUWNZO dl5 IO ZZ0e0v0e
[SepTtT tty] SOOZHYNTZ
SUOePeoH 5 oot TOWWLHOVavd ON SHA ON -SOO7TAWNTZ
[SeptTtuy] SOOTUYNIT
SUOepeoH 5 oot TOWZLHOVAVd ON SHA ON - GOO ZHWW9T
[S©ptTtuy] SOOTUYNBO
SUOePeoH 5 aso TOWZLHOVavd ON SHA ON -GOO7HWW80
[SepTtT Tuy] SOOCHYNLO
SyoepesH 5B os't TIOWZLHOVETd ON SHA ON -S00ZHWWLO
aAseyo [SSIPAITN OFUeHIAC]
ey szepun uted Bu 0g°0 HLVULINIUL TAYHOATO ON SHA ON
[SSATIPATASqQ suTdezetpozued] SOOcaYNIZO
wot qeqATby Bu 00°0OT WYdHZVId ON SHA ON -SOO07CAWNZO
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SOOZUYNTO
“I aeptodtg Bw 00°009 ALVaWWOA ANIdVILHYNO ON ON SHA -SOO0CHHASZ
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOO7TEHAGT
“I azejtodtg Bu 00°007 ELVUWNOA ANIGVILHNG ON ON SHA -SOO0cdHAVe
[seutdezertyL
puy seutdezexg ‘seutdezeta] SOOCHHAET SOOTAVNTT
“I azejtodtg Bu o0°O00€ ELVaVWOdA ANIGVILENO ON ON SHA -GOO7ZEHAETZ -SOO0ZHWNZO dLO 10 TZ0e0v0g
NOIIWVOIGNI gS0q [NOILVOIMISSVIO NOILYOICHWN] da TO YWoldd aLvd dOLs aLlvd doLs aLVd dOLs LNEWLVSYL aadoo
WHHL OTHENHS NOILYOICEWN NHMVL NOILVOICHN -SIVd LHVLS -HLVd LavLs -a1lvd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 09% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771832
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cOLt

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SeATIeATASq ptoy Aqqeg] 900CAVNGZ
Iepzostp I zetodtq 6w 00°000T WOIGOS SIVOUdIVA SHA SHA ON  -SO007HYNZzZ
[seatqeatszeq prow Aqqjeg]
Zeprostp J azetodtg Bw 00°00S WNIdGOS ALYONdTVA ON ON SaA
[SseutTdezeryuL
puy seutdezexg ‘soutdezetq] SOOCHYNT 2 900 CHYVN6Z Sso0zonvLo
Iepiostp J azetodtg Bw 00°009 HLVYWWNA ANIdVILHYNS ON ON SaA -SOOZNWPVO -SOOZDNY80 -SOO7THYWIZ TWA / dLO SZ0e070n
Aapzostp [seaTqeATAeq ptow Aqje4] 900Zd4HSO0E
“IT aetodtq B6uwu oo0°o00sT WNIdGOS HLYONdTIVA SHA Sada ON -SOOCNNPOE
[SseuTdezertyuL
Aepzostp puy seutdezexg ‘seutdezetq] SOOCUWNST
“IT zetodtg Su 00°00€ ELVYWWOA ANIGVILENO ON Sax ON -SOOCAYNST
Aepzcstp [seatjeatszeq ptoy Aqje4g] soozNnr6z
“I zejtodtq 6w 00°000T WONIdGOS ALYOUdTYA ON SaxA SHA -GOO0cEHATS
[SseutTdezeryuL
TSpszO0s Tp puy seutdezexg ‘soutdezetq] SOOCAYNET 900 ZONYTE SOOZONV82
“I zeTodtg Bw 00°009 HLVYWWNA ANIGVILHYNS ON ON SaA -SOO7TEHHATZ =-SOOTONVEZ -SOO7TAYVWST TWA / W1d PZ0E070H
etsebreue
aAT Aerado-jsod [geuoTozerAq] SOOZdaS9T
pue-ezq 6w 00-0002 WiIGOS HIOZINVLEAN SHA ON ON -GO0O0CdHSST
[seutdezertyL
Aaeprzostq puy seutdezexg ‘seutdezetq] SOOZHYNZO
“I aetodtg Bu 00°009 ELVaWWNA ANIdVILANS ON ON Sada -PO0COHATO
Jepizostda [seatqeatTszeq prow Aqleg] 900CdHSLE
“I aetodtq 6w oo°o00T WONIdGOS ALVYOUdTIVA SHA SaA SaA -ZOOCNYCTO
[SOATIPATIBG STOZEPTWI
Bupyupequop-angqtns] SOO0cdHSST 900 TONY8C soocIne’st
ws Tp tozAyqsedAyH Bu o00°s HIOZVNVIHL SHA SHA SHA -POOZNYPTO -SOOZINFé6éT -SOOZHYWEO TWA / WId €Z0£0708
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTIT JO 19% abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

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COLT

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTIT JO 29% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

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4 g9ozxdoy «6ShIET'LOOTHWNZO «=SeS*OOTPeW IST 600TZOZTT/3TI9/3ndano/ds/9ZT000LtFIp/ Tenbores /pord/easo/
® [SSATIPATIaQ SuUseyIUeXOCTYL]) SOOTHYNSZ
° Teprostp I azejtodta Bu 00°002 ALVONVOEC IOXIHINAdOIONZ ON ON Sada -SOOCHWNSC
oO [seatqeatszeq prow Aqje,] so0zconws80
Teprostp J azetodtg Bu 00° 006 WiIdOS HLVOedTVA ON SaA SaA -SOO07TAWWT
@ [S@ATIeATIAaQ Suey AUeXOTYL] SOOCHYNTT
ql Iepilostp J zetodtg Bw 00°002 GLIVONVYOEC TIOXTHINAdOIONZ ON ON SaA - SOO CAWWTT
a [squeby oTbasutqTouyotqjuy] SOOzcTuaWEO
co wot queAerd-Saq Bu 00°SL HNIZVHLAWOUd ON ON SaA -SOOCHWWOT
oO
[SeATIeATASq ptoy Aqqeg] SOOCAVNOZ
3 Tepiostp I azeyTodtg Bu 00°00€ WiIdOS HLVONdTIVA ON ON Sada - SOO CHWWOT
iL [SSATIPATIaQ SuUseyIUeXOCTYL])
Teprostp J azejtodtg Bu 00°002 GIVLEOV TOXIHLNAdOTONZ ON ON Sada
[seutwy AzetTq7eq] SOOTAWNITZ
wo WoT queAsid-Sda Bu oo's NadTaadIad ON ON Sada -SOOCHWNTZ
1
0 [SSATIPATIaQ SUsyIUeXOCTYL])
o Tepiostp I azejtodta Bu 00°002 GLIVONVOEC IOXIHINAdGOIONZ ON SaA ON
oO [SSATIPATIAQ SUSYIUeXOTYUL])
a Teprostp J azertodtg Bu 00°002 GIVLEOVW TOXTHLINHYdOTONZ ON Sada ON
[SSaATIeATAeq SsuTdezetpozusg]
5 Teprostp I szeTodta Bu 00°0€ WidHZVId ON SHA ON
(UTeUD-Spts OTIeYyIT TY
& YITM seutTzeTyjousyd]) SOOZLOOSZ s00zLOOSZ
a Ieprostp I zejtodtg Bu 00°OST AQCIMOTHOOUCAH SANIZYWOUdHOTHD ON SaA ON -GOO0ZLO0SZ -SOO7CHdWTT dLS IO 9Z0€0708
Oo
oO
QO [Seatieatszeq ptoy Aqqe,]
Zeprostp J zejodtq Sw 00° 00ST WiIdOS HWLYOdd TVA ON ON ON
[seutdezertyL
oo puy seutdezexo ‘seutdezetq]
< Iepiostp J zetodtg Bu 00°00€ HIVavWna ANIGVILYNS ON ON ON
Q [s203TqTYyUr eyeqdney
1 UTUOJOTSS SATIOSETES]
O Tepiostp J azetodtg Bu 00°0€ AQTAHOTHOONCAH ANILHXOdVd ON ON ON
O [SeaTJeATseq seuTdezetpozusg] 900TAAV8C 900 CAVN6 7 so0conVLO
x Teprostp I szeTodta Bu 00°0T WidHZVId ON ON ON -9OO07THYWOE -SOOZDNY80 -SOOZHYWTZ TWA / dLO SZ0f070H
a
o NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
Mm WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
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vOLT

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

[SseuTdezertyuL
puy seutdezexg ‘seutdezetq]

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

Iepilostp J zetodtg Bw 00°008 ELVaWWOA ANIdVILHYNO ON ON ON
[St0qTQqTYyUL SeYyeqdnsey
UTUOIOISS SATIOSTSS] 9007dHS6T
Teprostp I zeTodta Bu 00°0€ HQIAOTHOONCGAH ANILEXONVd ON ON ON - 9007ZONYTZ
[UTeTd
‘(D UTWREIATA) PTOY OTqro0osy]
€a¥ = ploo uowwoD bw 90°000T GIOV OIGHOOSY SaA ON ON
[SPATIPAT IAG
puy proy oTTAotTes] 900cdsASe
€a¥ = pToo uowwop bw o0*000T GIOV OLTIADITVSIALHOW SHA ON ON - 900CEH46T
[uTeta
‘(D UTWREIATA) PTOW OTqrzo0osy]
fH¥ = ploo uowwoD bw o0°00zT GIOVW OIGHOOSY SAA ON ON
[SSATIPATIOG
puy prow oTTAotTes] S00Z.LO060
ca¥ = prloo uowwoD bw 90°000T GIOV OLTAOIIVSIALHOY SHA ON ON -S007LO0S0
[seatqeatTszeq prow Aqje,] 900¢dxHS6T
Tepzostp J zeTodtq Su 00°000T WOIdOS ALVYONdTVA SHA SHA ON -SOOCNNP ETS
[seatqeatszeq ptoy Aqjeg] SsoOocNnrgéc
Iepiostp J zetodtg Bu o00°00S WAIdOS ALVONdTYA ON SHA SHA -SOOcadaTeT
[seutdezetyuL
puy seutdezexg ‘soutdezetq] SOO CHAY9Z 900 cONWOT SOOCdHSET
Teprostp I azeytodta Bu 00°008 HLVaVWNd ANIGVILANS ON ON SHA -SOOTHdYZT -SOO7EHSYT -SO007THdWL7 TWA / W1d LZ0€0008
[SeATIeATASq ptoy Aqqeg] SOOZAONTE
Iepiostp I azeqtedtq 6w 00°o00sT WAIdOS FLVONdTVA ON SHA ON -SO0ZLOOGZ
[SeATIeATASd ptoy Aaqeg] SOO0Z LOOP
Teprostp I azetodtq@ bw o0°00zT WAIdOS ALYONdTVA ON SHA ON ~Ss00Zconw60
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOCHAVTT SOOTLOOST
Iepiostp J zetodtg Bw 00°009 ELVaWWNA ANIdVILYNO ON ON SHA - SOOZAWNISZ -SOOZSdVTT dLO IO 9Z0€0v0R
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans
NOILYOICHW CeZIWOGNYA ‘Idav1I Nado

GTTT JO €9% Obed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

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SOLT
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SepTtT Tuy] SOOCNALCT
Soe pesH 5B agt TOWWLHOVaYd ON SHA ON -SOOCNNP' CT
[SeptT Tuy] SOOZNALOT
SUCepesH Boot TOWWLHOvVavd ON SHA ON -SOOcNNL6O
[seutdezeryy
puy seutdezexo ‘seutdezetq] SOOZAYNSZ
I azetodta Bu 00°007 ELVYWNOA ANIGVILANS ON ON SoA -SOOTAYWOZ
[SeaTIeATAeq suTdezetpozueg] SOOZAYNSZ
uoTIeIT By Bu os°0 WYIOZVWad TY ON ON SHA -SOOCAYWB8T
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOTAVNIG6T
I azetodta Bu 00°00z2 ELVYWWOA ANIGVILANS ON ON SaA -SOOCAYWBT
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOZAYWWLT
I azeTodtg Bu 00° 0ST BLVYWWOA ANIGVILENG ON ON SHA -SOOCAYNYO
[SSeATIPATASq ptoy Aqqeg] sooziInrgec
I azeTodta Bu 00°009 WHIdGOS HLVOUdTIVA ON SaA Sada -SO00cadYLe
[S®aATIwATA9G sUTdEzeTpozuseg] SOOZAYWLT
uot {eqATby Bu 00°T WYIOZVadT¥Y ON ON SaA -S00caedvLe
[SptoTexTw wntdo Tezn3eN] sooznnrez soozNnrgz
Soe pesH n° TIOWZLAOVAUVd ON SaA ON -SOOCNNL'9T -SOOTAVN9T dlS 10 6Z0€0v08
4epsostd [seataeatszeqd prow Aqjeg] 9002 LOOCT
“I zejodtq 6m 00°00zT WNIdGOS HLVOedTVA SHA SHA ON -Sooconved
[seutTdezertyuL
tepazostq puy seutdezexo ‘seutdezetq] SOOZAYWOT
“I aetodtg Bw 00°009 ALVYWWNA ANIdVILHYNOS ON ON SaA -SO0O0CAYWSO
Aepsz0sTd [seatqeatszsq ptow Aq3e4g] sooconyco 900CdH5cT S00cD4Hd90
“I aeqtodtg Bu 00°006 WOIdOS HLVOUdTIVA ON SHA SHA -SOOZHWNEZ -SOOZDECLO -SOOZAVWTT TWA / GLO 8Z0€070R
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GIIT JO 79% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771836
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9OLT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SseuTdezertyuL
puy seutdezexo ‘seutdezetq] SOOCAWWOE 900cDNV9T s00¢LO00T

T azetodta Bu 00°00% HLVaVWNA ANTAVILYNG ON ON SEA -SOOZAVW90 -SOOZLOOTT -SOOZNNr90 TWA / dLO TEOEOV0R
[seatqeatiseq prow Aqqeg]) 900CTAWNZO
I zeqodtq bu 00°00eT WOIGOS ALVONdTIVA SHA SHA ON -S00cOedL0
[seatqeatszeq prow Aqje,] S00ZOud90
I zeqTodtq 6u 00°00ST WNIGOS ALVONdIVA ON SaA ON -soo7cToroz
SeqSsTam [SSATIeATAEQ PToy otTuctdoz¢g] soocNnrTto
syd Ut uted Bu 00° OST NadAOudOLey ON ON SEA -SOOCAWNET

[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZAWWITE
I zeTodta Su 00°009 SLVEVWAA ANIGVILANO ON ON SHA - SOOTAVNGO
[S®aTIeATAaq SsuTdezetpozuag] SOOZAYNSZ
eTuWwoSsuUut 6w 00°OT WYdHZVId ON ON SHA -SOOTAVNIEO
[seatqeatTszeq prow Aqje,] SOOCNNC6C
I zeTodTtq Su 00°00ST WOIGOS ALVONdIVA ON SaA SHA -SOO0cHdTLe
[seatqeatszeq prow Aqjeg] sOOcINC6T
I azejTodta bw 00°0002 WOIGOS HLVONdIVA ON SaA ON -SOOcNOroe
qeoryq _eyy [sot qdest uy] 900CNVC'EO 9O0O0CNYITE 900CNVLEO
uz; uted pue ybnop n° a TIOHLNEN ON SaA ON -SOOZOHG6Z -900ZNWT7O -SOOZNNFTO TWA / Wid Of€0£070N

[spunodwop wntoTed]

etsdedstp sptoy oo on HLYNOdsdvO WOLOTYO ON ON ON
[SeaTqeATIeq suTdezetpozuag] soozmnr9sz
uoTIe ATHY Bu og't WWIOZWadT¥Y ON ON ON -SOOcNnLLe
[squessezdeptquy 798170) SOooZNnrez
I azejTodtg Bu os’ Le HNILGHNVIL ON SHA ON -SOOcNNL Ye
[S®pTT Tuy] soOocNnret soocnnrgd
SUCepesH 5 oot NOWZLA Vad ON SHA ON -SOOcNNLET -SOO0CATWW9IT dL5 10 6Z0£070
NOITLYOICNI HS50da [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTITT JO G9% abed

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Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 16 of 90 PagelID 85872

LOLI

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[PATIOSETES
‘squeby Sutyoota e2eq] SOOZONYST
eTpszec TueL Bu os"z TOTIONdOSTa ON ON SaA -SOOcINOT?
[seutdezeryy
puy seutdezexo ‘seutdezetq]) SOOcONW ze 900ZONT7z SO00ZOUdzT
T azetodta Bu 00°009 HLVavVWnd ANIGVILENS ON ON SaA -SOOTONY9IT -SO0OZDORGET -soOzaNWEt TWA / W1d vVEOEOVOE
[SeATIeATASq ptoy Aqqeg] 900¢CdHS9z
T azetodtq bw oo°00zT WiIdOS HLVONdTVA SHA SHA ON -SOOZONWEZ
[SeATIeATASd ptoy Aaqeg] SOOZONT8z
T zetodtg@ bw oo°00sT qaIOV OIOddTVA ON SaA Sada -SOOcNNC90
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOcNNLZT
T zeTodtg Bu 00°009 HIVaWWnd ANIGVILYNS ON ON SaA -GOOCAVWWE6T
[seat Jeatieg prow Aqqed) soozNorso 900ZDNVLZ SOO0ZLOOEZ
T azetodtq bw oo*o00rt WiIdOS HLVONdTIVA ON ON Sada -SOOZAWNST -SOOZLOO¥Z -SOOZNNTET TWA / dLO ZE0e0r0R
[seatqeatszeq prow Aqje,] 900¢dxaSST
T azeTodt@ Sw 00°00zT WOIGOS HLVONdIVA SHA SHA ON -S00@dHSL0
[seatqeatszeq prow Aqjeg] s00cdHS90
T azetodtg bw o0*o000T WiIdOS HLVONdTVA ON SHA ON -Sooconwee
[seatqeatieq proy Aqqed) sOOcOnWTC
T aetodtq Bu o0°00sT WiIdOS HLVONdTVA ON SaA ON -SOO7TINOTS
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] sooznnrso
T aeTodtg 6u 00°009 SLVUVNNA ANIGVILANO ON ON SaA -SOOZAWWTE
[seatqeatszeq ptoy Aqjeg] soocInroc 900CONV9IT SO0cLOOOT
T azetodta Bw 00°006 WiIdOS HLVONdTVA ON SHA SaA -SOOZAYN90 -SOOZLOOTT -SOOZNNr90 TWA / dLO TE0f0r0e
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTITT JO 99% abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771838
Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 17 of 90 PagelD 85873

80LI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SseuTdezertyuL
puy seutdezexo ‘seutdezetq] s00cOadSO 900 CONV9T 900 CAVWEC
I azeTodtg Bw 00°00L ELVYWWOA ANIdVILHYNO ON ON SaA -SOOZLOOLZ -900Z7HYWOE -S007ZOHA90 TWA / WId LEOEOV0N
[seat eatszeq ptow Aqqeg] 9O0OTHWNTZ
“I zeqtodtq bw 00°00zT WiIdOS HLVONdTIVA ON SaA ON -900cCNWLS¢
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZAON6Z
“I azeqtodtg Bu 00°00% HIVavWnd ANIGVILYNS ON ON SaA -GOOZAONVZ
[SeATIeATASq ptoy Aqqeg] 900CNVC PE
“I zeTodtg Bu 00°009 WiIdOS HLVONdTIVA ON Sada Sada -S00ZLO0SZ
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] SOOZAONET
“IT azejTodtq Bw o0°00e SLVaWWNd ANIGVILENO ON ON SHR -GO0ZLD0GZ
[Ss203TqTyUl exyeadney
UTUOICASS SATIDETIsS] SOO ?DECLZ
“I aeqtodtg Bu 00°02 ACIWOIHOOUGAH SANILEXOWUVd ON SHA SHA -GOOZAONTZ
[seatqeatszeq ptoy Aqjedg] 900CNNLZO 900ZAVWEO
“I zeTodtg Bu 007009 WiIdOS HLVONdTIVA ON Sada ON -9007TAWNTS -SOO0TAONOE dLS IO 9€0€0V0R
[seat Jeatieg prow Aqqed) 9007dESTC
I aetodtg 6w 00°002T WiIdOS HLVONdTVA SHA SHA ON -GOOZAONST
[SeATIeATASd ptoy Aaqeg] SOOCAON?PT
I azejtodtga 6w 00°00sT WiIdOS HLVONdTIVA ON SaA ON -S00¢dxHS90
[seatqeatszeq prow Aqjeg] SOO0¢dHSS0
T zetodta Sw o0°0002 WiIdOS HLVONdTIVA ON Sada Sada -sooconv9T
[Seatieatszeq ptoy Aqqe,]
T aeTodt@ Sw o0°00sz WOIdOS HLYONdTIVA ON ON SEA
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOcTDNYST J00TONYTZ SOOcOmdcT
T azetodta Bw 00°00L ELVaWWNA ANIdVILYNO ON ON SaA -SoozlInrsz -SOOZDHGET -SO0zDNVEZ TWA / W1d PEOLOVON
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO L9% Obed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771839
Aspszostd
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STSETIOSg
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Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

[SeaTIeATIeq ptow Aqqeg]
WNIdOS HLVOUdTTA

[seutTdezertyuL
puy soeutdezexg ‘soutdezetq]
ELVaWWNA FNIdVILENd

[sqonporg outz]

HaIXO ONIZ

[S8ATIexeT YoeQUOD]

TIO SINQWWOD SONIOTa
[SeaTq0EI071g

puy SsqUeTT[Tow, z7eyI0]
NI'IONY'TI

[sqonporg Bututequop ang tns]
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UJTIM suoTyerederg]

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[seatqeatszeq prow Aqje,]
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900¢Cd4HS02
-GOOZAONST

SOO0cOseaTT
-GOOZAONYT

9007 INST
-900cCNNL eT

900cCNYC92
-900cOHd60

900¢CdHSST
-GOOZAONLO

900 ZONYT?e
-900CAYWOE

900 7ONY9T
-900CHYWNOE

QO0CAVWEC

-SOOZOHdZT TWA / dLO 8E0£0708

900TUYWEC

-S00ZDHd90 TWA / WId LEOf070E

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-aLVd LAWS
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qdadod
Loarans

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JO 99% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771840
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OILT

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

[S@ATIeATASG SUSYAUeXOTYL]

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

Iepilostp J zetodtg Bw 00°002 GLIVONVYOEC TOXTHINAdOTIONZ ON ON ON
[seutwy AretqrSeL] 900ZONVTZ
uot queaesd sda Bu oo°s NaHdTaadTad ON ON ON -9007ONYTS
[seatleatszeq ptoy Aqqe,]
Ieprostp J azejtodtq 6w oo*o008T WAiId0S HLYONdTVA ON ON ON
[seutdezertyL
puy seutdezexo ‘seutdezetq] 9007dHS9T
Iaprostp J zeTodta Bu 00°009 HIVavWnd ANIGVILYNS ON ON ON -900cONY8T
[UTETA
‘(D UPWeATA) PTOW oTqtoosy] 900CENWELE
THY = PTO WOUWO) Bu 00° 006 IOV OlddiOosy ON SaA ON -9007CNWED ES
[SSATIEATIAEQ SuUSyAUeXOCTYL] s00c08090
Teprostp IT szeTodta Bw 00°00T GIVLEOV TOXTHLINYdOTONZ ON ON SaA -S00cO4d90
[seatqeatszeq prow Aqjeg] 9007TONWLT
Ieprostp J azeqtodtq bw oo*o0sT WiIdOS HLVONdTVA SHA SHA SaA - GOOZTAONTZ
[seutwy Azetq7eL) SOO0?@OHd8T
Sdi Bu 00°F NadTaadIad ON Sada Sada -SOOZAONTZ
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SOOZONATT
Tepriostp I zeTodtg Sw 00°008 SLVUVNNA ANIGVILANO ON ON SHA - SOOZAONTZ
[SSATIEATIASQ SUSyAUeXCTYL]
Iepiostp J zetodtg Bu 00°002 GIVONYOEC TIOXTIHINAdOIONZ ON ON SaA
[SPATIeATAaQ SsuUSeyAUeXOTYL] GOOZAONTZ
Teprostp J] szertodtg Bu 00° 002 GIVLHOW TIOXTIHLNAYdOTONZ ON ON SadA -SOOZAONTC
[SSATIEATASQ SUSyAUeXOCTYL]
Iepiostp J zetodtg Bu 00°002 GIVONYOEC IOXTHINAdOIONZ ON ON SaA
[SPATIBATAaQ SuSyAUeXOTYL] GOOZAONG6Z
Tepriostp I azeTodtg Sw 00°00T GIVLHOW TIOXIHLNadOTONZ ON ON SHA - SOOZAON6Z
[SeptTtuy] 900CNVC9T 900CONVLT 900cNNLST
THY = pToo uowwod Sw 00°00ST TOWWLHOVAVd ON SHA ON -9OO7NWFEZ -900ZNNT9Z -SOOZDHAZT TWA / VW1d 6£0£070H
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT 3° 69% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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GTTT JO OL% Obed

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® [SeaTIeATAeq SsucuseydorzAqng] soozonyvsz
° Jepzostp rzeTodtg Bw 00°6 TOCIUSdOTVH ON ON SHA -S00ZDAYTZ
ou [seaTqepes puy sot qoudAy] SOOZDAWTE
Zepiostp azetodtg Bu 90°05 ANIZVHLAWNOUd ON ON SaA -SO0O07ONY8T
@ [seatqeataed prow Aqzea] goozpnv9z
ql Jeprzostp azertodtg Su 00°006 QIOV OIOddTYA ON ON SaA -SOOc IN’ ZT
ad [Seat epes puy sot oudAyY] SOO7ZGESTO
co Jepiostp zertodtg Bu 00°SZ HNIZVHLAWOUd ON Sada ON -GOO0¢dHSTO
oO
[SeaTJeAtTszeq suoueydorzAjng]) SOOZONVEZ 900 ZDNYTZ 900cNVL60
3 Tepiostp rzeyTodtg Bu 0079 TOCIaadOTVH ON ON Sada -GOOZTDNY6Z -900ZNVTOT -SO07ZdHSTO TWA / W1d TO00%070R
LL [seutdezetyL
puy seutdezexg ‘seutdezetaq] 900ZNWP6Z
Ww Tepiostp I azeyTodtg Bu 00°009 ELVYWWNA ANIdVILHNS ON ON Sada -900CNYCSO
1
Oo [seutTdezertyuL
% puy soeutdezexg ‘soutdezetq] S00ZNVCVO
4 Teprostp J] szeTodtg Bu 00°00% HLVavVWNA ANIGVILYNO ON ON SHA -SO00cOed6T
e [seatqeatszeq prow Aqjeg] 9007TdHS9
oO Zeprostp I azetodtad Bu 00°006 WOIGOS HLVONdTVA SHA SHA SHA -GOO0COHAST
Ee [SseutTdezeryL
5 puy seutdezexo ‘sautdezetq] SO0ZONa8T
8 Teprostp I azeytodta Bu 00°00€ HLVYWWNA ANIGVILHYNS ON ON SaA -GO00COXAST
Q [SOEATICATASQ SUSTAWeXOTYL]
Teprostp J] szertodtg Bw 00°05 HLVLEOV IOXTHINAdOIONZ ON ON Sada
[SSATICATISBQ SUuslywexotyL] soo0zoga90
o Teprostp I azejtodta Bw 00°02 HLVONVOEd IOXILNAdNTA ON ON SaA -G00cOHd90
QO [seaTqeatszsq ptoy AqIeg]
1 Teprostp J] szeTodtg Bu 00°009 WOId0S ALYONdTVA ON ON SHA
O [seutdezertyL
O puy seutdezexg ‘seutdezetq] SOOcCONa?T 900TONYLTE 900CNNL8T
x Teprostp I szeTodta Bu 00°00z2 ELVYWWAA ANIGVILHNO ON ON SHA -SOOZDHG90 = -900ZNNré6éT -900ZNYCOE TWA / dLO OPOf0V0R
o
oo NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
Mm WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
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g9zxdoy

SP FET? LOOcCHYNZO

cILI

ses’ ooTpew

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[SeATIeATASq ptoy Aqqeg] SO0Z.LOOPO
Iepiostp azetodtg Bu o0°0GL WAIdOS ALYONdTVA ON SHA ON -SOO0ZdHSTZ
[squeby oTbrzsutwedog
puy oTbzeuezpy] SsOO0¢cdHS8T
uo TsueqodAy Bu 00°0T SNIWAXTILA ON SHA ON -SOO0cdaS8T
[seatqeatszeq prow Aq3e,] SOOcdHSO0
Iepiostp azejTodtq 6w 00°000T WOIdOS ALVONdTVA ON SHA ON -SO00cdHS90
[squeby oTBzsutTwedog
puy oTbreuerpy] SOO0ZdHSTO
uo TsueqodAH Bw 00°OT HNIAda1TILH ON SHA ON -S007daSz0
[squesseizdeptquy 781740] SOOCONWTE
Jeprzostp azertodtg Bu og" Le SNILLGHNVYIL ON ON SHA -soozonwzo
[suotqjerzederzg
TouetToT pep Te10 ‘QueTeATd uorzT] SOOCDNWTE
wort eTwouy 6w 00°0S0T BLVAINS SNOWdHA ON ON SHA -soocTOritt
[seatqeatszeq ptoy Aqjedg] SOO¢dHSSO 900 CAVN ZZ 900CNVITE
Jeprzostp azetodtq Sw 00° 00ST WOIdOS ALVONdTVA ON SHA ON -SOOTGHSTO -9007HHATO -S007dHSTO TWA / WId Z00v0v0E
[seuoTozerzAg] 900ZAWWIEO
ayoepeeH 6 00°000T WhIdOS HIOZINYLEN SHA ON ON - 9007AWNED
[seataeatszeqd ptoy Aq eg] 9007dHS0z~
Teprzostp azetodtq Sw 00°0szT WOIdOS ALVONdTVA SHA ON ON -900¢dH ATS
[seatqeatszeq prow Aqjeg] 9007¢dHA 07
Teprzostp azetodtq 6w 00°000T WOIdOS ALVONdTVA SHA SHA ON -SOO0CcdHS6e
[seatqeatszeq prow Aqje,] SO0O0¢cdHS8c
Jepiostp azejTodtg Sw 00° 00ST WOIdOS ALVYOddTVA ON SHA ON -SO00¢cdHSTO
[seatqeatszeq ptoy Aqjeg] SOOTONYTE 900 CONVTT 900TNVL60
Jepiostp azejtodtq Sw 00°000T WOIdOS ALVONdTYA ON ON SHA -SOOzTONY9Z -900ZNYCTOT -SO07dHSTO TWA / W1d TOOv0T0E
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans
NOILYOICHW CeZIWOGNYA ‘Idav1I Nado

GTTT JO TL% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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erLt

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SSATIEAT IEG suTdezetpozueg] SOO0CNNI TC
uoTIeIT By Bu 00°Z WYdEZVHO1 SHA ON ON  -900ZAYW9T
[seataeatszed ptow Aq3jeg] 9OOTAVWNET
Zepiostp zeTodtq bw o0°os4r WOIdOS HIVONdTWA SHA ON ON -900ZAYWWTT
[SSATICATI9C suTdezetpozued] SO0O0ZAYWNST
uot qeqATby Bu 00°T WYdEZVaO1 SHA ON ON -900ZNdW6T
[S@ATIPATASq ptoy Aqqeg] 900CAYWOT
Zeprzostp aetodt@ 6m 00°o00€ WOIdOS HLVONdTVA SHA ON ON -9007HdV8T
[SSaTIeATAEq sutTdezetpozusg]
uot Ae qATby Bu 90°2 Wvd3ZvVaO1l SHA ON ON
[squeby oTbrzsutwedog
puy oTbzeuezpy]
auc TsuaqodAH Bu 90°OT MNIMVATTILH SHR ON ON
[SUOTINTOS 3ATeS] 900cCAdY8T
suotsueqedAH TW 00°005 oVaCdAHIC HQCIWOTHD WNIDTIVO SHA ON ON -9007HdW8T
[SSATIeAT AEG suTdezetpozueg] 900CHdV4T
uot IeqTbHy Bu 00°T WYdEZVAO1 SHA ON ON -900ZHdWLT
[seataeatszseq ptow Aq eg] 9007THdYLT
Zepiostp zeTodtq bw o0°osr WOIdOS HLIVONdTWA SHA ON ON -900ZNdV>T
[SSeATIPATASq ptoy Aqqeg] 900ZHdVET
Iapiostp zeqtodtq  6u 00°009 WOIdOS HLVONdTVA SHA ON ON -900ZNYNTO
[SUT TT ToOTued ‘STB TreqoegtT quy
weqoey-e jeg]
setedtsAaqg IN 00°666 SON NITIIDINHd ON SHA ON
[septsooATboutuy 281730] GOOZAON8O
sejedtsAaq Su 00°09T HLVAINS NIOINVINED ON SHA ON -SOOZLOOTE
[seataeatszeq ptow Aq eg] 9007EHA8Z
Jepizostp azejTodtg Bu 00°00€ WOIdOS HLVONdTVA SHA SHA ON -S00ZLD0OL0
[seatqeatszsq ptow Aq3e4g] G007.LD090 900TAYNTZ 900ZNVETE
Jepiostp azetodt@ 6m o00°00s WOIdOS HIVONdTWA ON SHA ON -SOOZLOO0SO -900ZHHATO -SOO0ZdHSTO TWA / W1d Z00P070H
NOTLVOIGNI gsoqd [NOILVOIAJISSVIO NOILWOICHW] du TO ¥WOINd ALVd dOLS 4LVd dOLS 4LVd dOLS INSWLVIUL Haoo
WHEL OINENED NOILVOIGEN NENWL NOILVYOIGHN -HIVd LYVLS -aLv¥d LaVLS -divd Laws Lourans
NOILWOIGSN dHZIWOGNVA ‘IHav1 NHdO

GTTT JO ZL% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771844
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vILT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seat eatsed ptow Aqqea] 900THYNLZ
Zeprzostp aetodt@ 6wu 00°00ST WOIdOS HLVOedTVA SHA SHA ON -S900CNYI YC
SN4TTTew seqeqetp [SSATIeAT IEG
quepusdsep eelig ‘septweuojztns] 9007AESTZ
- UTTNSuT - UON Bu o0°0r HOIZVIOLIID SHA SHA ON -900CNYIEO
aseostp Tes [S$89e29IN OTUeHI0) 9007HYN8O
oTWeYoOsT OTUOTYO Bu 00°0r HLIVaLINIG HAIGHOsosiI ON SaA ON -900CNYCEO
[S@ATIPATASq ptoy Aqqeg] S900CNYI ETS
Zeprzostp aetodt@ 6wu 00°000T WOIdOS HLVOUdTVA ON SaA ON -900CNYCEO
[seatqeatszeq prow Aqje,] 900CNVCZO
Zeprostp aetodt@ 6wu 00°00S5T WOIdOS HLVOdedTVA ON DaA ON -SOOTAONTO
[seatjeatszseq ptoy Aq jeg] SOOCLOOTE
Zepiostp zeTodtq Sw on°n000z WOTCOS HLVOUdTVA ON SHA SHA -S00cdHSTO
(UTeuD-spts oTqeydt Ty
UATM SSUTZeTYQOUSY_] SOOcONYWOE
Zeprzostp azertodtg Bu 0070S HNIZVWOAUdEWOAdI ON ON SaA -S00cONY9T
[seatqeatszeq prow Aqje,] SOOZONWOE
Zeprostp aetodt@ Sw 00° ZEeEet WOIdOS HLVOUdTVA ON ON SaA -sooconyso
[PAT QOETES
uotsueqzedAy ‘squeby Butyootg e1eq] 90072dHSTZ
Tetquessy Bu 0070s TIOIONS LY SHA SHA Sada -Sooconved
aseestp TeSey [S89e272 IN OTUebIO] 900ZNYLZO
OTWMSYoOsT OTUCAYOD Bu oo°oe GLVaLINIG HAIdeOsosrI ON SaA SaA -sooconyeo
[UTeUD-Spts oTaeUITIy
YIM seutTzetyjouseyud]) Ss0O0cdHSS0
Zepiostp rzetodtg Bu o0°Sz HNIZYVNOAdHWOAYT ON ON SHA -SO00coOnNYTE
[S®eaTIeATASq ptow Aq3e4]
Jepiostp rzejtodtg Bu 00°00S WHIdGOS HLVOUdTIVA ON ON SHA
[seatjeatszeq ptoy Aq3eg] SOOcONYTE 900cCONVTT 900CAVWOC
Iepiostp szejTodtg Bu 00°999 WOIdOS HLVOUdTIVA ON ON SHA -SOOZDONYTE -900ZHUWNTZ -S00ZdHS90 TWA / W1d €00P070R
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO €L% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

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s97xdoy «GPF ET? LOOZHYNZO

SILI

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[seatqeatszeq prow Aqje4] 900CNVC YO
Iepiostp szeTodtg Bw 00°0SL WAIdOS ALVONdTYA ON SHA ON - SOOZAON60
[seatqeatszeq prow Aq3e,] SOOTAON8O
Jepiostp azetodtq Sw 00°000T WOIdOS ALVONdTYA ON SHA SHA - SOO zcONTW9Iz
[SeATIeATASq ptoy Aqqeg] S900CNVPTE
Jepiostp azetodtg Bu 00°00€ WAIdOS FLVONdTVA ON SHA ON -90072NWPTE
[S@ATIPATASq ptoy Aqqeg] 900¢a4e490
Jeprostp azetodtg Bu 00°00S WAIdOS ALVONdTVA ON SHA ON -900caed 20
[SeueToutnbozont gv] SOOZAONST
sTqtasAo sqnoy Bu 00°005 NIOVXOTAONdIO ON SHA ON - SOOZTAONBT
[seuo Toutnbozont a] SOOCAONES
stqtqgsAo eqnoy 6w 00°00S NIOVXOTAIONdIO ON SHA ON - SOOZAONEZ
[dnozsy utzedeay]
eutbue eTqeqjsun TW 07’ o WOISTW) NIWVdOudyN ON SHA ON
[suotanjtos butqebtazaq 228740]
uostueqodAH TW 00°000T HSOONID ON SHA ON
[SUOTINTOS 3ATeS] 900c¢dH4 20
uo TsueqodAH Tu 0o0°00S GovVadAHIC ACTHOTHO WNIOTYO ON SHA ON -900caH ATO
[seuo Toutnbosz0ntT J] SOOZCAONZZ 900¢aHA07
statasAo sqnoy 6w 00°000T NIOVXOTAONdIO ON SHA ON - SOOZCAON6T -S00cdHS90 dLlS IO VO0V0T0N
aseestp TeSey [S@QeAITN OfFuUebsz0] 9007dHSTZ
oTWSeYyosT OTMOAUD Bw 00°0F GLVaLINIG AQIGHOSOSI SHA ON ON ~ 900Z2AWNCT
[seatqeatszeq prow Aqjeg] 9007¢dHSTZ
Jeprzostp azetodtq 6w 00°00sT WOIdOS ALVONdTVA SHA ON ON - 900CAVNZO
[seatqeatszeq pptoy Aq jeg] 900ZAYWTO
Jepzostp zejTodtg 6 00° OSLT WOIdOS ALYONdTVA SHA ON ON - 900 CAWNBT
eseostp Wresy [seqezq{tN otuebso] S9O00TAYWTT 900 cCONWET 900TAYVNOT
oTWSeYyosT oTuUOAyD Bu 00°02 GIVALINIG AQIGHOSOSI SHA SHA ON -9O007THYN60 -900ZHYNTZ -S007dHS90 TWA / W1d €007070H
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO ¥L% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771846
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OTLT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[Septwy] SOO0¢.LOOOT
UOTIOeCAAXS YAOOL Bu o0°0r HNTYOOUTIT ON SHA ON -S00CLOOOT
[SUTTT ToTUS_
SATITSUeS SsseweAoeT-e jeg]
statbuAazeyd pue HNIHLY sooc Loose
STITITTSsuoq eqanoy 6u 00°0002 ZNYd NITTIOINSA IAHLAYWAXONAHE ON SHA ON -SO00CLOOSZ
[SUTTT ToTUS_
SATITSUeg aseMeqQoey-ejeg]
statbudAazeud pue ANIHLY SOOC.LOOTE
STITITTSuoq eqanoy 6u 00000 ZNYd NITTIOINSA IAHLAYWAXONAHA ON SHA ON -S00CLO097
(UTeUD-spts oTqIeYydt Ty
UATIM SSUTZeTYQOUSY_] SOO0ZLDOLO 900ZDNTe7 9007CAYWOZ
Zeprzostp azertodtg Su 00°0S HAIYOTHOOUCAH ANIZVWOUGYOTHD ON ON SaA -GOOZTLOOEO -900THYNTZ -S007LOOVO TWA / dLO S0010T0R
[seatqeatazeq ptoy Aq3je4] 9007EHAOT
Zepiostp rzetodtg Bu o0°O0€ WOIdGOS HLVOUdTIVA ON SHA ON -900caH4L0
[S8qeIIIN OTUeBIz0]
eutbue eTqeqsun Bu oo°o€ GLIVaLINIG HAIGHOsosiI ON SaA ON
etweeue AouSTotTyep [SSATIeATIAEQ PUY PTOW OTTO]
uorzt 42sy0 5 zoo dIOV SIIOd ON SHA ON
[sooueqsgns peqeTey puy
Seat PeATs{eq PTOY OF9S80V] 900CHWNCC
eutbue sqTqeqsun Bu 00°0ST OVNHAOIDIG ON Sada ON -900cCEdH4ATO

[SeaTIeaAtseqd ptow Aqqeg]

Zepiostp azetodtg Bw 00°0S2 WOIdGOS ALYOUdTVA ON Sada ON
[squeby oTbasutwedog
puy oTbreuerzpy]

uo TsueqodAy Bu 00°0OT HNINMHTILH ON SHA ON
[squeby oTbrzsutwedog
puy otTbreuezpy] 900ZEAHATO
uostueqodAH = Bu’: «00 00Z HCIMOTHOOUGAH HNIWWdOd ON SHA ON -900Z8H4TO
[seatqeatszsq ptow Aq3e4g] 9OO0TNYLOE 900TEHAOT
Zepzostp aetodta 6m 00°00s WOIGOS HLYOUGTYVA ON SHA ON  -900ZN¥LSO -S00Z4HS90 dL 10 vOOvOVON
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO GL¥ abed

CONFIDENTIAL
AZSER12771847
Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 26 of 90 PagelD 85882

LILI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[st0qTqTYyUl exeqdney
UTUOJOASS SATIOSTES

Tepiostp azetodtg Bu 00°02 ONILEXOdvd ON ON SHA
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZLOO9T
Teprostp azetodtg Bw gi°st ANId¥YZO1ID ON ON SHA -SO00cdaSST
[seatqeatszeq prow Aqje,] SOO0ZLOO9T
Jaepzostp azeqodtg Bu 00°999 WOIdOS ALVONdTVA ON ON SHA -SOOTAAYTO
[seutTwetq
auaeTAUAW peqngtasgqns] SOOCAONST
etqeotqin oTbreT Ty Bw 00°0S AHCIMOTHOOUCAH ANIWWYAdONOTHD ON SHA ON -SOOZAONTT
[seatqeatiseq prow Aqqeg]) SOOZLOOE 900 cONWOT 900cHdTz0
Zeprz0stp zeTodtg Bu 00°009 WAIdOS ALVONdTVA ON SHA ON -SOOZLOOLT -9007HdVEO -SO0ZLOOLT TWA / dLO 90010108
[seucTozerzAq] 900cInrsd
SsyoepecH Bu oo°o00s WOIdOS HIOZIWYLEN SHA ON ON -900zcTOrsz
[SepTT Tuy] 900 CAYWOC
SsyoepesH 6u 00°00S TOWWZLAOVAYd ON SHA ON -9007AWNOZ
[SUTTT FoOTuSad
SATIISUSS eseweqoey]-eqeg]
stytbudAreud pue ONIHLY SOOCAONTO
STATTTTsueq eqnoy 6 00°000T ZNH@ NITIIOINSS IAHLEWAXONAHd ON SHA ON - SOOZAONTO
[seatqeatiseqd prow Aqqeg]) 9007dHSTZ
Jeprzostp azetodtq 6w 00°000T WOIdOS ALVONdTVA SHA SHA ON ~ S002 LOOFE
[seatqeatszeq prow Aq qed] SOOCLOOEZ
Jeprzostp azetodtq 6w 00°00sT WOIdOS ALVONdTVA ON SHA SHA -SO007LOOEO
[seatqeatszeq prow Aqje,] S00¢LD0c0
Jepiostp zeTodtg 6w 00°000T WOIdOS ALVYOddTVA ON ON SHA -S007@dHSLZ
[seatqeatszeq proy Aqqeg] SsoO0cdHS9z 900 cCONWET 900THVNOT
Jepiostp rzeTodta 6w o00°00S WOIdOS ALVONdTYA ON ON SHA -SOO7GHSST -900ZHYNTZ -S00ZLO070 TWA / dLO SO0P0T0H
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTITT JO 9L% Obed

CONFIDENTIAL
AZSER12771848
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SILI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seaTIeatieqd prtow Aqqea] SOOZONAZT
Zepiostp zejtodtg Bu 00°005 WNIdOS HLVYONdIVA ON Sada SaA -SOOCAWNTO
[seoueqsgqns
statbudAazeydoseu perzeTea puy sutzodsoteydep] SOO0ZONC8TS 900ZNNL8T 900 TAYNIT
esanoy 6w 00°000z2 NIXS1TVWAYD ON Saaz ON -GOOZOHA8Z -900ZUWNLZ -S007ZLDObZ TWA / W1d LOOVOTOR
(unzqoedg
pepuse4xy YIM SUTTTTOTUSEd] 900CNNCLO
STATTTTsuoq sqanoy Bu 00°0002 NITIIOIXOWY SHA ON ON -900cNNP'ZO
[S®ATIVATA9G PTOW OTUOTdOrd] 900ZNNrr0
STITT TESueq sqnoy Bu 00°009 NHAOudNaI SHA ON ON -900cNNP' ZO
[seuoTozerzAg]
STITT TESuoq sqnoy Bu 00°005 WhIdOS HIOZINVLAN SA ON ON
[SSATICATIOG
puy prow oTTAotTes] 900cCNNCTO
STITT TPSuoq sqnoy noon (IOV OLTTIAOLTTIVSIALSOW SAA ON ON -900CNNCTO
[seaTjeatszeq ptoy Aqjeg] 900¢dHS6T
Iepiostp szejTodtg Bu 00°0SL WOIdGOS SHLVOUdTIVA SHA SHA ON -900CNYC6T
[eso otweqsds
Jog seuTweASTYTIUY TeYyIO] SOOCAONVT
eTreotyan oTbrzeT Ty Bu 90°OT ANIGYLYVUOT ON SaA ON -SOOcCAONE60
[seutwe tq
eueTAyA_ peqnatasqns] SOOTAONOT
eTzeotain oTbretiw Bu 00°St AQIMOTHOONCAH BANIWWYACONOTHD ON SHA ON -GOOcCAON60
[SPEATIPATAIG
sty TbuAreydoseu puy ptoy otTTAot Tes] SOOZAONLO
Sqnoy Su 00°005 (IOV OCLITIAOLTTIVSTIALHOY ON Sada ON -SOOTAONLO
sta tbudAseydoseu [Sept Ttuy] SOOZAON80
eanoy Su 00°000T TIOWLHOVavd ON SaA ON -GOOZTAONSO
[seatjeatszeq ptoy Aj3je4g] 900CNYVC8T 900cONTOC 900cadTcO
Jepiostp azertodta Bu o00°009 WOIdOS HLVOUdTIVA ON SHA ON -SOOZLOOGZ -900ZHAYEO0 -SOOZLOOLT TWA / dlO 9007070R
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dorldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTITT JO LL® Obed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771849
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6ILI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seutTdezeryL
puy seutdezexg ‘seutdsezetq]
tepiostp zejodtg Bu 90° 00T ELVaWNOd ANIGVILANG oN ON ON
[S20qTQTYUL exeadney
UTUOJIOISS SATIOSTAS] 900ciInrst
Jepiostp zeTtodta Bu 00°0z2 ANILHXOuvd ON ON ON -900cCNNP6T
[seatjeatszeq ptoy Aj jeg] 9007 TON’8BT
Iapiostp azeTodtg Bu o0°SLS WOIGOS HLVOUdTIVA SHA ON ON -900CAWNEO
[SepTtTtuy] 900CAYVN80
STITT TESueq sqnoy Bu 00°00S NOWZLHOVATd SHA ON ON - 900CAYW90
[seoueqasgqns
peqelea puy sutzodsoteydap] 900TAWN60
STITTITTsuol eqnoy 6w on’o00€ NIXHTVAHO SHA ON ON -900CAYNZCO
[S©ptTtuy] 9O00TAYNSO
STATTTTsuol sanoyw B6w 00°00sT NOWZLHOVAGd SHA ON ON - 900CAYNCO
[SeaTIeaAtTzeq prow Aqqeg] 900CAYW80
tepiostp zetodtg Bu 00°00S WNIdOS HLVONdTVA SHA ON ON -900cHd TOT
[seaTleatiseqd prow Aqqeg] 900cadT60
Zepiostp zejtodtg Bu 00°009 WNIdOS HLIVOUdTVA SHA ON ON -900cCHWN8Z
[seaTjeatizsq ptoy Aqjeg] 900CAWNLZ
tepiostp zejtodtg Su o0°005 WhIdOS HLVONdIVA ON Sada ON -9007NWLS0
[seoueqsqns
sty tbudAareydoseu peqelea puy sutzcdsoteydap] SOOZDHALZ
aqnoy Sw 007000€ NIXH1TV4AYO ON Sada ON -SO0cOedrzZ
[seoueqasgns
statbuAazeyudoseu peqeyreu puy sutzodsotTeydap] SOOZOHAEZ
eanoy Su 00°000T NIXHTVAHD ON SHA ON - S00 ZOE?
[seatjeatszeq ptoy Aj3je4g] 900CNYC VO 900CNNsT 900CAVN9T
Jepiostp azertodta Bu o0°OSL WOIdOS HLVOUdTIVA ON SHA ON -SOOZDHCET -900ZHWWLZ -SOO0ZLOOPZ TWA / Wid LOOPOrVOR
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO @L% abed

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AZSER12771850
Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 29 of 90 PagelD 85885

go97xdoy =6GPIET:LOOZHWWZO

O@LT

es

“OOTpaU AST 600TZOZTT/F13/3ndano /ds/9ZT00°LtPIP/Tenbo1tes/pord/aiso/

(wn tU3t Tt) SOOZLOOTZ 900CHdVZT
Tepiostp rzeyTodtg Bu 00°00€ HLVYNOGYYO WNIHLIT ON ON Sada -GO00ZLOOTZ -G00¢LO082 dLO IO 60070708
[seatqeatTszeq prow Aqje,] 900CNVC9T
Zepiostp azetodtq Sw 00°0SzT WONIdGOS HLVONdTYA ON Sax ON -GOOZLOOTE
[Seat eaTAeq euTdezetTpozuag] SOOZLOOOE
eBTSTYIeyy 6u oo0°O0E WYddZVXO ON Sada ON -GO0ZLOO82
[SeATIeATASq ptoy Aqqeg] SOOZLOOOE
Iepiostp azetodtq Sw 00°000T WONIGOS ALYONdTYA ON Sada ON -G00¢LO0S2
[SeaTIeATAeq SsucuseydorzAqng] GSOOZLOOEZ
Zepiostp azetodtg Bw 00°6 TJOCIaYadOTVH ON ON SaA -G00cLO002
[S®aTIeATASq eUuTdEzeTpozusg] GOOZLOOFZ
Zepiostp azetodtg Bu 00°0€ WYdaZVxXO ON ON SaA -GO007LOO8T
[seatqeatTszeq prow Aqje,] SOOCLOOES
Jepizostp zejTodtg Sw 00° 000T WhIGOS HLVONdIVA ON ON SEA -SO00Z@LOOST
[S@aATIeATAeGq SeUTdEezeTpozuEg] SOOZLOOTE
STSTUIeay Bu 00°02 WYddZVXO ON SaxA ON -GOOCLOOTE
[SSATIPATAGQ sUTdEzeTpozueg] SOOZLOOSZ
Iepiostp rzetodtg Bu 00°0T WYdadZVXO ON Sada ON -GO00¢LO0SZ
[seatqeatTszeq prow Aqleg]
Zepiostp azetodtq S5w 00°00SsT WNIdGOS ALYONdTYA ON ON SaA
[Seat eATAeq SsucuUSEYdorAyng] SOOZLOOVZ
Iepiostp rzetodtg Bw 00°9 TJOCTISYXdOTVH ON ON Sada -GO0¢C LOOP.
[S®eaATAeATAeq SsucuUeYydozAqng] SOOZLDO6T
Zepiostp azetodtg Bu 00°ST TJOCTIYsdOTVH ON ON SaA -G00Z¢LO08T
[seutdezertyL
puy seutdezexg ‘seutdezeta] SOO07.LOO8T 900CNYVI9T
Jaepiostp rzeTodta Bu 00°Sz HNTG¥YZOIO ON ON SHA -GOO0ZLO08T -GO00Z150S2 dLS 10 80070704
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT 3° 64% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771851
Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 30 of 90 PagelD 85886

I@LT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[Sastuobequy 109de0ey4- 7H] S900CNYIST
staqazqseb eqnoy Bu 00°0Or HNIGILOWZ4 ON SaA ON -S00coOxedLe
[wntya4tT] 900Z4a4ST
Zeprzostp azertodtg Su 00°006 HLYVNOddvo WOIHLITI ON DaA ON -SOO0TOHOUTC
[wntyat'T] Soozoudoz
Jepiostp rzeTodtg Su 00°009 HLVNOdavo WOIHLIT ON SHA ON -S00cOxedTO
[wntyat'T] SOOZAONOE
Iapiostp azeTodtg Bu 00° 00€ HLVNOddyo WAIHLIT ON SHA ON -SO0O0CLOOTE
(wntyatT] SOOZLOOOE
tepiostp azertodta Bu 00°009 HLVNOddvO WAIHLIT ON SaA Sada -S00c L007?
[septwezued]
Zepiostp zejtodtg Su 00°0ST HaTYIdInNsS ON ON SaA
[S20qTQTYUT eyeqdney
UTUOIOLSS BATIOS TES] SOO0ZLOOLZ
Zeprzostp azeptodtg Su 00°0OT WVadO1TVLIOSa ON ON SaA -SO00CdHSVT
(wntyat Tt) SOO0¢ LOOT? 900cONV9T 900CAVANYC
Iepiostp szejTodtg Bw 00°00€ HLYNO@avO WNIHLIT ON ON SHA -SOOZLOOTZ -900ZAYNGZ -S007LDO082 IT / dLB 010v0r0e
[wnty3tT] 9007THAYZT
Zeprzostp azertodtg Bu 00°006 HLYNOddvo WAIHLITI ON SaA ON -S00coOxed8c
[SSaATIeAT Taq sutTdezetpozuag] soozouwdaso
uot {eqTby Bu 00°T WYdHZVaoOl ON SaA ON -SO0O0TAONLO
(wn tyatT] SOO0cOxedLe
Tepsostp szeTodtg Su 00°009 HLYNOddvO WOAIHLIT ON SaA SHA ~SO00C LOO?
[(UTeuD-Sspts oTIeYydt Ty
UATIM SSUTZeTYQOUSY_] SOOZLOOLE
Teprostp azetodtg Su 00°0S HAIYOTHOOUCAH ANIZVWOUGYOTHD ON ON SaA -S00¢cdHS9T
[Sa0qTqtTYyUl ayeqdney
UTUOIOISS SATIOSTSS] SOOT LOOLE 900cCaAdVCT
Iepiostp szejTodtg Bu 00°0T WVadO1TVLISSa ON ON SHA -S00¢dH880 -S00¢L5082 dL 10 60070708
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 08% abed

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s97xdoy «GPF ET? LOOZHYNZO

cCLI

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[S®ATIVATA9G sUTdEzeTpozuEg] GQOZAONLT
siepiostp azeTodtg Bw 00°0E WWdazZvxXO ON ON SHA -SOOZLOOTE
[seutTdezertyuL
puy soutdezexg ‘soutdezetq] SOOZAONTZ
Japzostp rzeTodtg Bw 0070S ANIG¥ZOIO ON SHA ON  -SOOZAONTZ
[seatqeatszeq prow Aq3e,] SOOCTAONET
siepiostp zeqtTodtgq 6wu 00°00sT WOIGOS HLVOUdTIVA ON SHA SHA -SOOCAONST
[seutdezeryy
puy seutdezexg ‘seutdsezetq] SOOZAONET
sisprostp azeptodtg Bu 00°00z2 HNIdYZO1ID ON ON SoA -SO007TLOOBT
[seatjeatszseq ptoy Aq jeg] SOOCAONVT SOOCAONYZ
slepiostp AzeTodtg Bw o0°005 WOTCOS HLVOUdTVA ON ON SHA -SOOCAONYVT -SO0CAONTZ dLS 10 Zl0v0r0e
[seaTieatieq ptow Aqqea] 900ZdHSST
Zepiostp zeqTodtq Sw oo°ogZt WOIdOS HLVOUdTIVA SHA SHA ON -900CNYCEO
[seaTjeatizsq ptoy Aq jeg] 900CNYI'ZO
Zepiostp zejTodtq Sw oo°o00T WOIdOS HLVOUdTVA ON SaA SaA -SO0O0TAON6O
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCAONET
Iapiostp zeqodtg Bu 00°00T HNIdYZO1ID ON ON Sada -SOOCAON60
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SOOZAONYFZ
Tepsostp szeTodtg Su 00° 00T HNIdYZO1ID ON SaA ON -SOOCAONYVZ
[seutdezetyL
puy seutdezexg ‘seutdezetad) SOOCAONES 900cONY9T 900 cCHdT9TZ
Teprostp azetodtg Su 00°00z HNIdYZO1ID ON ON SaA -SOOZAON?T -900ZUdYLZ -SOOZAONDZ TWA / W1d TTOPOVOR
(wntyat Tt) 900CdHSST 900cCONY9T 900TAYNTC
Zepiostp zeTodtq Sw 00°00zT HLVNOddvO WAIHLIT SHA SHA ON -900ZEGH49T -900ZAWNSZ -S00Z1D08Z IT / dLO O10POr0R
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL ddoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seutdezetyL
puy seutdezexg ‘seutdezetq] so0zoNaLO
Iepiostp azetodtg Bw 00°002 HLVYWWNA ANIdVILaNS ON Sada ON -G00ZOHaL0
[seutTdezertyuL
puy soeutdezexg ‘soutdezetq] $00¢048da90
Jeprzostp azertodtg Su 00°00% ELVYWWOA ANIGVILANO ON ON SaA -GOOZAONBO
[seatjeatszeq ptow Aajea] soo0zoHag0 90 0TMYWBZ
Iapiostp 1zeTodtg 6u 00°005 WNIGOS HLVYOUdTYA ON ON SHA -GO0ZLOOSZ -GO00cOHaL0 dLO 10 PLOPOPOE
[seatqeatszeq prow Aqje,] 900¢dHSST
Zepiostp azeqtodtq Sw 00°00ZT WNIGOS ALYOUdTVA SHA ON ON - 9007AYNSO
[seatqeatszeq prow Aqje4] 900CTAVNTO
Jeprzostp azertodtg Su 00°006 WOIGOS HLVONdTVA SHA SAA SaA -SOOZAONST
[sotjadest quy] S00CHWNTT
PTO. TOUWIOD n° TIOHLNEWN ON SaxA ON - 9007AYN60
[SSeATIPATASq ptoy Aqqeg] SOOZAONFT
Iepiostp azetodtg Bw 00°009 WONIGOS ALYONdTYA ON ON Sada -SOOCAONFT
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SOOZAON8T
Jaepiostp rzejTodtg Bw o00°Sh GNId¥VZO1ID ON ON SEA -SOOZAON8T
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZTAONEZ
Zepiostp azetodtg Bu 00°05 HNTIGYZO1ID ON Sada ON -~GOOZAONEZ
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOZTAONTE 900 7ONY9T 9007TAdY9T
Japiostp rzeTodta Bu 00°00T HNTIGYZO1IO ON ON SHA -SOOZAON6T -900Z7HdYLZ -SOOZAONEZ TWA / W1d €TOVOV0R
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZTAONOZ GOOZTAONYS
slepiostp azeTodta Bu 00°OST HNTG¥YZOIO ON ON SHA -GOOZAONPT - GOOZAONTZ dlS 10 ZTOrOv0e
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

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SUOTIEO TPA

6-OT° 2°21 Butasty

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Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 33 of 90 PagelD 85889

VOLT

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[SSATIPATA9Q sUTdEzeTpozuEg] SOOZONaBT
wot qe {Thy Bw 00°OT WYdHdZV¥xXO ON ON SaA -S00ZOaaST
[Seat eaTieq eutTdezetpozueg] SOOZAONDZE 900ZONVTZ 900CAYWOT
wot qeqTby Bw 00°OT WYdHZVxXO ON ON SHA -SOOZAON8T -900ZAVNTT -S007OHdEe TWA / dLO 9T0POV0R
[seatqeatszeq prow Aq3e,] 9007CdHSST
Iapiostp zeTodtg bw 00°0szt WOIdOS ALVONdTVA SHA ON ON -900c¢TOr90
[SeATIeATASq ptoy Aqqeg] 900cINrso
Jepiostp azetodtg 6w 00°000T WOIGOS HLVONdIVA SHA SHA ON -S00cOedOZ
[seatqeatiseq prow Aqqeg]) SOOZONC6T
Jeprostp azetodtg Bu 00°0SL WOIGOS HLVONdIVA ON SaA ON -SO00COEd8T
[seatqeatszeq prow Aqje,] SOOZOHC9T
Jeprzostp azetodtq Sw 00° 00ST WHIGOS HLVONdIVA ON SaA ON -S007cOEdLO
[seutdezertyL
puy seutdezexg ‘seutdezetq] S007DHd90
Jepiostp azetodtg Bu 00°S2z SNIdVZO1ID ON ON SaA -SO0CLOOVZ
[seutdezertyuy
puy seutdezexg ‘soutdezetq] S00Z048dL0
Jepiostp zeyTodtg Bu 00°002 GNId¥VZO1ID ON SaA ON -S007@OEdLO
[seatqeatszeq prow Aqjeg]
Jepiostp azejtodtq bw 00°000T WOIGOS HLVONdIVA ON Sada ON
[sotdoz oon
SSSuUyeOM puy squeTnutysoyodAsd 298430]
Teotséyd Tereuep 5 00°% WYLHOVaId ON Sada ON
(UOTATAZIANN
Ssouyeom Tezequereg 10g suotantos] SOOZONALT 900ZONV9T 900CAVNTZ
Teotsdéyd Tersuep Tu o0°00S ASOONTID ON SaA ON -SOOZOHGLT -900ZAYNSZ -S007OHdLO TWA / dLO STOPOV0R
[seatqeatszeq proy Aqqeg] 900TAYN8BT 900TAVNB TC
Jepizostp azejTodta Sw 00° 000T WOIdOS ALVONdTYA ON SHA ON -S00ZOEdLO -S00ZOHdLO dLO 10 VIOPOVOE
NOILVOICNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO worded aLvd dOLs HLvd dos aLvV¢d dOLS LINSWLVauL adoo
WHEL OI1WESNHD NOILYOICGEN NHNWL NOILVOICGHN -HL1Vd LYVLS -aLVd LYVLS -alvd Laws Loarans
NOILWOIGSN CHZINOGNVa THavl Nado

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SUOTIEO TPA

6-OT° 2°21 Butasty

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[squeby oTbasutTouotquy]
rower Bu 00°SL HNIZVHLAWOUd ON ON SaA
[S®PATIPATAGq SsuCUSYdorAyng]
Tepzostp azetodtg Bu os"y JOCIMSdOTVH ON ON SHA
(UTeUD-SpTs OTIeYIT TY
UATIM SSUTZeTYQOUSY_] SOO COsSaTT
Teprostp azetodtg Sw 00°0ST HCIWOTHOOUGAH BNIZVWOUdHOTHOD ON ON SaA -SOOCAONOE
UOTASSFUT [SUOTINTOS 3TeS] 900CAYWSO
TeUT{zsoqjutT TetTA Tw 00°005 HoVddAHIGC ACTHOTHOD WNIOTYO ON DaA ON -9007AYWSO
[sdwop wntseubey ‘wntorTep
UOTAOSFUT ‘UNTUTUNTY SexsTdwop /quod] 9007HWNSO
TeUTASSeIUT TeEITA 5 00°9 HLILOAWNS ON SaA ON -900CAYNFO
[squeby oTbasutTouotquy]
rower Bu 00°Sz HNIZVHLAWOUd ON SaA ON
[S®PATIPATAGq SsuCUSYdorAyng]
tepiostp zetodtg Bu ost TOCIYHdOTvH ON SaA ON
(UTeUD-Spts oTIeYyIT TY
YATM SSsuTzetTyjouseyd] SOO0coeacT 900CAYN90
Teprostp azetodtg Su 00°0S HALYOTHOOUCAH ANIZVWOUdGHOTHD ON SaA ON -S00cOxeacT -S00cOs8acT dlS 10 LTOr0v0e
[seatqeatszeq prow Aqjeg] 9007cdxHS07
Jepiostp zeTtodta Bu 00°006 WOIGOS HLVOUdTIVA SHA ON ON -900cONYEO
[SUTTT TO TUed
PATITSuUag Ssseweqoey-eqeag]
statbudAazeyud pue ANIHLY 9007cdH490
STITTITFsuol eanoy 6u 00°O00€ ZNYd NITTIOINSAIAHLAYWAXONYHAG ON SHA ON -900CNYI8C
[SeATIeATASq ptoy Aqqeg] 9007cDNYTCO
Iapiostp zeqodtg Bu 00°009 WNIdGOS HLVOedTVA SHA SHA ON -S00coOuedye
[UzeUuD-Sspts ofaeydtT iy
YITM SeutTzetyjouseyd_] SOO0coOedc?
Jeprzostp azertodtg Bu 90°Sz ENIZVNOUdHNOANT ON ON SHA -SOOZAONYZ
[seatjeatszeq ptoy Aj3je4g] SOOCOHAET 900cCONYTC SO00CAYWOT
Jepiostp rzetodta Bu o0°O00€ WOIdOS HLVOUdTIVA ON SHA ON -SOOZDECEZ -900ZAWWTT -S00ZONCEZ TWA / ALO 9T0POV0R
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seat eatsed ptow Aqqea] soozoma90
Zeprzostp azertodtg Bw 00°00S WNIdGOS ALVYOUdTVA ON ON SaA -G00cDxHa90
[seatqeatszeq prow Aqje,] SOOZOHC6T
Zepiostp azetodtgq Sw 00°00ST WNIGOS ALYOUdTVA ON ON SaA -SO0O0COHACT
[seutdezertyL
puy seutdezexg ‘seutdezetaq] SOOZONCLZ
tepiostp azertodta Bu 00°05 HNTaG¥YZO1IO ON Sada ON -GO00cOHedLze
(unzqoeds
pepue3xgd UITM SUT TTTOTUEd)
statyouorq eqnow Sw 00°0002 NITITOIXONY ON ON SaA
[soTqAToonm] SOOZONCFT
ST4Tyouorg sqnoy Su 00°06 HCATAYOTHOOUCGAH "IOXOMdANY ON ON SaA -SOQO0COHCET
[SUTTT TOTUSd
SATITISUSS SsseweqoeT-e jeg]
statbuArzeyd pue HNIHLY
STITTTFsu0eq sanoy Sw 00-000 ZNA@ NITIIOINSd 1TAHLEWAXONTHA ON ON SaA
[SeuTdezertyuL
puy seutdezexg ‘seutdezeta] Sso00cOedeT 900 ZDNET 900cINcO
Jaepiostp rzejTodtg Bw 00°05 GNId¥VZO1ID ON ON SHA -SOOZOHAZT + -900ZINTEO0 -S007ZDHALZ TWA / VW1d 81070708
[SSATIPATIEC [OUI
wtrdoyjeutazal/septweuojzp—ns
UOTICSFUT FO QWoD] 900cHdTS0
TeEUTISSIUT TeEATA 6w 00°0Z6T HIOZYVXOHLYNVATONS ON Sada ON -900CAYNSO
UOT AOSFUT [S®ptTtuy] 900 CHYN90
TeEUTISSIUT TeEATA 6w 00°00ST TOWZLAOVaYd ON Sada ON -900CUYWNFO
[seatqeatszeq prow Aqjeg] 9007cHdVSO
Zeprzostp azertodtg Bw 00°00S WNIGOS ALVYOUdTVA ON Sada ON -900CNYC8T
[seatqeatszeq prow Aqje,] 900CNYCLT
Jaepiostp rzejTodtg Bu oo0°OSL WAIdOS ALVONdTVA ON SHA ON -SOO0cOEarz
[Seatqeatszeq ptow Aqje4g] SOOTOHAES 9007TH¥WIN
Jepiostp azetodt@ Sw 00*o000T WONIdGOS ALVYOUdTYA ON Sax ON -GO0COHAz2T -GO00ZOHdZT dLS 10 LTOvOv0N
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[Seat eATszsq sutTdezetpozueg] SOOCHYW6O 9O00CAVYNTE So0coNnVL0
Ee TUE Bu os*t WYdHZYNOTS ON ON SHA -SOOZHWN60 -SOOZDNV80 -SOOZHYW9T IT / WId TOOTOSON
Zeqein pue AsupTH [ZOATGTYUI sseweqoeT-eq.eg
jo szopsz0stp TOUL SUTT[TotuUed FO squop] 900ZHYN90
patytoads Bu o0°SL8T HLIVACAHTAL NITIIOLTXOWZ ON SHA ON -900cCAVNCO
[seatqeatszeq prow Aq3e,] 900CdHSCT
Zepiostp zeTodtq bw oo°o00T WNIdGOS HLVONdTVA SHA SHA SHA -S00coOedOc
[seutdezeryy
puy seutdezexg ‘seutdsezetq] so0zogagz
tepiostp zejodtg Su 00°0ST HNIdYZO1ID ON ON SoA -SO007OHAST
statbudAazeud pue [SeptTtuy] SOO0COSaYT
STITTTTsuolq eqnoy Bw on°o0ST TOWWLHOVaYd ON ON SHA -S00cOsedCcT
[SUTTTTOTUSd
SATITSUeS SsseUWe oe T-eqeg]
statbuAazeyd pue ANIHLY
STITTTESuoq sanoy Sw 00°000T ZNHd NITIIOINSd IAHLEWAXONYHd ON ON SHA
statbudszeyd pue [SePpTTtuy] SOOZONATT
STITT TPSuoq sqnoy Su 00°005 TOWWLAOVavd ON ON SaA -SO00COHATT
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOO@OHATT
Iapiostp zeqodtg Bu 00°0ST HNIdYZO1ID ON ON Sada -S00coOxd60
[seutwy AzetqAzeL] S007ZONd60
AatptSta Bu 0072 NadIuadIad ON ON SHA -SO0z7DHa6O
[seatqeatszeq prow Aqjeg] SOOZOHCTT
Zepzostp aetodt@ Sw o0°000T WOIdOS HLVOUdTVA ON ON SaA -S00cOxHaL0
[seutwy AretqzeL] soocoudso
AYTpTBta Bu 00°F NHdTasdId ON ON SHA -GOOZCAON9Z
[SS8ATIVATIASQ SUS IUeXoTYUL]) SOOCTAON9T 900CONVET 900cINnrco
Iepiostp szejTodtg Bu 00°00z2 HIVONYIEA IOXIHINSdOIONZ ON ON SHA -SOOZAONSZ -900ZINrEO0 -S00ZDNdCLZ TWA / W1d 8T0POr0R
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seutTdezeryL
puy seutdezexg ‘seutdsezetq] 900ZDNYOT
Ee TUeW Bu 00°007 ANIGVILHNO ON ON ON -9007ONTLO
[wn tyatT]
eTUeW Su 00°009 HLVNOGA4VO WOIHLIT ON ON ON
[SSaTIeATASq SsuTdezetpozusg] 900z7Hnv60
Ee TUeW Bw 00°7 WYdHZYNOID ON ON ON -9007ONTLO
[S@eaTIeATA8q SsuTdezetpozueg] SOOTHAaVEO
eTUeW Bu 00°T WVdHZYNOTD ON Sax ON -SOOCAVNIL
[wntyatT] SOOZAYNTE
Zepiostp aetodt@ bw oo*osot HIVNOGYZO WOIHLIIT SHA Suz ON -GOOCAYNIZ 2
[seutTdezeryL
puy seutdezexg ‘seutdezetq] SOOZAYNZZ
eTUeW Bu 00°0T HNIGVZNVIO ON Sada SaA -SOOCTAWNYT
[wntyatT] SOOTMYNTZ
Jepzostp zejTodtg Su 00°006 HLIVNO@avO WNIHLII ON SHA SHA - SOOCAYN7T
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOCHWNWST
eTUeH Bw 00°002 ANIGVILHNO ON ON SaA -SOO0CUWNTT
[SSeaTIeATASaq suTdezetpozuag] SOOZTHYN9Z
eTUeW Bw 00°% WYdHZYNOID ON Sada SaA -GOOTAYWOT
[wntyatT] SOOTUWET
Tepiostp zeTodta Bu 00° 009 HLIVNOddvO WOIHLIT ON ON Sada -GOOCUYWOT
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOCHWWET
eTUeH Bu 00°02 HNIGYZNVIO ON ON SaA -SO00cCaHALT
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCAYNOT SOOTAVNTE so0cONVLO
eTUeW Su 00°00T BNIGVILHNO ON ON SHA -SOOZHYWOT -SO0OZDNY80 -SOOZHYW9T IT / WId TOOTOSON
NOT LYWO TANI gs0dq [NOILVOISISSVIO NOILYOICIN]) ca TO dwoldd aLvd dOLs aivd dos aLV¥0 dOLs LNAWLVaaL qdadod

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

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Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[uNtyatT] 9007aHS90
etuew 6w 00°00zT HLYNOGAVO WNOIHLIT ON ON ON -900ZONV8BT
[seutdezetyL
puy seutdezexo ‘seutdezeta] HONILNOD
eTUeH Bw 00°008 ANIGVILHNSO ON ON ON -900cONV8T
[seatqepeg puy sotqoudAdy] 900ZONYLT
Ee TUeW Bu 90°05 ANIZVHLAWNOUd ON ON ON -9007ONYLT
[seutdezetyL
puy seutdezexg ‘seutdezetaq] 900zoNvO0z
eTUeH n° YHNIGVZNVIO ON ON ON -900CONYFT
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] 9007ZDNVLT
eTUeW Su 00°009 ENIGVILHNO ON ON ON -900ZONYZT
[SSaTIeATAEq suTdezetpozueg] 900ZDNVET
eTUeW Bu 00°OT WYddZvVId ON ON ON -900cONTET
[s6naq
pe .etey eutdezetpozueg] 900ZDNYLT
eTUeW n° WHOIdIOZ ON ON ON -9007ONYTT
[seutdezertyL
puy seutdezexg ‘seutdezetq] 9007ZDNVTT
eTUeH Bw 00°00S ENIGVILHNO ON ON ON -900CDNYTT
[uMntyatT] 900ZDNYLT
eTUeH Bw 00°006 HLYNOdavO WOIHLIT ON ON ON -900¢DNYOT
[SeaTqeATIeq suTdezetpozuag] 9007daSS0
eTUeW Bw 00°9 WYdHZYNOID ON ON ON -900cONT60
[SEaATAeATAeq suoueYydozAqng] 900ZDNVET
eTUueW n° A TJOCIYHdOTVH ON ON ON -900cONnv60
[SeaTqeatseq seutdezetpozusg] 9007TONY60 SOOTAVNTE so0cONVLO
eTUeW Su 00°OT WYddZVId ON ON ON -900ZDNV60 -SO0OZDNY80 -SOOZHYW9T IT / WId TOOTOSO
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT JO ggP abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771860
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Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

OcLT

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[septwezueg] SOOZAVNTO
eTUeW Bu 00°007 HaTeIdIAS ON Sada ON -SOO0cadYZT
[SeATIeATASd ptoy Aaqeg] SOOCAYNDO
eTUeH Bu 00°0S7r QIOV OIONdTVA ON Sada ON -GOO0CadVTT
[seatqeatszeq prow Aqje,] SOOcHdVOT
Ee TUeW Bw 00°00€ QIOVW OIOUdTVA ON SaA ON -gOd0TadT90
[sotadeTtdetquy 28430] soocdavso
eTUeW Su 00°0ST HNTIOTYLONZI ON ON SaA -SOOCAYNPT
[Sseptwezusg] SOOCHdVTIT
eTUeW 6u 00°009 HaTeIdIAsS ON Sada ON -GO0cadT90
[sotqdeTtdetquy 198110] GOOZAYNTO
eTUeH Bw 00°00T UNIDIYLONZI ON Sada ON -SO0cHdY90
[septwezueg]
eTUeH Bw 00°008 aqaTaIdIAS ON ON SaA
[SeuTdezetyL
puy seutdezexg ‘soutdezetq] SOO cHdYSO SOOZcINE ST
eTUeW Bw 00°00T ANIGVILHNG ON ON SaA -GOOTAWNIE TZ -GO007TaAdY90 dLO IO zO00TOSOR
[SSATIPATAGQ sUTdEzeTpozueg] ANNILINOO
eTUeH Bu o0°€ WYdadZYNOTID ON ON ON -900¢dHS80
[S®aATIeATAeq sUTdEzeTpozueg] 9007d4HSL0
eTUeH Bw 00°F WYdaZYNOTD ON ON ON -900¢dxHS40
[wntyat tT] ANNILNOD
etue_ 5w 00°OSET HLYNO@davO WNIHLIT ON ON ON -900CdHS40
[SeaATIeATANGq euTdEzZzeTpozueg] 900ZdaS90
eTUueW Bu oo's WYdHYZYNOTD ON ON ON -9007d4aS90
[S®pTT Tuy] 9007TONYTT? SOOTAVNTE so0cONVLO
Soe pesH Su 00°005 TOWZLHOVagd ON ON ON -900zZDNWZZ = -SOOZDNY80 -SOOZHYW9T IT / WId TOOTOSO
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT FO 68% abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771861
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TeLt

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[SSATIeATIaeq SsUuTdEezeTpozusg] SOOcTHdYOZ
eTUueW Bu oo°T WYdHZYNOTO ON SaA SHA -so0cadv90
[seutdezertyL
puy seutdezexo ‘seutdezetq] SoO0zcaav90
eTueW Bu 00°Sz ANIGVILYNS ON ON SaA -SOOTAWNOE
[seutdezeryy
puy seutdezexg ‘seutdsezetq] Soozddvso
eTUueW 6w 00°OT ANIGVZNVIO ON ON SHA -SOOTAYNST
[seatqeatszeq prow Aqje4] SOOCAHVWOT
eTUeN Bu 00° 00€ dIOv OIONdTVA ON ON SEA -SOOTAWNG6O
[seatqeatszeq prow Aq3e,] SOOCTAVNBO
eTUeW Bu 00°009 dIOW OIOddTVA ON ON SaA -SOOTAWNLO
[Squod
Tey1o ‘quajog ATaqerSpopl
‘SPpTO1e4sSOdTII09]
eTetqozoq~W eweZzoy n° a ENOSVHLEWYXHYd ON ON SEA
[suotjerzederg
TeotTboTo qewzsq TeyI0)
suot SOOCHWWTE
eTetqozoTW ewezZzoy fn’ o erederg TeoTboToqjewzeq zSy10 ON ON SHA -SOOTaHATT
(WntyatT) SOO0COHC6T
Tepzostp reTodtg 6u 00°006 GIVNO@aYS WAIHLIT SaA SHA SHA -SOOCEHA8BT
[seaTqeatieq sutdezetpozueg] soocddawvso 9O0O0CNVLLT so0conw4o
eTUeW Bu os’ t WYdHdZYNOTD ON ON SEA -SOOTHWWEZ -GSOOZDNY8O -SO07HdYLO IT / Wid €00TOSOR
[seatqeatszeq prow Aqjeg] SOOZONWTT
etuem 5wu 00°000T dIOW OIOadTWA ON ON ON -soocTOrer
[seatqeatszeq prow Aqje,] sooc Inet
eTUeW 6u 00°006 dIOVW OIOadTVA ON SaA ON -SOOZAVWSO
[sotade,tdetquy 27°40] SOOzNnrg0 SoozcINreL
eTUeW Bw oo°Sh ENISIYLOWYI ON SGA ON -SOOZAWNSO -SOO0zZedW90 dLl5 TIO Z00TOSON
NOILYOICNI gsod [NOILVOISISSVIO NOILVOICHW)] du TO wordd aLvd dOLs HLvd dos aivd dOLS INSWLVaaL qaoo
WHHL OI1HMENHD NOILYWOICEWN NHMVWL NOILWOICHW -aLVd LYVLS -aLVd LYvls -alvd Laws Loarans
NOILYOIGSN CHZINOGNYHa Taavl Nado

GITT FO 06% abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771862
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CELI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

(UTeTd *STOATQTYUT soy] 900CNYCPTO

wot sueqredéy Bu 0g°2T TTddOLdYO SHA SHA Sada -SOO0CAYNTO

[squesserzdeptauy 780] SOOCAWNLE

wot sseideq Bu 00°Szz HQATAOTHOONCAH ANIXVAVINHA ON Sada SaA -GOOCAVNITO
[seutdezertyL

eseestp azetodtq puy seutdezexo ‘seutdezetq] soocddvso

ot q0e TAydorg bu og Zz HNIGVZNVIO ON Sada SHA -GOOCAYNTO

aseestp rzAeToOdtq [SeaTIeatseq ptoy Aqqeg] SOOCHVNTE

otqoe TAydorg Bu 00°006 QIOW OIOddTYVA ON ON Sada -¢INN
[SseuTdezertyuL

puy seutdezexg ‘seutdezetq] 900¢daS90

AqeTxXuy Su 00°00T ELVYWWOA ANIGVILENO ON ON ON -9007d4HS90

[seoueqsgns peqeTex puy
SOATIPATA8d PTOW OTISED"]

syoesyoe, n° na NIOVLAWOCNI SaA ON ON
[SSATICATASC PToOy OTUOTdoOIg] SOOZAON6T
syoexyoe, Bu 00°00F NadOedndl saa ON ON -SOOCAONST
[squesserzdeptauy 7820] soociInrgac 900cdHSr0 SOOCAONDT
uotsseadeq Bu o00°SL HQTYOTHOOUCAH ANIXVAVINHA ON SaA ON -SoozNarsz -SOOZAONST -SOO0ZHdVYIO TWA / dLO yOOTOSON
[seutdezetyL
puy seutdezexo ‘seutdezeta]
Zepzostp aejtodtq  6wu o0°009 ANIGVILHNG SHA ON ON
[SeaTyeatTszeg suTdezetpozueg] 9007TEHHA9T
Iaepriostp J azejodtgq Bu 0g°z WYdHZYNOTO SHA ON ON -900CNYOLT
[wuntyatT] 9007EHA9IT
Zeprzostp aetodt@ 6wu 00°00zT HLVNOdavO WAIHLIT saa ON ON ~S00coOxed0c
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOcaAdYOC S900CNYCLT SsooconvLO
eTUeW Bu oo°s HNIdVZNVIO ON SHA SHA -SOOZHaY90 -SOOzZDnNVs0 -SO0zZHdvWLO0 IT / Wid €00TOSOR
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 16% abed

CONFIDENTIAL
AZSER12771863
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s97xdoy «GPF ET? LOOZHYNZO

[squesseizdeptquy 781740]

cell

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

AQetxXuy Bu o0°Sh HQTHOTHIOUCAH ANTXVAVINHA ON ON ON
[seutdezertyL
puy seutdezexo ‘seutdezetq] 9007Z.LO070
AqQetTxXuy Bu 00°002 BLVYWWOA ANIGWILENG ON ON ON -900C¢dHSL0
[sesoueqsans peqeTey puy
SOATIPATIAG PTOW OTQe0V] 9007CNNL9Z
STITzAYIY Bu 00°0T WiIGOS OVNHAOIOIG SaA ON ON -900CNNLO7
[sas tuoby
Zoydesey suTTOZeptTwtT]
uot sueqredAq Bu oo°T ANIGINHWIIS SHA ON ON
. [UTeTa ‘SAOATCTYUT soy] 9002L0070
uot sueqzedAyH Bu og" Le TIadOLdvD Sada ON ON -900CAYNSS
aseaestp rzeTodtq [SeATIeATIAeq pToy Aqqed] 900Z.L0070
oTqoeTAyFotg Bu oo o00T IOV OIONdTVA SUA ON ON -900CAYNYO
[PAT IOSETSS
etpaeodyorq ‘squeby Butyootd eq] 900ZLD0TO
‘uotsueqredéy Bu 00°0T HQ TYOTHOONGAH 'IOTIOXVLHYA SaA ON ON -900CNVL'ZO
[UteTa ‘SaoqTqTYyUT soy] QOOCAYNYE
uot sueqzsedAH Bu o0°Sz TIadOLdvo SHA ON ON -900cCNYI'CO
[suotqerzederg ewdAzuq] 900ZAYWEO
suorpuds otqjdedshAq Bu 00°0rr ASVLSVIG SHA ON ON  -S0OzONaSO
[squesserzdeptauy 7820] soocony7e?
wot sseideq Bu og*4e HQTYOTHOOUCAH ANIXVAVINHA ON SaA ON -soocinrid
[seuowz0yH ptoxrAyL] 9002.LDOP0
stsoerAyqodéy 6n 00°05 WNIdOS HNIXOMAHLOAHI SHA SHA ON -SOOZNArST
[squesseadeptquy 29430] SOOCNOP YC
uot sssideq Bw 00°0ST HCIXOTHOONCAH HNIXVAVINESA ON SHA ON -SOOCAYNBZ
Sseostp zetodrq [seataeatszseq prow Aq eg] 9O00CTAYWEO 900CdH570 SOOCAONYT
go stxeTAjotd 6w 00°0S0T IOV OIOddTVA SHA Saaz ON -SOOZHdYTO -SOOZAONST -SO00ZHdVTO TWA / dLO POOTOSOR
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTITT JO 26% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771864
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veLI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SeATIexeT
butqoy ATTeotjowso] SOOZAONSO
snsosTTqns sn je js TH OO°O0E HSOTNLOVGI ON ON ON -GO00ZLOOL0
[SWS TUPBIOO19 TH
Teousret pt iy]
snsoeTTqns sn je qs TW 00°79 SQOOUCGAHNY ASOLOVI ON ON ON
[Seuo Toutnbozo0ntT J] SO0Z.LOO8T
snsoeTtqns snjeqg Sw 00°000T AdAIYOTHOONGAH NIOVXOTAONdID ON ON ON -G007LOOLO
AFJST out [senboTeuy utpueTbeqsor4g]
uo TTNoOO BwWwoANeTO Tw so°o LSOXdONYVLYI ON Sax ON
qZeT
ey uo seuT jet
otTjowe - eseesTp [UTeTE ‘Sptoreqsootqr0D] SOOZAONSO
oT bo TowTeaydo Tu g2°o GLVLAOY ANOTIOHLAWOWONTA ON Sada ON -GOO0CdHST¢
aZeT
ey uo seuT yet
otTjowe - eseesTp [SoftaotqtquyY]
2TBoTouteqydo Tw o2°0 NIOIWVINED ON Sada ON
ayeT 94a [So TH1SuT TOyoT AUy] SOOZdHSLZ
uo SseutT yet oTIOWY Tw so" HLVAINS ANTIGOMLY ON Sada ON -SOO0CdHST 2
I 1epzostp zertodtq [seaTIeATzeq ptoy Aaqeg] GOOZLD090 GO00ZLD090
stxe TAydoig Bw 00°006 QIOv OIOUdTYA ON Sada SaA -SO0c INCEST -G00¢dHS9T dLO IO 900T0S0R
[Sa0qTqTYUL exHeqdney
UTUOICASS SATIDETIsS] SOOTINE TZ
uotsseadeq Bu 00°0T WVWadO1TVLIOSH ON Sada ON -SOOcNNC Pe
[Sz04TQTYyUL ayeqdney
UTUOIOLSS BATIOSE TES] SOOCcNNrec
uotssezdeq Bu 00°02 WVWadOTYLIOSH ON SaxA SHA -GOOcCNYC8O0
aseaestp rzeTodtq [S®eATIeATAEq PToy Aqqed]
yo stxeyTAydortg 6w 00°0SZT GIOV OIONdTWA ON SHA SHA
[seuowz0H pTozAyL] HONILNOO SO0OZd4HSTO
sTsosrAy.odAH 6n 00°0OST WONIGOS SYNIXOWAHLOAYT ON Sax SHA --INN -GOOZAVWLZ di5S 10 SOOTOSON
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO €6% Obed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771865
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s97xdoy «GPF ET? LOOZHYNZO

[seutdezertyL

Sell

ses’ ooTpew

ast

“600TZOZTTI/3123/3ndano /ds/97T00°L rr TP/ Tenbozes /pord/aiso/

Aepizostp puy seutdezexo ‘seutdezetq]
“I zetodta wu o0°004r ALVEWWOA ANIGVILYNG ON ON ON
(UTeUD-Spts OTIeYyIT TY
Aspszostp YIATIM SSuTZetTYyjOUuSYd]) SOOZHdVYOT
“I zeqtodtg uw 00°00T ANIZVWWOUdHNOATI ON ON ON  -SO0O0ZHdYOT
Aepzostp [S@ATIPATASq ptoy Aqqeg] GOOZAYNS8O
“I zeqtodtq bw 00°000T GIOV OIONdT¥A ON ON ON  -s00zHdv6O
[seutdezertyL
Aepizostp puy seutdezexo ‘seutdezetq]
“I zeqtodtq@ fu 00°00z ALVaWWOA ANIGVILAYNG ON ON ON
[(UTeUD-Spts oTIeYyIT TY
Aspszostp YATM SSUuTZeTYAOUSY_] SOOZHdV60
“I zeTodtg Bw 00°05 ANIZVWOUdENOATI ON ON ON  -S00zHdYW6O
Aspszostp [SSATIPATIEq PTow Aq2e 4] SOO7cHdVs80
“I zeqtodtq 6w 00°005 GIOVY OIONdTVA SHA SHA SHA -POOZAONET
[seutdezertyL
Aepiostp puy seutdezexo ‘seutdezetq] POOTOHRA6T
“I zeqtodta@ fu 00°009 HLVaWWOA ANIGVILHNG ON ON SHA -yNOn
[SUCTISUT QUOD
paexty ‘suebor4sg7
puy suseboqsebozg] ANNILNOD sSOOZHdv80 SOOZHWWET
eatadeseszquoD aa HIVWILSHDYON SHR SHA SHA -MNQ -SOOZUYWNYT -POOZDHdOZ TWA / Wid T00z0S0u
aseastp [sTeotbotTowpTeyaydo ze7I0] GOOZAONSO
otboTouTeqydo a 0 MaWOdayD =6ON ON ON  -S00Z1LD09z
3387 243 [squeby butyoota ejeqg] SOOZAONSO
uo SeUTIeA OT IOWY Tw OT"O ALVATWN IOIONIL ON ON ON  -S00ZLD00T
[seats[ndoz4g] SOOZTAONSO s00ZL0090
snsoaTtqns snjeqs Bw oS*Te ACIMOTHOOUCAH ACIWWHdOIDOLEW ON ON ON  -S00Z1LD0L0 -S00ZdaS9T d1O 10 900T0SOH
NOILWOIGNI as0q [NOILVOI4IssvlO NOILYOIGIW] aa IO uOlud Lvwd dols alvd dolls dlvd dOls INEWLWaaL aqoo
WHHL DIWHNAD NOILVOIGHN NSNWL NOILWOIGHN -HIvd LHVLS -adLvd LavLs -a3Llvd 1uvis Lograns
NOILWOIGHN CaZINCGNYWH ‘THav1l NHdo

GITT JO ¥6% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771866
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9ELT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

(wntyatT]) HANTINOO

Tepiostp I azejTodtg Bu 00°00€ GLVNOddYO WAIHLIT ON ON ON -SOOZAYNTO ONISSIN 70070S0a
tepszostp [seaTjeatszeq ptoy Aq jeg] SOOZOHALE
“TI aetodtq Sw on°o00T GIOV OIOUdTVA SHA SHA ON -soozonvso
Jepiostp [seatjeatszeq ptoy Aj jeg] soozmnvso
“I azeqtodtg Bu 00°006 dIOW OIOUdTVA ON Sada ON -SOOCAYVN9T
[SeATIeATASq ptoy Aqqeg] SOOCAVNST
Teprostp J azertodtg Bu 00°009 dIOW OICUdTVA ON Sada SaA -SOOcdEAST

[SseuTdezertyuL
puy seutdezexo ‘seutdezetq] SOO CHWNOZ SOOZAONLZ so0cdHSvT0

Teprostp IT szeTodta Bu 00°007% ELVYWWOA ANIdVILHYNO ON ON SHA -MNQ -SOOZdHSSO -SOOZHYWIZ TWA / WId £0070S0H
[SepTtT Tuy] SOOZAONTO
ezuenTzul 6w 00°o00T TOWWLHOVEYd ON SaA ON -S00ZLOO82
[seatqeatszeq prow Aqje,] SOO0ZOUd8S
Teprostp I zetodtq@ b&w o0°00zT dIOvV OICddTvVA ON SaA ON -soo0conv6eo
Jepszostp [seat eatszeq ptow Aqjeg] soozonvso
“I zejTodtg 6w 00°o0s0T dIOW OIOUdTVA ON SaA ON -soocTorst
Jeprostp [seatjeatszeq ptoy Aq3jeg] SOOTINC PT
“I aetodtg Bu 00°006 dIOV OIOUdTVA ON Sada ON -SOOcNNOL9T
[seatqeatsieq proy Aqqed) SOOZAYW9IT
Iepiostp I zetodtg Bu 00°009 dIOW OIOUdTVA ON Sada SaA -SOOcdsAsT

[seutTdezertyuL
puy seutdezexg ‘soutdezetq] soozuwnoz
Tepiostp I zeyTodtg 6u 00°00S HLVaVWNA ANIGVILYNS ON ON SEA -yINO
[seatqeatszeq proy Aq jeg] SOOCNOCST SOO0ZAON8Z

Iepiostp J zetodtg Bw o00°0SL dIOVW OICUdTVA ON Sada ON -SOOZAWWLT -SOOZUWWTZ dLO IO 2002090

NOILVOICNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO worded aLvd dOLs HLvd dos aLvV¢d dOLS LINSWLVauL adoo

WHEL OI1WESNHD NOILYOICGEN NHNWL NOILVOICGHN -HL1Vd LYVLS -aLVd LYVLS -alvd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO G6% abed

CONFIDENTIAL
AZSER12771867
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LELI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seutTdezeryL
iepazostp puy seutdezexo ‘seutdezetq] GOOZLOOTO
“I azejtodtg Su 00°0T HNIGVZNVIO ON ON SoA -S007LOOVO
[seutdezertyL
Aepzostp puy seutdezexg ‘seutdezetq]
“I aejtodtg Bu 00°00€ BLVYWWOA ANIGVILING ON ON Sada
[seutdezetyL
Jeprostp puy seutdezexo ‘seutdezetq] GOO0ZLDOSO
“I azejtodtg Bu 90°s HNIdVZNVIO ON ON SaA -S00¢.L00S50
[seutdezertyL
Jepazostp puy seutdezexo ‘seutdezetq]
“I aejtodtg Bu 00° 00T BLVYWWOA ANIGVILHNG ON ON SHA
[seutdezetyL
Aapizo0stp puy seutdezexg ‘seutdezetq) GOOZLOOEO GOOZLOO6T
“I azejtodtg Bu 00°ST HNIdVZNVIO ON ON Sada -S00cLOOEO -S00¢1L5090 dlS 10 900Z0S04
Aepazostp [SeaTIeATAeq suTdezetpozueg] SOOZINCLZ
“I azetodtg Bu 00°02 WYdHZVId ON SHA SaA -SOOc INLET
[seutdezetyL
puy seutdezexo ‘seutdezeta] soozinroz
Zepzostp I azejtodta Su 00°008 ELVUWNOA ANIGVILHNG ON ON SaA -SO0O0cNYI'90
[seatqeatszeq prow Aqjeg] SOO¢dHSLT
Zeprzostp I zeqtodtq Sw oo0°o00T IOV OIONdTIVA ON SaA SaA -POOTLOOBT
Aepazostp [SeaTIeATAeq suTdezetTpozueg] goozDnve0 goozonvet
“I aeptodtg Bu 00°ST WYddZVId ON SaA ON -SOOC INES? -SO0CIN’T? dLS IO S00Z0S04
[seat Iepes puy sotTjoudAY] SOOCNOALET
eTUWOSUT Bu 00°Sz HQTYOTHOOUCAH ANIZVHLAWOUd ON ON ON -SOOcNNL60
[seutdezertyL
puy seutdezexg ‘seutdezetq] FONILNOO
Zeprostp I azetodta Bu o00°009 ELVaVWOdA ANIGVILENO ON ON ON -SOOCAYWTO ONISSIWN FOOcOSOa
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO 96% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771868
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8ELI

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[seutdezertyL
Aepicstp puy seutdezexo ‘seutdezetq] SOOZAONEO
“I aetodta fu 00°00z @LVaWWNd ANIGVILENO ON ON SHA  -SOOZAONEO
Aapiostp [SSATILATASq suTdezetpozueg] GOOZAON?T
“I azetodta Bu 00°0% WYaSZ¥Id ON ON SEA  -SOOZAONET
Iapiostp [SSATIPAT ABQ auTdezetpozuag] GOOZAONST
“I aeqtodtg Bu 00°02 WYdazZVId ON ON SaA -GOOCAONBT
[seutdezertyL
Jepicstp puy seutdezexo ‘seutdezetq]
“I zetodtg 6u 00°009 HLVaWWNA ANIdVILENS ON ON SHA
Aepiostp [S®eaATIeATASq SuOUSYdozAqng]
“IT zetodtg 6u 00° PT TOCINHdOTVH ON ON SaA
sepirostp [SSaTIeATAsq suTdezetpozusg] GOOZAONOT
“1 aetodta = Bm o0-ot WYdHZVId ON ON SHA  -SO00ZAONOT
Aaepiostp [SeaTIeATI9q SsuoUSYydorAqng] GOOZAONZT
“I zeTodtg Bu 0079 TOCIYHdOTVH ON ON SHA -SOOCAONCT
[seutdezetyL
Aapiostp puy seutdezexo ‘seutdezetq)
“IT zejtodtq Su 90°008 ALVEWWAd ANIGVILANG ON ON SHA
Aapiostp [SSATIeATI9q SuOUSYydorAjng] GOOZAONTT
“I aetodtg Bw 00°8 TJOCTISYXdOTVH ON ON Sada -GOOCAONTT
[seutTdezertyuL
TEpstOsTp puy soutdezexg ‘soutdezetq] s00cOaudsO 900 ZONTe? 900¢dHA9e
“I azeTodtg Bw 00°008 ALVaWWOA ANIdVILHYNO ON ON Sada -SOOZAONZZ + -9007EHHALZ -S007OHA90 TWA / dLO 40070S0H
Aapiostp [SeaTIeATASq ptow Aqleg] GOOZAON8T
“I zetodta 5wu oo°00s GIO¥ OIOWdT¥A ON SHA SEA -S00ZdESOE
[seutdezertyL
Aepizostp puy seutdezexg ‘seutdezeta] GOOZLOOVO GOOTLOO6T
“I zetodtg Bu 00°00z2 ELVYWWAA ANIGVILHNO ON ON SHA -GO00ZLSD0%70 -G00z215090 di5 10 900Z0S04
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT JO L6y abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771869
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6cLI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
Zepazcstp [seatqeatieq prow Aqjea] SOOZAONSO
“I zeTodtg 6w 00°00S QIOV OIOddTYA ON ON SaA -GOOZAONZO
Aepicstp [S@eaTIeATIeq SsuCUSYydorzAqng]
“I zetodta Bu 00°2z TOCTYXdOTVH ON ON SHA
Aepiostp [SeaTIeaTAsq suTdezetpozusg] GOOZAONLO
“IT zetodtg Su 00°07 WYddZVId ON ON SaA -GOOZAONLO
Aepicstp [Seat eatTAzeq euTdezetpozusg] GOOZAONETZ
“I zetodtg Bu 90°s WYddZvVId ON ON SHA -GOOZAONZTZ
[seweuq] SOOZAONLT
uotqedtasqo N’ ON TIOMHODATOD ON ON Sada -SOOZCAONLT
Aapiostp [SSaTIeATA98q SsuCUSYydorAqng] SOOZAON80
“I aeqtodtg Bw 00°OT TJOCIaYadOTVH ON ON SaA -GOOCAONYO
Isapiostp [SSaTIeATAsq suTdezetpozusg] GOOZAONZT
“I aeqtodtg Bw 00°05 WYdaZVId ON ON SaA - GOOTAON8O
[SEaATAeATAeq suoueYydozAyqng] SOOZAON80
Teprostp J] szeTodtg Bw 00°9T TOCIYHdOTVH ON ON SHA - SOO0ZAON80
[seutdezetyL
Aapiostp puy seutdezexo ‘seutdezetq) GOOZAON90
“I aeqtodtg Bu 00°0€ HNIGYZNVIO ON ON SaA -GO00ZAON90
Aeprlostp [SSeaTIeATASaq suTdezetpozuag] GOOZAONST
“I aeqtodtg Bw 00°SE WYdaZVId ON ON SaA - GOOTAONST
[seutdezertyL
Aepiostp puy seutdezexgo ‘seutdezetq] GOOZAON6O
“I aeqtodtg Bu 00°007 ELVaWWNA ANIdVILANS ON ON Sada -GOOZAON80
Aapiostp [Seat Iepses Puy sot OUdAY] GOOZAONST
“I aeqtodtg Bu 00°Sz HQTYOTHOOUCGAH ANIZVHLAWOUd ON ON SaA -GO00ZAONFO
[seutdezertyL
Zepazostp puy seutdezexo ‘seutdezetq] SOOTAON90 + 900ZDNYEZ Y00TEMAIT
“I zeTodtg Su 00°00T ELVYWWAA ANIGVILHNO ON ON SHA -SOOZAONSO -9007@H4L2 -S00ZDHd90 TWA / dLO 400720504
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT JO 86% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771870
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OrLI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
Aepszostp [SeaTIeATAeq suTdezetpozueg] SOOZAONTZ
“IT zetodtg Su 00°OT WYddZVId ON ON SaA -SOOZAONOZ
[seutdezetyL
Aepszostp puy seutdezexo ‘seutdezetq) GOOZAONTZ
“I aeqtodtg Bw 00°006 HLVYWWAA ANIGVILHNG ON ON SaA - GOOCAONE6T
Ieprostp [SeaTqeATIeq suTdezetpozusg] GOOZAON6T
“I aeqtodtg Bw 00°ST WYdaZVId ON ON SaA -GSOOTAONST
Aepazostp [SeaTIeATAeq suTdezetpozueg] GOOZAONLT
“IT zetodtg Bu 00°Sz WYddZVId ON ON SaA -GOOZAONYT
[seutdezetyL
Aepszostp puy seutdezexo ‘seutdezetaq] GOOZAON8T
“IT aetodtq 6wu oo0°o000T HLVYWWAA ANIGVILENS ON ON SaA -GOOCAONET
[seutwy AretqrEL] SOOZAONST
Aqipt6ta epTosny Bw 00°% NAHQTasadIad ON ON SaA - GOOTAONTT
Aepazostp [S8aTIeATAeq suCUeYdorAqng] GOOZAON60
“I zeTodtg Bw 00°8T TOCIYHdOTVH ON ON SHA - SOO0ZAON6O
Zepazcstp [seatqeatszed ptow Aq3ed] 9007AWWLZ
“I zejtodtq@ 6w 00°000T IOV OIOddTVA SHA SHA SHA -GOOZAON90
[SseutTdezeryL
puy seutdezexo ‘sautdezetq] SOOZAONSO
Zepiostp J azetodtg Bu 00°07 HNIGVZNVIO ON ON SaA -GOOTAONSO
[seutdezertyL
Aepszos tp puy seutdezexo ‘seutdezetq] SOOZAON®O
“I aeqtodtg Bu 00°00€ ELVaWWNA ANIdVILANS ON ON Sada -GOOZCAONYO
[seutTdezertyuL
Aepazostp puy seutdezexo ‘seutdezetq]
“I aetodtg Bw 00°OT HNIdVZNVIO ON ON SHA
[seutdezertyL
Zepazostp puy seutdezexg ‘seutdezetq]) SOOTAONYO + 900ZDNYtZ Y00TEMAIT
“I zeTodtg Bu oo°o0€ HNIGVZNVIO ON ON SHA -SOOZAONEO -9007GH4L2 -S00ZDEd90 TWA / dLO 400720504
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT JO 66% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771871
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Irdl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[UTeUD-SpTs oTqeudtT Ty
Aepiostp YAtM SeuTZzeTYyjOUSEY a] 900ZINLET
“I azejtodtg Bu 00°Sz ANIZVWOUGENOATI ON ON ON -900ZNNr0z
[seutdezertyL
Aepjzostp puy seutdezexg ‘seutdezetaq] SOOZAONTO
“I aejtodtg Bu 90°s ANIGWZN¥VIO ON ON SHA  -SOOZAONEO
[seutdazeryL
puy seutdezexg ‘seutdezetq] SOOZAONLO
ZJepiostp I zejtodtq@ bw o0o0°oo0E FLVAVWNA ANIGVILENO ON ON SHA  -SOOZAONLO
[seutdezetyL
Aepjzostp puy seutdezexo ‘seutdezeta] SOOZAON6O
“I zejodtq wu 00°oor ALVEWWAA ANIGVILENO ON ON SHA  -SOOZAON8O
[seutdezertyL
Aepszo0stp puy seutdezexg ‘seutdezetq] SOOZTAONSO
“I zejodta bw 00°00z FLVEVWNA ANIGVILENO ON ON SHA  -SOOZAONSO
Aepjzostp [SSeATIPATASq ptoy Aqqeg]
“I zejodtq 6wu 00°006 GIOV OIOWUGT¥A SHA SHA SHA
[UTeTd ‘septzetya]
wot sue qasdaAy Bu os°* zt HCIZWIHLOMOTHDOMGAH SHA SHR SHR
[sepTsoodTD stTeatotal
uotsueqiedAH = Bn “00° SZT NIXODIG SHA SHA SHA
[sacueisqns peqeTeay puy
SSATIEATISq PTOW OTISOV] ANNILNOD 900ZNN6T 900TAWNGT
sqtsorzyqzeucp =m 00° 00E WOIGOS OVNHAOIDIG SHA SHA SHA -MNQ -900ZHWWOE -SOOZAONOT TWA / 4L0 800Z0S0R
Iapiostp [seatqeatieq ptoy Aqjeg]) 900ZAHSTZ
“I zejTodtq Sw 00°000T GIOW OIOWGTVA SHA ON ON -900ZNOPTZ
Aepszostp [seatTqeatizeq ptoy Aqjeg] 900ZNNroz
“I aetTodtq 6wu o0°0s4L GIOV OIONdTWA SHA ON ON -900ZUYN8Z
[suotjerederg Teooreyo] GOOZTAONSZ 900ZDNYEt 9007EHAIT
esourzetd Bu 00°0zE CHLVAILOW ‘I¥ODUVHD ON ON SHA  -SOOZAONEZ -900ZEHALZ -S00ZDHAG90 TWA / 4LO L00Z0S0R
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans
NOILWOIGEHN CHZIWOGNVS ‘THav1 Nado

GITT FO 009 abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771872
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s97xdoy «GPF ET? LOOZHYNZO

ses’ ooTpew

crei

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[seutTdezeryL
Aaeprzostp puy seutdezexg ‘seutdsezetq] 900ZAYWBT
“I aeqtodtg Bu 00°007 HLVaWWNA ANIGVILHYNS ON ON ON -900TAdY6ET
[seatqeatTszeq prow Aqje,] 900CAVNBT
Zeprostp I zetodtq Sw o0°osot QIOV OIOddTVA SHA SAA ON -9007dEH480
[seatqeatszeq prow Aq3e,] 900cdHALO
I Jeprostp azejodtg 6m 00°006 CGIO¥ DICHMIVA ON SHA SHA -S00ZL00%0
[seutdezeryy
puy seutdezexo ‘seutdezetq] 900ZNVLOT
Iepiostp J azetodtg Bu 00°007 HLVYWWNA ANIdVILHYNS ON ON SaA -SO0O07TOHAdLZ
[sptotdo zeyI0]
STsomyqty n° HQATHOTHOONGAH 'IOGVWVWHL SHA SHA SaA
[STOVTQLYUI
eT asejonpey eop Buy]
weutej.ordodt [18edAyH Bu 00°02 NILWVLSVAWIS SHA SBA SHA
([uTzedeH * [Oxy SrOQTGQTYUL
STsoquozy uot eberbby 4eTeIeTd]
go AxeyAydorta 6wu 00°00T TOMSDATID SHA SHA SHA
[STOVES TTposen
Tersydtrzed 78yI0]
OBT IAEA Su 00°08 LOVaLXa VdO1TId ODUNID SHA SAA SaA
[SPTO1S4S -UON’ squeby
OTQeuNAaTA TIUy /WeTIUT TAY
Tayo]
STSsormyaty Bu 00°008 WONIGOS HLVAIOS NILIOWANOHD SHA SHA SHA
[S@ATIPATAEQ SUTzZezedTg]
Ase TTY Bu 00°0T HQTYOTHOOUCGAH HNIZIYILAD SHA SHA SHA
[squeby butrzedsg-umtsseqog
puy sotqeantq ButTtep-Mo7T] ANNIINOD 9007Hd¥8T  9007HaYO
uot sueqzsedAH Bu og" L.z HATYOTHOONGAH HCTHOTINY SHA SHA SHA -MNN -9007Hd¥SO -900ZNWCTT TWA / WId 60070904
[seutdezertyL
Aeprostp puy seutdezexo ‘seutdezetq] 900TINC6T  900ZNNPET  9007HYWET
“I aeqtodtg Su 00°005 ELVYWWAA ANIGVILHNO ON ON ON -900ZNOr0Z -900Z7HYNOE -SOOZAONOT TWA / dLO 800720504
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO TOS abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771873
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s97xdoy «GPF ET? LOOZHYNZO

erLi

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

Aepjzostp [SeATIeATASq ptoy Aqqeg]
“IT aetodtq Su o0o0°o00T GIOW OIOUdTVWA SHA SHA SHA
[SOT IeyAsSsuy
Teco] bututequep sqonporzg] 900CdHSTC
Sp TousztowoHy n° A HCIYOTHOOUCAH ANIVOOHONIO SHA SHA SHA -900CNWLET
[seutdezertyL
puy seutdezexo ‘seutdezetq] 9O00ZNYL9T
Zepriostp J azetodtg 6u 00°009 HLVaWWNA ANIGVILENS ON ON SHA -9007CNWLOT
Aepjzostp [SeATIeATASq ptoy Aqqeg]
“I aeqtodtg Bw 00°00S dIOW OIOUdTVA ON ON SHA
“TI [SPATIPATAEQ SpTwexogqireD] 9O0O0TNVETT
Jepiostp azertodta Su 00°00% HNIdaZvNVddyO ON ON SHA -9007NWI60
[suebo2z4sq
puy sueborpuetquy] 900¢dHST2Z
uot qdeserzquop no 0a ELVIGOW AHNOWXLOWTAD SHA SHA SHA -900cCNWCS0
Jepilostp [seatqeatTszeq prow Aqje,]
“I zeTodtg Bu oo0°OSL qdIOv OLOUdTVA ON ON SaA
JTapiostp [SeaTqepseg puy sotqouddAy]
“J aeptodtg Bu 90°Sz ACIAOTHOOUCAH YNIZVHLEWOUd ON ON SHA
Aepizostp [SOATICATA9G SptwexoqizeD] S9007CNYCZT
“I aeqtodtg Bw 00°00€ HNIdaZvNVddyO ON ON SHA -900CNWL2T
ATapiestp [S@eaTIeATIAQ aptTwexoqieD] SO0O0ZNYC FT
“J aeptodtg Bw 00°00T HNIGHZVNVddyO ON ON SHA - 900CNWIVT
Jepilostp [SeaATIeATANGq euTdEzZzeTpozueg] 900ZNYCTT
“I azeTodtg Bw 00°OT WidazvId ON ON SHA -900CNVITT
Aepso0stp [Seat eATAeq Sptwexogzep] S9O0O0CNYLET 900 CONES 900TAYWB8O
“I zeyTodtg Bu 00°002 ENIdagZvWWdadyO ON ON SHA -900ZNYTET -900ZAYN60 -900ZNYCLT TWA / dLO 0T070S0a
[s6nia
Aepsostp peqerTea eutdezetpozueg] 900TAYN8T 900Cadv8T 9007caAdV7vO
“I zeTodtg Bu 00°0T ELVALYYL WHAIdTOZ ON ON ON -900ZHdY6T -9007Hd¥SO -900ZNYCTT TWA / WId 6007205048
NOITIVOICGNI gS0q [NOILVOIMISSVIO NOILYOICHWN] da TO Worldd HLYd dOLs Hivd doLs aLVd dOLs LNEWLVaaL aqoo
WHaL OTHENHD NOILYOICESW NHMNVL NOILWOICHN -aLVd LAWLS -HLVd LavVLS -alvd Laws Loadrans
NOIIWOIGHN dHZINOCNVWA THdv1 Nado

GTTT JO z0G abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771874
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vrLl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

“I [SSATIPATASC suTdezetpozuedg] 900CHdTL~
Zeprzostp azertodtg Bw o0°€ WVIOZVAdTY SaA ON ON -900CAWNB Cc
[SSATIeATIEG
eutwe TAyTe [Auer] 9007THATLZ
uwoTsueqzedAH Bu 00°0rz TIWVGVaHA SHA Suk SHA -SOOcNNCTO
[seutdezeryy
puy seutdezexo ‘seutdezetq] SOOZDNYrO
Zeprzostp azertodtg Bw 00°00L HLVYWWNA ANIdVILHYNS ON ON SaA -SOOcNNCTO
(wn tyatT) 900cedTLe 900 CHVN8C SOOCLOOTE
Jaepiostp zeTodtg Su 00°009 HLVYNOGAYO WOIHLIT SHA SHA SaA -bOOZTHAYOE -SOOZAONTO -SOOzDNW~O IT / WId zo007v0S0a
STSOITA [SepTtT Tuy] 9007dH4A 97
Arojeizdseiz zeddq 6w 00°9000T IOWWZLHOWAYd SHA ON ON -9007EHHATZ
[st10qTqTYyUl eyeqdney
UTUOCJOASS SATIOSETES] SoozNor.z
uoyT sseideq Bu 0070s HCIYOTHIOUCAH HNITIVALYYS ON SaxA SHA -GOOCAWNIT?
[wntyatT] 90074HSTZ
tepiostp azertodta Bu 00°006 GLYNOGYYO WOIHLITI SHA SHA Sada -POOCdHSET
aaed
Tequnt sworzpuds [SeaTIeATAeq pToy oTuctdozg] 900ZdHSTZ
OTHTe Terzqe ye, n° 0 NHHOedNdI SHA SHA SaA - COOCNVITO
[seucwz0H PTorAyL] HANTINOD 9007TONTET SOO7TdHS6T
etyaedosrAyL Bu 00°0S WOIGOS HNIXOWAHLOAWI SHA SHA SHA -MNN -SOO@dHSOZ -SOO7HYWOE II / 4l6 Toov0soE
[sotadastquy
puy SeATIOSTJUTTIUY TEYI0] 900cdHATcO
STITUTBeA n° THLVUNAIN ON SaxA ON -900CNYWL PCS
[SeATIepes puy sotqoudAy]
Iepiostp J azetodtg Bu 90°Sz HQTAYOTHOONCAH YANIZVHIAWOUd ON ON SHA
ATeprz0stTp [Seat zeatszeq sutTdezetpozuseg] 900CNYCST 9007TONYTCC 9007TAYW8O
“I aeqtodtg Su 00°OT WYddZVId ON ON SHA -900ZNYfST -900ZAYN60 -900ZNWCLT TWA / dLO 0T0Z0S0
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO £06 abed

CONFIDENTIAL
AZSER12771875
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SPLI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SseuTdezertyuL
‘I puy seutdezexg ‘seutdezetq] SOOCAONOT 9007CAVNCO 900cedVTO
Jaepizostp zeTodta Su 00°00z ELVYWWOA ANIGVILENO ON Sax ON -GOOZAONOT -900Z7HdVEO -SOOZAONOT TWA / WId S0070S0a
[sotqoyoAsdtquy 7e7I0)] 900ZNNLTO
Zepiostp zejTodta Bw 00°F HNOGTHHdSsTaY SHA ON ON -900CAYWCO
[Seat eatszeqd pTow otuotdorzg] 900ZNYNST
Soe pesoH Bu 00°007 NHAOUdNAI SaA ON ON -9007TAYWST
(wn tyatT) 900cNNCTO 9007CAVNCO 900caVWI0
Jaepiostp zeTodtg Su 00°009 HLVYNOGAYO WOIHLIT SHA SHA SaA -SOOZNOPST -900Z7HYNLO -SOOZdHSET IT / WId vOOvOSON

[stoatqtyUul eyeqdney

“I UTUOJIOISS SATIOSTAES] 900zcTINr0z
Jepiostp rzeTodtg Su 0070s ANTIVALAAYS SAA ON ON -900ZNNLOZ
[Sa0qTqTYUL exHeqdney
“I UTUOICASS SATIDETIsS] SOOCAONOE
Zepiostp zeyTodta Bu 00°05 HCIYOTHOOUCAH ANITIVYLYES ON Sada SaA -gd0cONWL2
[Ssuowz0y ptoxrAyL] 900cINCOZ
etyqedoszAyL Sn 90°05 WNIGOS ANIXOWAHLOAST SHA SHA SaA -GOdO0cTONY9IT
[seutdezertyL
“I puy seutdezexg ‘seutdezetq] SOOCdHS9Z
Iapiostp azertodtg Bw 00°00T HLVaWWNA ANIdVILHNS ON ON Sada -GO0CONYIT
[S@ATIPAT IEG
STSOATA puy proy otTTAotTes] 900 TMIWNSZ
Azoyertdser azaddy Bw 00°008 CIDV OITADLTIVSTALHOY SHA ON ON -900CAWN
“I (wn tyatT) HANTINOD 900cTNNLO? 9007TEHANT
Jaepiostp rzeTodta Bu 00°006 HIVNOGYYO WOIHLITI SHA SHA SHA -MNN -9007@H4T2 -SOO07dHSLZ ITI / dLO £0070S0a

[Sa0qTqtTYyUl ayeqdney

UTUOIOISS SATIOSTSS] 900THdVLE 900 TAVN8C SOOZLOOTE
I Jeprlostp zeTodta Su 0070s ANTTIVALYAS SAA ON ON -900ZHWW8Z -SOOZAONTO -SOOzZDNWPO IT / WId zo00v0soa
NOT LYWO TANI gS0q [NOILVOIMISSVIO NOILYOICHWN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO ¥0G abed

CONFIDENTIAL
AZSER12771876
Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 55 of 90 PagelID 85911

9PLI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[S20ITQTYUL exyeadney

UTUOIOASS SATIOSTSES] 9O00THWNGET
Iepiostp szeTodtg Bw 00° 00T HQTHOTHOONCAH ANTTVALAXYS ON SHA SHA -900cCdEH440
[Sa04TqTYyUL sYHeQdnsey
UTUOIOASS SATIDETSsS] 900cCAWNO?
Zeprzostp azertodtg Bu 0070S HQTYOTHOONCAH ANIIVGLAYHS ON SaA ON -900CHYWOC
(wn tyatT] HONTINOS 900cDNYTO 900CNOCTT
Zeprzostp azertodtg Su 00°009 HLVNOddvO WOIHLIT SaA o4A SoA -MNN -900ZNOrZT -9007EHAST IT / WId 80070S04
(wn ty4tT) HONTLNOO 900cONT7TZ 900CAYW6Z
Iepiostp J azetodtg Bu 00°009 HLVNOddYO WAIHLIT SadA SHA Sada -MNN -900ZAYNOE -900ZGH4TO IT / dLO Lo0Pv0SOm
[seutdezetyL
puy seutdezexg ‘seutdezetaq]
Zeprostp I azejtodta Bu 00°00F BLVYWWAA ANIGVILYNS SA ON ON
[St0qTQqTYUL SeHeqQdney
UTUOICASS SATIDETIsS] 900cCNNLOT
Zepzostp I azejtodta Bu 00°07 HQTIWOWdOedAH WVYEdOTVLIO SHA ON ON -900CAYWTT
[St0qTqTYyUL eyeqdney
uTUCIeAss SATIOSTSES] 9O00TNWL9T
Zeprostp I azetodtad Bu oo°o€ HQATIWOedCedAH WVedOTYLIO ON SHA SHA -S00CLS0¢cT
[seatqeatszeq prow AqIe¥g] HONILNOD 900ZAVWTT 900ZHdVOT
Iepiostp J tetodtgq 6w 00°00sT QIOV OIOddITVA SHA SHA Sada -MNN -900ZHUd¥YTIT -SOOZOHdST TWA / W1d 90070504
[seutdezertyL
“I puy seutdezexg ‘seutdezetaq] SOOZAON6O
Iapiostp zeTtodtg Bu 00°009 BLVYWWOA ANIGVILINS ON ON Sada -SOOCAONTO
“I [SeATIeATASd ptoy Aaqeg] S900cCNNCTO
Zeprzostp aetodt@q 6wu 00°000T (IOV OIOUdTVA SHA SHA SaA -SO0O0CAYWTO
[seutdezertyL
“I puy seutdezexg ‘seutdezeta] 900CNNCTO 900CAYNZO 900cadTcO
Iepiostp szejtodtg Bu 00°00F ELVaWWOA ANIGVILANO SHA ON ON -900ZAWNZO -900ZHdVEO0 -SOOZAONOT TWA / W1d SOO0POSOR
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO GOS abed

CONFIDENTIAL
AZSER12771877
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LtLI

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SSATICATAaq sUuTdezetpozueg] SOOZHYNSZ
Aqetxuy Bu 00°0T WYdazZVId ON Sada ON -GOOCAWNT
[SeaTIeATAeq suTdezetpozusg] SOOZMYNTZ
Aqetxuy Bu 90°02 WYdaZVId ON SaA ON -SOOTAYNBT
[seutdezertyL
puy seutdezexg ‘seutdezetaq] SOOCHWWLT
I teprostp zetodtg Bw 00°00L ELVYWWNA ANIdVILaNS ON ON Sada -SOOCNYD FT
I [seat qeATzeq ptow Aqqeg] 900THESEZ
Zepiostp azetodtgq S6w 00°00sT QIOV OIONdTVA SHA SaA SaA -GOOCNYCET
[Seat zeatteq eutdezetpozusg] SOOCHYNLT 900 ZONYPZ SOOCINE Le
Aqetxuy Bu 90°52 WYdaZVId ON ON SaA -SOOTNWTET -SO00ZINISZ -SOO7HYWST TWA / dLS To00S0S0u
[StoqTqTYyUI eyeqdney
I UTUOIOATSS SATIOSeTEsS] 9O00TMUNGEZ
Zepiostp azeyTodta 6u 00° 00T HCIAOTHOOUCAH ANITIVYLYAS ON Sada SaA -900THHAET
[s20qTqTYyUl exeqdney
UTUOIOTSS SATIOSTSS] 900THYNOE
I tepiostp azejTodtg Bu 00°05 HCIXOTHOONCAH ANITIVALYYS ON Sada ON -900CAYNOE
[sto0aTqTyUl eyeqdney
“I UTUOJOASS SATIoSETEsS] 9007EHATZ
Jepiostp zeylodtg Bw 00°05 HCTSOTHOONCGAH HNITIVALYYS ON ON SHA -9007EH40T
“I [wn tyatT)
Jeprzostp azertodta Bu 00°006 HLIVNOGYYO WOIHLITI SHA SHA SHA
[ssuowz0H ptozAyy] HANTLINOD 900 ZONTe? 900cNNL9
stsoerAyqodAy 6n 00°00T WNIGOS YNIXOWAHLOAMT SHA SHA Sada -MNN =-900ZNNLZ -9007HYWLO IT / dS 0l0rv0soe
[sto0aTqTyUl eyeqdney
UTUOIOASS SATIOSETES] Q00ZDNYTE
Tepiostp I zeyTodtg Bu 00° 00T HCISOTHOONGAH HNITIVALYYS SA ON ON -900ZDNV¥TO
[SeaTzeatseq ptoy otuotdozg] 900cNNCST 900 7ONYTO 900CNNETT
SUSePeoH Bu 00°004% NHAOWdNaI Sax ON ON -900ZNOrST -900ZNOZT -900ZGH4ST IT / WId 80070S04
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 906 abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771878
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8PLI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[wnty3tT] 900THaYET
I tepiostp aejodtq bw 00°00€ HLVNOGUYO WOIHLII ON SHA ON -900CHGWET
[St0qTqTYyUL eYyeqdnsey
°“T UTUCIOLSS BSATIOSTSS] 9007TAdVLZ
Jepiostp azertodta Bu 00°0T HCIWOMGOUGAH WYHdOTVLID ON SHA ON -900ZHYWOE
(wntyatT] 9007HdVCT
aepiostp azetodt@ 6m 00°009 HLVNOGUYO WOIHLII ON SHA ON -900ZHYWOE
[Sseuouz0H pTozrAyL] 9007dHS9T
stTsoorAy 0dAy Bu 0070S WOIGOS HNIXOWAHLOANI SHA SHA SHA -900CEHAET
[ST0qTqTYyUL seyeqdney
“Tt UTUOIOASS SATIDETSS] 900TAWN6Z
Iepiostp szeTodtg Bu 00°0z HCIWOMGOUGAH WYHdOTVLID ON SHA SHA -900ZHHAGO
[sesucwZ0H pPtTorAyL] 900CEHHACT
stsoatAyq0dAy Bu 00°Sz WOIGOS BNIXOMAHLOASI ON ON SHA -9007EH460
[seutTdezertyuL
puy soeutdezexg ‘soutdezetq] 900CAWNTO
I tepzostp azetodt@ Sw 00°008 HLVUWWOA ANIGVILHNO ON ON SHA -9007EHAEO
[seutdezetyL
“I puy seutdezexo ‘seutdezeta] 9007d4e4z20
Zeprzostp aetodt@q 6wu 00°000T ALVUWWAA ANIGVILENO ON ON SHA -900ZNYP6T
[Sr0qTQqTYyUL ayeqdney
“TT UTUOIOLSS BATIOSE TES] 9007TEdHA80
Iepiostp szejTodtg Bu 00°OT HCIWOUGOUGAH WYHGOIVLID ON ON SHA -S0O0ZDHAOZ
“I (Wnty aty] 900CHYNEC
Iaepiostp zeqtodtq 6wu 00°006 HLWNOGUYO WOIHLIIT ON SHA SHA -SOOZOECZT
“I [seataeatszeqd prow Aqqeg] 900ZaHS9T
Zeprzostp aetodt@ 6wu 00°00ST GIOW OIOWUGTVA SHA SHA SHA -SOOZAONOE
[seutdezertyL
“I puy seutdezexgo ‘seutdezetq] 9O00CNWE8T 200ZDN¥LT 900TINLET
Jepzostp azetodta Sw 00°00zT RLVAVWAA ANIGVILENO ON ON SHA -SOOZAONLZ -900ZINCOZ -900ZHYWZO TWA / Wid z00S0S0R
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans
NOILWOIGEHN CHZIWOGNVS ‘THav1 Nado

GITT FO LOS abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771879
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Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

orl

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[SeATIeATASq ptoy Aqqeg] 9007dHSET
Teprostp I azetodtq bw o0°000T qdIOv OLOUdTVA ON ON ON -900¢dHSTO
Jepizostp
I azeTodtq Jo [SeaTIeATAeq suTdezetTpozuag] 9007d4HS90
quUSAS poow STUPH Bu os°T WVdHZVYNOID ON ON ON -900cONWOE
[seatqeatszeq prow Aq3e,] 900TONWTE
Ieprostp J azetodtg Bu 00°009 qaIOW O1OddTVA ON ON ON -9007ZONYOE
Jepizostp
I azeTodtq Jo [S@aTIeATAaq SsuctaydorAjng]
qUeAS poow STUeH Bw 00's TJOQIaadOTVH ON ON ON
Jepizostp
I azeTodtq Jo [SSATIeATAEq SsuTdezetTpozusg] 9007ZDNVYOE
quUSAS poow STUPH Bu 00°0T WYdHZVId ON ON ON - 900cONW6Z
[SSaTIeATAeq SsuTdezetpozusg] 9007TONV6Z
AqeTxXuy n°’ na WYddZVXO ON ON ON -9007ONWBS
[SseutTdezeryuL
puy seutdezexo ‘seutdezetq] 9007dES FZ
Teprostp J azertodtg Bu 00°00% HLVavVWnd ANIGVILENS ON ON ON -900cOnwSe
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900cCDNVrZ
Iepiostp I zetodtg Bu 00°002 HLVavWnd ANIGVILHNG Sea ON ON -9007ZONWVE
[seatqeatszeqd ptoy Aqjeg] 9007TONW6Z
I teprostp zeTodtg bw 00° o00T QIOW OIOUdTWA SHA SHA Sada -G00¢dHS20
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900CNVCST 900cONV7e Q9O00TAVWLT
I Jepiostp zeTodtgd Bu 00°00F% HIVaWWna ANIGVILYNS ON ON SaA -SOOTGHSZO -S900ZAYNST -9007NYL97 TWA / WId £00S0S0H
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900cTdHS9T 900CONVLT 900cT INST
Teprostp I szeTodta Bu 00°00F HLVYWWNA ANIGVILYNO SA ON ON -900ZDNYLT -900ZIN©OZ -9007HYWZO0 TWA / W1d 200909508
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GITT FO g0¢ abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771880
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s97xdoy «GPF ET? LOOZHYNZO

OSLI

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[souspuedeq
SUTIOOTN UI pesg sbnaq] soozimnezt
uotssezdeq Bu 00°OST HQCITHYOTHDOYNGAH NOIdOudnd ON ON SHA -YNOA
(wn tyatT] HONTLNOO 9007CAVNGT 900CNYVP6Z
aseestp azejlodtg Bu 00°006 HLYNOddvO WOIHLITI SHA SHA SHA -INQ -900ZNWrOe -sSOoOzINr6ét IT / dLO 20090509
[seatqeatszeq prow Aqqeg] MINA
Jepzostp azetodtq Bw 00‘o00T WAIdOS HLVONdTVA ON Sada ON -soocInrct
wnases UT
UOTICAAUSOUGS MOT [seatTleatiseq prow Aqqeg] soociInrct soocinrsd
Zepiostp szetodtg Su 00°008 WNIdOS HLVYONdIVA ON Sada ON -SOO0cHdYSc -SO00cHdVST dL 10 10090908
[seutdezetyL
puy seutdezexo ‘seutdezeta]
Zepiostp I azejtodtg Bu 00°005 ELVaWNOdA ANIGVILANS oN ON ON
Aepzostp
I aeTodtq jo [SeaTqeATIeq suTdezetpozusg] FONLLNOOD
queAS poow STUPW Bu oo-€ WYd4ZYNOTID ON ON ON -9007dHS92
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900¢dHSS9z
Iapiostp J azeqodtg Bu 00°009 BLVYWWOd ANIGVILYNS oN ON ON -900¢dHSS2
Aepzostp
I azetTodtq jo [SeaTIeATAeq suTdezetTpozueg] 9007dESSZ
qUuesAS poow oO TUePW Bu 007s WYddZYNOID ON ON ON -900¢dHS56T
Jepazostp
I azetodtq jo [S®aATIwATA9G sUTdEzeTpozuseg] 900TdHSET
USA poow OTUPY Bu 90°OT WvdazZvId ON ON ON -900¢dHSEeT
Jeprostp
I azejTodtq Fo [Seat eAtTszeq sutTdezetpozueg] 900cTdHS8T 9007cONTIVC 900TAYWLT
qUSAS POOwW OTUPH Bu 00°9 WYd4HZYNOID ON ON ON -900ZdHSL0 -900ZAVW8T -900ZNYC9Z TWA / Wild €00S50S0R
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO 606 abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771881
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ISZT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SepTTtuy] 900cHdv8o
PTOS UOWWOD Bu 00°0S2 TOWWLHOWEYd SHA ON ON -9007HdVz0
[SeATIeATASd ptoy Aaqeg] SOOCTAVNITE
eseostp I aetodtq 6w 00°000T CIOV OIOCUdTVA SHA SHA ON -SO00ZLOO6T
uo erQUSDUeS YETY [seatqeatszeq prow Aqje,] GOOZLOOST
aseestTp I azeqodtg Bu 00°008 CIOv OICddTVA ON SaA ON -soocTonarac
[suoTjeuTquoD ‘sejeangtqieg) SsoocINréet
eeTeyded Bu 00°0£ SCIOTWITY VNNOGYTISd ON ON SHA -soozcToarst
eseesTp I zerTodtq
uo TI eA IUSsOUCD [seatqeatszeq prow Aqqjeg] soozinrez
ySTH bw 00°000T dIOV OIOUdTVA ON ON SHA -so0cIOrtt
[s6naq
peqeteya eutdezetpozueg]
eTuWwoOsUrl Bu 00°0T WHAIdTOZ ON ON SHA
[squesseizdeptquy 721740]
aseestTp J azejtodtg Bu 00° OST HAITYOTHOONCAH HNIXVAVINHA ON ON SEA
[squesseideptquy 181740]
aseestp I azetodtg Bw os" Le ANILGHNVIL ON ON SHA
[SeaTqeaTieq eutTdezetpozueg] SsoozINcé6ét 9OOZAYWNTO SOO0cONaCT
eTUWOSsUy Bu os's WYIOZVCIN ON ON SHA -SOOZINCTT -SO0O0ZDEaGeET -so0zINTee TWA / WId €00909508

(UTeuD-spts oTqeydt Ty
UATM SSUTZeTYQOUSY_]

eseostp azetodtg Bw 00°05 HNIZVNOUdHWOART ON ON ON
[SSaTJeATAeq SsuTdezetTpozueg] 9O00CNOL PT
aseastp aetodtg Bu 0072 WYdHZYNOID ON ON ON -9007ZAWNZE
[SSATILATASq Susy AUeXoTYyL]) 9O00ZAYNZZ
eseostp azetodtg Bw 00°05 GIVLEOV TOXTIHLNAdOTONZ ON ON ON -9007CAWNE
[seutdezertyL
puy seutdezexg ‘seutdezetq] sooc Incest 9O0O0CAVNST 900CNVL67
eseestp azelodtg Bw 00°00€ ELVaWWNA ANIdVILYNO ON ON SaA -YOOZAONZZ -900ZN¥rTOf -SOO0zINTé6éT IT / dLO 20090508
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO OTS abed

CONFIDENTIAL
AZSER12771882
cSLI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[UTeUD-SpTs oTqeudtT Ty

CONFIDENTIAL
AZSER12771883

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ATM seutzetyjoustd_]) S900CNYI8T
aseestp “I zeTodtg Bw 00°sz ENIZVNOAdHWOART ON ON SHA -AIN‘
[SeaATIeATASG eUuTdEzeTpozueg] 900CNVL8T
eseestp “I azejtodtg Bw 00°T WYIOZVadTY ON ON SHA -SO0ZOeaCTO
[seatqeatszeq proy Aq jeg] AONTLNOO 900 CNN 97 9O0O0TAYNST
aseestp “I zeTodtq 5u oo°o000T GIOW OIONdTVWA SHA SHA SHA -MNQ -900ZKYWWLT -900ZNWLS7T TWA / Wid 90090508
[seatqeatszeq prow Aqje,] 9007¢dHSL72
aseestp azetodtq 6w 00° 000T QIOW OIONdTVA SHA SHA SHA -SOOCcNYCTO
[Sseptwezueg]) sooconvco 900 cONW8c SOOCOHAT?
eseestp Azelodtg Bu 00°007% HQTHdINsSIWy ON ON SHA -SOOZNYPTO -SOOZOHaZZ -sSo0zDNV6O TWA / dLO S0090S0H
[SeATIeATASd ptoy Aaqeg] 900CdHSLE
eseestp azaetodta 6w 00°000T GIOW OIONdTVA SHA SHA SHA -soocTarde
[sotade,tdetquy 781740]
easeestp azetodtg Bu 007002 EHNIDIALONVI ON ON SHA
[St01TQTYUL SsYyeqdney
UTUOIOISH SATIOSTSS
aseestp rzeTodtg Bw 00°02 OHNILAXONITA ON ON SHA
[SeaTqeATAeq suTdazetTpozuag]
easeestp azetodtg Bu os" T WYdaZYNOID ON ON SHA
woipuds [seutwy AzetTq198L) soozinrgc 900 cONT8Z SOO0COHd6T
TeptwesrAderqxg Bu oo°T NHCTaadIad ON ON SHA -soozinezo -S00zDHa0z -so0zDNnWzO TWA / WId 70090508
[squesseizdeptquy 781740]
eseesTp I Azejtodtg Bu 00°OST HCIYOTHOOUCAH FNIXVAVINHA ON ON ON
[(UpeYyo-Septs oTaeudt iy
YIIM SeUuTZzeTyQouSeld])
aseestp I azetodtg Bu 00°05 ENIZWWONdHWOANT ON ON ON
[Seat eatieq suTdezetpozuseg]) S900TAYNITE 900 CAVNITO S00 CONCTT
eseestp I Azejtodtgd Bu 00°2 WYdHZYNOID ON ON ON -9O00ZAYVNZO -SOOZDHGET -SO00z7IN©geZ TWA / WId £0090S0H
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans
NOILYOICHW CeZIWOGNYA ‘Idav1I Nado

GTTT JO TTS abed

SUOTIEO TPA

6-OT° 2°21 Butasty
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Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

esLi

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[seutTdezeryL
puy seutdezexg ‘seutdezetq] VOOCOHABS 900cDNYLZ SOO0ZUYNBZ
Zepiostp J azeqodtg Bu 90°008 ELVaWNod ANIGVILANG oN ON SaA -POOTAONZTZ -SOOZUYN6Z -POOZTONAG6Z TWA / Wid T0060S0H
[SPTO1845-UON‘ squeby
OT} euMayATAUY /WeT FUT TIUYy
29430] 9007TAYWOT
STSOAAAeUOD 5u 00°008 WOIdGOS HLVAINS NILIOWGNOHD SHA ON ON -SOO0cOHATO
[SepTtTtuy] SOOCcTION’ 8
svatbudAzeud TeatA 6w 00°000T TOWWLHOWHYd SHA ON ON -SOOZ7TIALPZ
[SOATIPATIEC
puy ploy oTTAotTes] SOOcdHABC
STITUTya n° nA HNTHHaHITANYHd ON Sada ON -SOO0cEHHAZZ
Ssyoepesy [S®aATIeATAEG PToOY otTuctdozg] SOOZTMYWN6Z
que 44 Ture ut n° an NHAOWdNaI SHA SHA ON -SOOCNYLO~
[SseutTdezeryuL
puy seutdezexo ‘seutdezetq] PO07ZOEd90
Zepiostp I zeptodtg Bu 007007 ELVaWNOdA ANIGVILANG ON ON SHA -yoocdHasTto
[untyaty]) HONTLINOS 900 cONY8C SOOCUYNTZ
eprlostp I azeTodta Sw 00-006 WAIHLI SHA SHA SA -MNQ -SOOZHYNZZ -7007OHGLO IT / Wid ToOs0som
[UteuD-Sspts ofaeydtT iy
UIIM seuTZzetyqouseyd]
aseestp “I azetodtg Bu 90°05 ANIZWWOUGEWOATI ON ON ON
[Sr04TQTYyUL Sayeqdney
SUTWPBOUCW SAT qoeTes-uoN]
aseostp “I azelodtg Bu 00°Sz NIddInsod ON ON ON
[Sa0qTQTYUL eHeqdnsey
uTUOJOASS SATIOSETES
aspasTp "I azeTodtg Bu 00°0Z HCIWOUGOUGAH WYHGOIVLID ON ON ON
[Seat IeaTzeq SsuTdezetpozuseg] goociInret  900CNNr9t Y%00ZAVW9T
aseostp “I azelodtg Bu os’t WYIOZWHdTY ON ON ON -9O00ZNOPLZ -900ZAYWLT -900ZNYCSGZ TWA / Wid 90090508
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dorldd aLVd dOLs HLvd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

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SUOTIEO TPA

6-OT° 2°21 Butasty

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] SOOZAON60
Tepilostp I zertodtg Bu 00°0z2 HNIdVZNVIO ON ON SHA -SOO0C.LOOTT
[SSATIEAT AEG suTdezetpozuag] SOOZAONST
Tepzostp I azejtodtg Bu os’? WYd4HZYWOUd ON ON SHA -GO00c.LD090
[Sto 4TQTYyUT eYyeqQdnsey
UTUOIOLSS BATIOS TES] SOOZLOOOT
Iepiostp J azetodtg Su 00°00T HQTSOTHOOUGAH ANIIVaLaHS ON ON SaA -SO007LO090
[seutdezetyL
puy seutdezexg ‘seutdezetaq] SOOZAONOE
iepiostp J azeptodtg Bu 00°00r7 BLVYWWOd ANIGVILYNS ON ON SHA -SOOCAONTO
[sotqoyoAsdtquy 7830) SOOZLOOTT
Zeprlostp I zeptodtg Bu 00°? HNOCIHsxdsSIa ON ON SaA -S00cLO0L0
swo duds [sueborisq puy susborzpuy] ANNIINOD 900Z2DN¥8z 9007GHAET
Tesnedousp non HLIVYALNAOSI ANOWALSOLSHL SaA SHA SaA -MINQ -9007EE472 -GO007TONATO TwA / GLO €0060508
[SSeATIPATASq ptoy Aqqeg] 900Z2dHSL72
iepiostp J azeptodtg Bu 00°006 CIOW OLIOUdTVA SHA SHA SHA -%OO0coOeAaSO
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] S00¢d4a480
Zeprostp I azeTtodtg Su 00°009 ELVYWWOA ANIGVILHNOS ON ON SHA -Po0couasO
[squeby Butyootg eqeg]
ewooneTS Bn 09° €Lz2 TIIOIOWIL SHA SHA SHA
[S2OATQTYUL
aseqonpey eop Buy]
etusep tdt Trsdéy Bu 00°0T NILVLSVAWIS SHA SHA SHA
[sastuoby
toqdesey SsuT[oOzeptut] HONTLNOD 9007DNV8z SOOCAYN8O
uot sueqzedAy Bu 00°T GNIGINAYWIIY SHA SHA SHA -MINQ -SOOZAVN60 -S00zZadH460 TWA / dLO 20060509
[seatjeatszeq ptoy Aqjeg] 9007TdHS9T 9007ONTLE SOOCAVNBC
Zeprostp I zejtodt@ Sw o00°o0stT (IOV OIOddTVA SHA SHA SHA -VOOZAONZZ -SOOZHWW6Z -POOZDHA6Z TWA / Wild To0060S0a
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dorldd aLVd dOLs HLvd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

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SUOTIEO TPA

6-OT° 2°21 Butasty
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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seatqeatszeq prow Aqje4]

Zepiostp aetodtq Sw 00°00sT QIOV OIOddTVA SHA SAA SaA
[STOVeSTTposen
queuztedut Tequew Tezeydtzeg 7eYyI0]
FO WOTIUSAST, Su 00°00z2 HLVIVXO TAMNHONCILAYN SHA SHA SHA

[SATIOSTEeS-UON
‘squeby butyoota eleq]

uot sueqredAq Bw 00°OT TIOIONVNGILEN SHA SHA SHA
[uTeTq@ ‘septweuosTns]
wot sueqazedéy Bu os" Z HCINWGVINI SHA SHA SHA
[seutwy AzetqzeL]) HONTINOOS SOO cCAONTT sooconvec
AOWSAL Bu 00°Z NAHCTHddId SHA SHA SHA -MINQ -SOOZDNVPZ -SOOZAVWZT TWA / WId ZO00TSOF
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq]
Jepiostp rzeTodtg Bu 00°00F BLVAVWNA ANIGVILANO SHA ON ON
[SSaTIeATAEq suTdezetpozuseg] 9007CEHAZZ
Zeprzostp azeptodtg Bu gz-o WYIOZVUdTY SaA ON ON -900CNYL ET
[s6nad
pe .eley esutdezetpozueg] 900ZNVLET
eTUWOSUT n° na WHdId1IOZ SHA ON ON -SO00cOHdES?
eoTuoryo [sesuowz0H pTorAYL] 9007EHAZZ
stTatptosezAuL Bn 09°2T WONIGOS HNIXOWAHLOAWI SoA ON ON ~S00coOxed0c
eoTueryo [seuowz0yH ptoxrAyL] GSOOZOYA6T
STatpToszAuL Bn 90°Sz WNIGOS HNIXOWAHLOAWI SHA SHA SaA -SO0O0TAAY IT
[seatqeatszeq prow Aqje,] 900¢deA cc
Jeprostp azetodta Sw oo 000T (IDV OIOdd IVA SHA SHA SHA -SOO0CHHASC
[seutdezetyL
puy seutdezexo ‘seutdezetad) sooconvoe 900CNYLET SOOCAONEZ
Teprostp azetodtg Su 00°008 ELVUWNOA ANIGVILHNG ON ON SaA -SOO7TGHASZ -SOOZAON?Z -SOOZDNWTE TWA / W1d TOOOTSON
[seataeatszseq prow Aq eg] 900CdHSLeE 900 CONV8C 900CHHAET
Zeprostp I zeqtodt@ Sw 00°os2zt (IOV OIOddTVA SHA SHA SHA -SOOZLOOTT -900ZGE4~Z -SO0ZDHACTO TWA / ALO €0060S08
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[squeby
Butqoy AT TerquEeD 7euyI0]
yoeq Fo uted Bu 00°7 HOISCOITHOIODOIHL ON SaA ON
[SWEDTXO] SOOcNNL9T
yoeq Jo uted Bu o0°0z WYOTXOdId ON SHA ON -SOOCNOPET
[squeby
butqoy ATTerquep 7SYyI0]
yoeq Fo uted Su 00°77 HCISCOTHOIODOIHL ON DaA ON
[SWEDTXO] soocnnreo
yoeq Fo uTed Bu 00°02 WYOIXKOWId ON SaA ON -SOOcNNL90
[sptotdo zeyI0] SOOZAON60
yoeq Fo ured Su 0070s HQTHOTHOOUCGAH 'IOGVWWAL SHA SHA ON -SOOcNn’ZO
[seoueqsqns peqeTey puy
SOATIPATI9Q PTOV OTIS80V]) SOOCAONTO
yoeq Fo ured Bu 00°00T WhIdOS OVNHAOTIOIG SYA SHA Sada -SOOCAWNEO
[saqusby
butqoy ATTerzquep 7yI0] soozinr6o
yoeq Jo uted Su 0070S WVdHZVaLHL ON SHA SHA -SOOZAWWEO
[Sa0qTQqTYUL exHeqdney
UTUOICASS SATIDETSsS] soocNnnrto
uot sseideq Bu 0070S HQTYOTHOOUGAH ANITVALYHS ON SaA SHA -SOO0cudTTT
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZAWNTT
Jepiostp zeTtodta Bu 00°00z2 BLVYWWOA ANIGVILENG ON ON SHA -SOOCAYWLT
[Sep twy]
aeuy 4YybTA - uteg Bu 007s HQTAOTHOOUGAH HNIVOEUWIYL SaA ON ON
[SPTOo2TAAODeaNTAN] SOOCAONOT
aeuy AYHTA - uted Bu 00°? SNOSVHLEAWYXEYAd SHA ON ON -SOOCAONOT
[SepTtwy]
wie 4ybTr - uted Bu oo7s HQTAOTHSOOUGAH HNIVOEUWIYL SHA ON ON
[SpTootqzz0000NTO] SOOcdHSTZ SOO CAON?TT sooconwvec
wre qy6Tr - uted Bu 00°00z2 HoOVLEOY HNOIOSINGHYdTIAHLYN SHA ON ON -SOOZdHSTZ -SOOZDNVPZ -SOOZAVWZT TWA / W1d ZO00TSOF
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL ddoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado
SUOTISOTPaW 6-OT'2°2T Sutastq
GTTT JO STS ebeg

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s97xdoy «GPF ET? LOOZHYNZO

(weqsAg TeqeTeXS-oTNosnw

LSLI

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

Butusesiom euc JO Sta 1204 sBnaq 7840] soozinrzz
syoe seu n° na CIOVW OINOUNTVAH ON SaA ON -SOOCNOCLT
([uTzedsH * [OXY STOATGQTYUI
uot ebeszbby 4eTS4eTa] 9007dHSEZ
uot eTNbeo0s Tuy Bw 00° 00T GIOV OTTAOITVSTIALHOY SHA SHA ON -SOOCAYNISZ
[seatjeatszeq ptoy Aj jeg] 900TdHSEC
Zepiostp zeTodtq 6w oo°o0sT (IOV OIOddTVA SHA SHA SHA -SO0O0caHATO
[seutdezeryy
puy seutdezexo ‘seutdezetq] SOOZAWNST
tepiostp zejodtg Bu 00°007 ELVYWNOA ANIGVILANS ON ON SoA -SOO0CHHATO
[SS8ATQPATISG TOUL
WT rTdoy eUTAL/SepTweuoz{[ns
FO qwuoD] 900CEHHA0
PTO. ToWwWo) Bu 00°096 HIOZVXOHLANVAINS SaA ON ON -900CEHHAET
[AdezeyL SuTpoT] HONTLINOS 900cONVrC Ssoo0convL0
ustptorAy odAy 6n 08° OET HCIGOI WNISSWLOd SHA SHA SHA -MNN -SO0OZDNY80 -SOOZAVW6T TWA / dLO €000TSON
[seutTdezertyuL
puy seutdezexg ‘soutdezetq]
Zeprostp I azeTtodtg Su 00°00z2 ELVYWWOA ANIGVILAAS ON ON ON
[sptozeqg-uon’ squeby
OT JeUNSysTAUY /WweT UT TAUy
T9310) SOO0cOHeavT
eeuy 3YGTA - uteg Bu 00°00z2 HaTINSAWIN ON ON ON -SO0O0CAONST
[sweotxo]
wie 4y6tr - uted Bu 90°02 XHCVLEd WYOIXOWId SHA ON ON
[swedTtxo]
wie 4y6tt - uted Bu 90°ST WYOIXOTHN SHA ON ON
[eso
Teotdo] 10g sptorzsqg-uoN
‘sdezq weTjuttquy] SOOCAONTO SOO CAON?TT sooconwvec
wre qy6Tr - uted n° na OVNEHAOIDIG SHA ON ON -SOOZdHSTZ -SOOZDNVPZ -SOOZAVWZT TWA / W1d ZO00TSOF
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado
SUOTISOTPaW 6-OT'2°2T Sutastq
GTTT JO 91S ebea

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seutdezetyL
puy seutdezexg ‘seutdezetad] SO0cONd9z 900ZONYZ0 900cNNLET
Teprostp J azertodtg Bw 00°008 HLVYWWNA ANIdVILaNS ON ON Sada -soozcinréz -900Z2NNr0Z -S00ZDHdL2 TWA / W1d E00TTSON
[seatqeatTszeq prow Aqje,]
Zeprostp I zetodtq Sw o00°o00T GIOV OIOedTYA ON ON ON
[seutdezertyL
puy seutdezexo ‘seutdezetq] AONTLNOO
Zepriostp J azetodtg 6u 00°009 HLVaWWNA ANIGVILENS ON ON ON -GOOZAONLO ONISSIW ZOOTTSO
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOO0ZAYN9Z
Zeprostp I azetodtad Bu 00°0z HNIGVZNVIO ON ON ON -900CHdTLE
[SeATIeATASq ptoy Aqqeg] 900CAVNIOZ
Ieprostp J azetodtgq 6w oo*o00SsT QIOW OIONdTVA SHA Sada ON -S00¢dHSL0
[SeaTIeaAtseqd ptow Aqqeg]
Zeprostp J azetodtgq 6w oo0*o000T qdIOV OIOUdTVA ON ON SaA
[SeutTdezeryL
puy seutdezexg ‘soutdezetq] SOO0¢dHS90 900 7HdY97 S00ZOHNaTO
Teprostp J azertodtg Bw 00°007 HLVYWWNA ANIGVILHYNS ON ON SaA -SOOTNMFTO -S00ZDHAZO -S007dHSLO TWA / W1d TOOTTSON
[seatqeaAtzeq ptoy Aqjed]) 9007CdHS7T
Iapiostp J zetodtg Bw 00°0SL QIOW OIOddTVA SHA Sada Sada -GOO0COHAST
[seutTdezertyuL
Jepilostp puy seutdezexg ‘soutdezetq] SOOZONaBT
“I aeptodtg Bu 00° 007 ALVaWWOA ANIdVILHYNO ON ON Sada -GOO0CONWE Zc
[seataeatszseq prow Aq eg] SOO0cCOearT 900 7ONYST 9007TAYWIT
Iepiostp J zetodtg Bu 00°005 qIOW OIOddTYA ON ON SHA -SOOZDAYPZ -9007ZHYNLZ -SOOZDEd6T TWA / dLO yoOoOTSO
[ssouPqsqns pe eTey puy
SSATIPATARQ PTOY OTIS0y] 900c IN’ Tc 9007TONYVC So0cONVLO
eTbTesiz0d Bu oo°SL WAIGOS OVNHAOIDIG SHA ON ON -900ZTNFTT -SO0OZDNY80 -SOOZAYW6T TWA / dLO f000TSOR
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado
SUOTIEOTPAN 6-OT'2°2T Butastq
STIT JO LTS abe

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s97xdoy «GPF ET? LOOZHYNZO

6SLI

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[seatqeatszeq prow Aqje,] 900¢dHA ce
Teprostp I zetodtq@ bw o0°000T IOV OLOddTVA ON SaA ON -SOOCNMCTS
[seatqeatTszeq prow Aqje,] sOOcNNLO?
Zeprostp I azeqtodtq Sw o0°o0szt qTOW O1OedTVA ON SaHA ON -SOOcNNCLO
[S@ptT Tuy] SOOcNNLZT
PTOD bw oo 00ST TOWZLHOVavd ON SHA SaA -SOOcNNCSO
[seutdezeryy
puy seutdezexo ‘seutdezetq] sooznnr90
Teprostp J azetodtg Bu 00°009 HLVavVWnd ANIGVILENS ON ON SaA ~SOOTAWWET
[seatqeatszeq ptoy Aqjeg] soocNnrgo Q9O00CNVLET
Tepiostp J zeTodtq Su 00°000T qTOW O1OedTVA ON ON SaA - S00 CAHWWTO -SOOcNALLO dLO IO To00z2TSOu
[seaTIeatieq ptow Aqqeg] 9007ZdHSZZ
Teprostp I azetodtq bw o0°00st QIOV OIOUdTVWA SHA SHA ON -900¢CNVCOT
[seutdezertyL
puy seutdezexo ‘seutdezetq] 9007TNYL60
Iepiostp J zetodtg Bu 00°00F% HIVaWWna ANIGVILYNS ON ON SaA -SOO0COHAeT
[seatqeaAtzeq ptoy Aqjed]) 900CNVC'60
Iepiostp I azetedtq 6w 00°o000T dIOW O1OddTVA ON ON Sada -GOOZLOOEO
[seuTdezertyy
puy soutdezexg ‘soutdezetq] SOOcCOaCTT 900cOnTe? 900CHdV6T
Teprostp J] szertodtg Bu 00° 008 HLVaVWOA ANIGVILHYNO ON ON SadA -SOOZLOOCO -9007HdvO? -900ZNWLOT TWA / dLO vOOTTSON
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] 900Z2dHSTO
Tepiostp I zeyTodtg 6u 00°008 SLVUVNNA ANIGVILHNO SHA ON ON -900ZDN¥z0
[seatqeatszeq ptoy Aqjeg] 9007CdHSTO 900cONvcO 900CNNL6T
Teprostp I zetodt@ bw o0°o00T dIOW OLOddTWA SHA SHA SaA -soozinréz -900ZNNrO0Z -S00ZDHdLZ TWA / W1d F00TTSON
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[wntyatT] SOOZAYNGT
Jepzostp azetodtq BW 00°00ZT WOIHLIT ON Sada ON -SOO0cdadHse4ALO
[wntyatT] SO07HHAIN
Jepiostp zetodtg BH 00°009 WOIHLIT ON ON SHA -SOO0caHACO
(wn tyatT] SOOCNY?TE sooconvyco soocnnr9o
Iepiostp azetodtg BAW 00°00E WOIHLII ON ON SHA -SOOZNYfTO -SOOZNOrLO -S00zadHdL0 IT / dLO 10070908
[SeaTIeATAeq suTdezetpozueg] 900CEHH480
eTuUWwoOsuyt Bu 00° T Wd4HZVHOT SHA ON ON -SOO0CdHSTZ
[seutdezetyL
puy seutdezexo ‘seutdezeta] S007dH4z20
aseestp rzelodtg Bu ogas ANIdVZNVIO ON ON SaA -SOOCNW’82
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZNWLLZ
aseestp rzeTodtg Bu 00°ST HNIdVYZNVYIO ON ON SHA -SOOCNWLSZ
[seatqeatszeqd prow Aq eg] 900794480 900cCNVI60 SOOCNNrLE
aseestp aetodtq Sw 00°000T CIOW OLIOUdTVA SHA SHA SHA -POOZONGOE -GSOOZNOrSsz -SO0ZadHAEO TWA / W1d TOOTO90R
Aepizostp [squessezdeptquy 791730] 900cCNNC9C
“I aetodtg Bu og* zz SNIdVZVLYIN ON SHA ON - 900ZAVNIZO
[SeaTIeATASeq euTzZeredTg] S900TAYNLT
ysea Bu 00°02 HQIYOTHDOUGAH HNIZIHILEHD ON SHA ON -9007HdY8Z
[squesserzdeptquy 7930] 900CAYWNTO
Iapiostp J azeqodtg Bu o0°Sy ONIdYZVLYIW ON Sada SHA -900cCdEH4HE0
[uMntyatT] 9007aHSOZ
Teprlostp J azepodtg Bu 00°006 HLYNOdavO WOIHLITI ON SaA SHA -900ceNW2ZO
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900TAWNSO 9007TONYTC
tepiostp I zetodtg Bu 00°009 BLVAWNNA ANIGVILHNO ON ON SHA -YNOA -900CHWW90 dL5S 10 Z00ZTSO
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GITT FO 6TS abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771891
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19ZT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SSATICATASC suTdezetpozuedg] SOOZUYNTO
Zepiostp azertodta Bw 00°6 WYdaZVYOT ON SHA SHA -SO007EHA9T
[seat Iepes puy sotjoudAyY] GOOTEHATZ
Zeprzostp aetodta Sw 00°00z ANIZVHLAWOUd ON ON SHA -SO00CEHA9ST
[wnty3tT] GOOzTEHA ZZ
Zepiostp azeqtodtq fw 00°009 HLWNO@UWO WOIHLIT ON ON SHA -SO0O07HEAST
[SSATIEAT IEG suTdezetpozueg] SOO0cdHALTS
Jepziostp azertodta BW 00°07 WYdEZVNEL ON ON SHA -SOO7CEHAPT
(wnty3atT] SOOTHHAET SOOTHAWTZ
Jepiostp aetodtq@ bw 00°006 HLVNO@YWO WOIHLIT ON ON SHA -GOOTHHAET -SOOZEHASTZ dL 10 Z00Z0904
[wnty3tT] GOOZd4HSTO
Zeprzostp aetodta Sw 00°00zT WOIHLIT SHA ON ON -SOOZNNrZz
[Sus TUPB10019 TH
Tesyszet pt quy])
aoueraTOQUtT qaZziit
eso oe, peqoedsns N° O H€OAT ‘'SNAIAI@ SNTIIDVAOLOWI SHA SHA ON
[SWS TUBDIOOID TH
SoUueTSTORUT TesyuszretT pt yuy])
aso oe, peqoedsng aa SOTIHGOdIOV SNTIIQVAOLOVI SHA SHA ON
[SWS TUPHIOOID TH
SoUuereTOQUT TeseyszreTptyjuy]) sSOoOcNOC?VT
aso oe, peqosdsns oa GIOW OILOWI SHA SHA ON -SOOZNOALPO
(Wnty aty] SOOCNOIZ?
Iapiostp zejtodtq Bw 00°OSET WOIHLIT SHA SHA ON -SOOZAYW6T
[SUTTT TO TUad
SATITSUSS eseueqoey-eqjeg])
WOISS
statTysuerq NI 66°6666 WLOd NITIIDINSdIAHLHWAXONYHd ON SHA ON
[soTqewtwoyjzedudAs] SOOTEHAVT SoozONYzO sooznarso
sTatTyouold Sw o MNILSVAIYOY ON SHA ON -SOOZEHALT -SOOZNONPLO -SO0ZEHaLO IT / dLO 10070904
NOTLVOIGNI gsoqd [NOILVOIAJISSVIO NOILWOICHW] du TO ¥WOINd ALVd dOLS 4LVd dOLS 4LVd dOLS INSWLVIUL aaoo
WHEL OINENED NOILVOIGEN NENWL NOILVYOIGHN -HIVd LYVLS -aLv¥d LaVLS -divd Laws Lourans
NOILWOIGSN dHZIWOGNVA ‘IHav1 NHdO

GTTT JO 029 abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

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AZSER12771892
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COLI

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

etuew Aq [SSATIPATAeC PUY SePAUSPTY] SOOZAYNSO
pesnes eTuwosuy D> 00°¢ HLVYCAH 'IVHOTHD ON SaA SaA -SOOCAYWEO
[seutdezertyL
puy seutdezexg ‘seutdezeta] SOOCTAYWEO SOOcTONWE TC
etuew 5w 00°000T BLVYWWOA ANIGWILENG ON ON SHA -SOOCAYWEO -SOO0CAYNGO dl5 IO €00Z0904
[S®aTIeATASq eUuTdEzeTpozusg] SOOZAYWNTZ
Zeprzostp azertodtg Bw 00°T WYdHZYVNOTID ON DaA ON -SOO0TAdYBT
[s6n2q
pe qeley eutdezetpozueg] SOOCAYWITC
tepiostp azertodta BW OSL HNOTIDIdOZ ON SaA ON -SO00caYW90
[sbnad
peqetey sutdezetpozueg] SOOTHYNSO
Jepiostp rzeTodtg BW 00°ST HNOTOTAOZ ON SHA ON -SOO0caAYWSO
(wntyat TT) SOOCTAYWTC
Zepiostp rzetodtg Bu 00°006 HLVNOddyS WAIHLIT ON SHA ON -SO0O0caAYWTO
[SSATIPATASqQ suTdezetpozueg] SOOZHAYTT
tepiostp azertodta Ba og’s WYdHZYNOID ON SaA ON -SO0O0CaAYWTO
[sbnad
peqeey sutdezetpozueg] SOOTUWNFO
Iepiostp szejTodtg BW OS*L HNOIDIdOZ ON SHA ON -SOOCAYNITO
[S@aATIeATAeGq SeUTdEezeTpozuEg] SOOcaWNZO
Japiostp azetodtad BW 00°S WYdHZVIG ON SHA ON  -SOOZHYWITO
[SEPT Ttuy] SOOCdHAST
uted patytosdsun BW 00°00S TOWWLHOVaYd ON ON Sada -SO0O0ceHASS
(wn tyat tT) SOOCEHHAB8T
Teprostp azetodtg BW 00°009 HLYNOddvo WAIHLITI ON ON SaA -SO00cdaHArC
[seutdezertyL
puy seutdezexo ‘seutdezeta] SOOTEHABZ GOOTHAVTS
Iepiostp szejTodtg BA OO°SL ELVaVWOdA ANIGVILENO ON ON SHA -SOOCEHHATS -SOO0CEHHABZ dLlO 10 20070908
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO [zg abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771893
cOLl

Gozxdoy =SPtET:LOOZTHWWIZO 6ses

[(UTeuD-epts oTIeYydT Ty

“OOTpaU AST 600TZOZTT/F13/3ndano /ds/9ZT00°LtPIP/Tenbo1tes/pord/aiso/

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

YAIM SseuTzetyjousyE] SOOZAWNOZ
eTUeHW BW 00° 00T AQCTHOTHIONGAH HNIZVWOUd ON Saaz ON -GOOTAWWOT
[SSATIeATIEq SsUTdezeTpozusg] SOOZAYWTT
eTUeHW BY OS*T WYdHZVaOT ON Sada ON -SOOZAVWSO
[seutdazeryL
puy seutdezexg ‘seutdezetq]
eTUeH BW 00°00% ELVYWWOA ANIdVILYNO ON SaHA ON
[S@PATIeATAaq SsuTdezetTpozuag] SOOZAYNTO
eTUeW Bw oO'E WYdHZVaOT ON SaA ON -SOO0ZAVWVO
[seatqeatszeq prow Aqje4] soO0cONW6Cc
etuew Sw 00°0007 WAiId0S HLVONdTVA ON SaHA SaA -SOOCAVWEO
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZAYNZO
eTUeHW Bw 00°008 HLVavWnd ANIGVILANS ON ON Sada -SOOCAVNZO
[S®aTIeATAaq SsuTdezetpozuag]
eTUeW Bw 007% WYdHZVaOT ON ON Sada
[SeaTIeATAeq SsucueydorzAqng] SOOZAYWTO
eTUeHW Bw oo's TOCIYHdOTVWH ON ON Sada -S0O0cedvoOe
(UTeUD-epts oTIeUydt Ty
YIM Sseuptzety jouer) SOOCTAVNI80
eTUeW BW 00° 00T AQCTHYOTHIONGAH HNIZVWOUd ON SHA SaA -GOOTHdY8S
[SSATJeATAeq SsuTdezetpozusg] SOOZAYWEO
eTUeHW Bw 0079 WWdHZVaOT ON ON Sada -GOO7cHdYO?
[SeATIeATASd ptoy Aaqeg] SOOCAYNZO
etuem SW 00°00ST WiIdOS HLVONdTIVA ON ON Sada -S0O0cedvo?e
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOCAVWTO SOO0cONV6T
eTUeW BW 00°009 ELVaWWNA ANIdVILYNO ON ON SaA -SOOcedv8T -SOOZAWNVO dLO IO £0020908
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans

GTTT JO Zzg abed

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SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771894
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POLIT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq]
Japzostp rzeTodtg BW 00°0E ANTAYZNYIO ON ON SHA
Iepilostp relTodtq
Of peqetesz [SSaTIeATAaeq euTdezetpozuag]
ssousselT ssa Ba oo°S WYddZVaOl ON ON SHA
Zepiostp azejTodtq (UTeUD-epts oTIeYyIT TY
Ol peqetet YIATIM SSuTZetTYyjOUuSYd]) POOCAWNCT
ssoussel4ssod Ba 00°0S QLVATVW ANIZVWOUdHWOAdI ON ON Sada -POOCAYNCT
1epz0stp
areqtodtq o3 [SeaTIeATAeq suTdezetpozueg] VOOZDAYLZ
pe eTort eTuwosult BW o0°0z WYd4ZVNHL ON SHA ON -Pooconvgac
Jepazostp
aeqTodtq of [S®aATIwATASG sUTdEzeTpozuEg] POOZTOEAEO
peyejtort eTuwosuy BW 00°ST WYdHZVxXO ON SaA ON -Voocoadeo
ieparostp
zejodtq o3 [seat qeatTieq puy sepAyepTy] yOOTOHAST
pe ,eTort eTuwmosul 5 oot HLVYCAH 'IVHOTHD SHA ON ON -POO0coOeaST
Aepzostp
aTeqtodtq o3 [SeaTqeATIeq suTdezetpozusg] POOZLOOPT
peyejtort eTuwosuy Bw 00°07 WYdHZVWHL ON SaA ON -VOOTLOOVT
[Seat exe] Woe AUD) VOOCNOC CT
uotiedtjasqo sdorzd 00°0z HLVAINSOOId WNIdGOS ON SaA ON -POOCNAL CT
[sastucbequy
etseTdrisdaAy tordedarz0uezpy- eydty]
oTaeqsoad ubtueg Ba OO HQITYOTHOOUGAH NISOTIOSWWL SHA SHA SaA
[PATIOSETSS
ADUSTOTFINSUT ‘squeby Butyootg eq7eq]
oeTprtep BW SL°ET GLIVNIOONS TIOTONdOLEHN SHA SHA SaA
[wn Fy3tT]
Zepiostp zejtodtg BW 00°006 HLYNOddvO WAIHLITI SaA SHA SaA
AouSTOTJINSUT [SEPTSOOATH STTeITHTa]
oe TPIeD Bu 6T°O NIXOSIGd SHA SHA SHA
[seatqeatszeq edoq puy edoqg] HONTLNOS vOooOcouedT?c vVOOCOHdLO
SseostTp UOSsuTyted 5w on HQTHYOTHSONCAH HCIZVAYSNHH SHA SHA SHA -MINQ -POOZDEd80 -POOZAVWE6T IT / WId TOOf090R
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO €2¢9 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771895
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SOLI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seutTdezeryL
puy seutdezexg ‘seutdsezetq]
Zepiostp szetodtg Bu 00°02 HNIGVYZNVIO ON ON SaA
Ss Tsoquorzy.
yo stxeTAydoszd [dnozp utzedey] FOOTAVNBT
queTnbeostquy At 00°0005 NOTLOVAS-NIAVddH ON ON SaA -DOOCAYNLT
Iepiostp rzeTodtq
Oj paqeTerz [SeaTIeATIeq suTdezetpozuag] POOZAYNST
SsousseT4seg BW 007k WYddzZvVadOl ON ON SaA -LYOOCAYNOT
[seutdezertyL
puy seutdezexo ‘seutdezetq] VOOTAWNIT
Jeprzostp azertodtgd Bu OO°OE HNIGVZNVIO ON ON SHA -DOOCAYNOT
Tepzlostp repTodtq
Oo peqeTear [SeaTqeATIeq suTdezetpozusg] POOZAYNST
SsousseT4sed Bw 007s WYdaZVaOl ON ON SaA -POOTAYNST
Aepazostp
azejtodtq of [SSATILATIaQ sUuTdezetpozueg] POOZAWWNLT
peqetet Aumosul BA 00°0F WYddZVNdL ON ON Sada -POOCAYNFT
Aepszostp
aepToatq oF [(upeyo-epts oTaeudt ty
peqejter Aumuosut YUATM SSsUuTZeTyjouseyd_]) VOOCAYNST
pue sseusseT4sed BW 00°OST GLVATVN ANIZVNOUCHWOAdT ON ON Sada -POOCAYNPT
[seutdezetyuL
puy seutdezexg ‘soutdezetq] POOZAYNST
Jepiostp azeptodtg Ba 00°02 HNIGVZNVIO ON ON Sada -POOCAYNET
Tepzlostp relTodtq
ol paqeqTar [SSATICATIAaq sUuTdezetpozueg] POOZAWNET
ssousseT4seyd Bw 00°9 WYddZvaOl ON ON SaA -POOCAYNET
Jeprostp
zejtodtq 03 [Seat Jeatsegq euTdezetpozuag] VOOTAWNZL vOOZONAGTZ  voozonaZo
peqeter Auwosul BA O00°OF WYdEZVNAL ON ON SHA -POOZAYWWZT -POOZDEAG80 -POOZAYVW6T IT / WId TOOf0908
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTITT JO ¥Zg abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771896
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99LT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SeaTWexeT
butqoy ATTeotjouso] POOZAYNZZ
uotaedtj4sqo hoon HSO0TNLOVYI ON SaA ON -VOOTAWNZEZ
Aepszostp [(UTeYyO-epts oTaeydtiy
aAelTodtq oo UATM SSUTZeTYAOUSU_] VOOCAYWES
peqejtet Auwosuy Bu 00°00z GLVETYN ANIZYVNOUdSWOAXT ON Sada ON -FOOCAWNTZ
[SS8ATQexXeT JoRqUOD]
uotaedtasqo TW 00°OT CaaS Wasdv OOVLINYId ON Sada ON
[seutdezeryL
puy seutdezexg ‘seutdsezetq]
Zepiostp zeTodta BW 00°0% ANIGVZNVIO ON SHA ON
Iepiostp azeTodtq
Oo peqeterz [SeaTIeATAeq suTdezetpozueg] VOOZAVNTZ
SssousseT4ssd Ba OO-E Wwd4ZvaoOT ON Sada ON -POOCAWNTZ
[seutdezetyL
puy seutdezexo ‘seutdezeta]
Zepiostp zelodta BW 00°0E ANIGVZNVIO ON SHA ON
Iepiostp azeTodtq
Oo peqeTerz [SeaTqeATIeq suTdezetpozusg] POOZAYNOZ
SsousseT 3s Ba 00°79 Wd4ZVaol ON Sada ON -PVOOTAWNOZ
Aepazostp
aeqTodtq o3 [S®ATIVATA9G sUTdEzeTpozuSEg] POOCNNTO
peqerer Auuosuy BA 00°07 WYdH2VNdL ON Sada ON -POOCAWNET
[S8aATAexeT AoeqQuOD]
uotzedtjasqgo sdozqd 00°0T HLVAINSOOId WNIdOS ON SaA ON
[seutdezertyL
puy seutdezexo ‘sautdezetq]
Zepiostp zelodta BW 00°SE ANIGVZNVIO ON SHA ON
Iepiostp azeTodtq
Oo peqetes [SeaTIeATAeq suTdezetTpozueg]
Ssoussel ssa BA 00°? WYddZVaOI ON SaA ON
[SSATIeXET
butqoy ATTeotjowuso] VOOCAYWET VOOCOAATC vOO7cOedLO
uotaedtasqo n° an HSOTNLISYI ON SHA ON -VOOZAWN6T -POOZDHAC80 -POOZAYW6T IT / Wild TOOf090R
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO Gzg abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771897
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LOLI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

TSpszosTp [(uTeyo-epts oTaeudtiy
aejpodtq o3 YIM SSuTzetyjousyd]) DOOTAYVNLZ
peqejtes Auwosul Bu 00°00Z2 HLVATVW ANIZVWOUdHWOAEI ON SHA ON -DOOCAYWLE
Iepziostp rzeplodtq
Ol peqeqTeat [S®aTIeATASq eUuTdEzeTpozusg] POOZAWNLZ
SsousselT4ssd Ba 00°72 WYdHZVaOl ON DaA ON -VOOTAYN9T
[S@ATIeXeT AoeqQuoD]
uotjedtjasqg sdozd 00°OT HLIVATINSOOTd WNIdOS ON SHA ON
[SeaTqexe] JoequoD] POOCAYNSZ
uotqedtasqo TW OO°ST QHaHS VWad¥Y OOVINVId ON DaA ON -VOOTAYWSZ
TSpszos tp [(uTeyO-epts oTaeydttiy
zeqtodtq o3 UIIM SSeuTzeTyjousey,]) VOOZAWNOZ
peqetet Auwosuy BA 00° OST QLVATVW ANIZVWOUdHWOAdI ON SaA ON -POOCAYNYC
Tepiziostp rzeplodtq
Ol peqeqtTeart [SeaATIeATASG eUuTdEzeTpozueg] POOZAYNSZ
Ssoussel[ 4s BA 00°T WYdHZVaOT ON SHA ON -YOOCAWNYZ
[seutdezetyL
puy seutdezexo ‘seutdezeta] DOOTAWN9Z
Zepiostp zejtodtg BW 00°02 HNIdYZNVIO ON SaA ON -POOCAYNE?
IapilOstp AzeTodtq
Ol peqeqTert [S@aATIeATAeGq SeUTdEezeTpozuEg]
SsousselT ssa Bu 00°F WYd4ZvVaOl ON SHA ON
[SeaTtqexeyT
Butqoy AT Teotjowso] VOOCAYNEZ
uot yedt3sqo n° an HSOTNLOVI ON Sada ON -DOOCAYWIES
[seutTdezertyuL
puy seutdezexg ‘soutdezetq]
Zeprzostp azertodtg BW 00°SZ HNIdYZNYIO ON SHA ON
Iapiostp azeTodtq
of pezetTes [SeaT}eAtTszeq sutTdezetpozueg] VOOCAYNCCS vOooOcouedT?c vVOOCOHdLO
Sssoussel ssa Ba oo°S WYdHZvVaOl ON SHA ON -POOZAWNZZ -POOZDEd80 -POOZAVWE6T IT / WId TOOf090R
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 929 abed

CONFIDENTIAL
AZSER12771898
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Iepizostp zeTodtq

g9zxdoy

SP FET? LOOcCHYNZO

89LI

ses’ ooTpew

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

01 pajeTter [SSATILATASq suTdezetpozueg] vOOCNOLEO
ssousseTqssd Bw 00°T WWdHZvVuaoT ON Sada ON -VOOCNACTO
[seutTdezertyuL
puy soutdezexg ‘soutdezetq]
Iepiostp szeTodtg Bu 00°0T HNIAVZNVTIO ON SaHA ON
Teptos tp [(Upeyo-epts oTqeudt iy
aeqodtq of UAIM SeutTzeTyqQousyg]) yOOTNOrTO
paqejtez Ammosul BW 00°OST GLVGTVWN ANIZVWOddHWOAYT ON SHA ON -POOCNALCTO
Jepiostp zeptodtq
01 pajeter [SSaTIeATAsq suTdezetpozusg]
SsousseT4s:d Bw 00°% WYdHZVaOT ON SaA ON
ATepsos tp [(UTeUD-SpTS OTIeYIT TY
aetodtq of UTIM SsutzeTyqousya] VOOZAWNTE
peqeyter Aumosul BW 00°0SZ GLVETVN ANTIZVWONdHWOAYT ON SaHA ON -VOOCAWWTE
Jepiostp zeptodtq
01 pajeTterz [SSATIeATASq suTdezetTpozueg]
SsousseT sed Bw 00°T WYdHZVaHOT ON SaA ON
ATepsos Tp (UTeUD-SpPTS OTIeYITTY
aeqodtq of UAIM SeutTzetyqousyg] POOZAYNOE
peqetes Amuiosuy Bw 007002 GLVGTIVA ANIZVWOUdHWOART ON Sada ON -VOOTAWWOE
Jepiostp zeptodtq
ol pajetearz [SSATICATISq SsuTdezetpozueg] VOOCAYNGZ
sseusseTqssa Bu 00°2 WWdHZVaOT ON SaA ON -VOOZAWNGZ
ATepsos tp [(UTeUD-SpTS OTIeYyIT ITY
aeqtodtq of UAIM SeutTzeTyqousyg] VOOZAYNGZ
peqeTer Auwosul Bw 00° 0SZ GLVGIWA ANIZVWOddHWOAdT ON SadA ON -VOOCAWNBC
Jepiostp zeptodtq
ol pajetear [SSATIeATASq suTdezetTpozueg] POOTAYNSZ
SsousseTqssd Bw oo-€ WWdHZvuaoT ON SaA ON -VOOCAWWBE
[seutdezertyL
puy seutdezexo ‘seutdezetq] DOOCAVNITE YOOCOeACTS ~OOcTOHACLO
Jepiostp rzeTodta Bw 00°ST HNIdVZNVYIO ON SHA ON -VOOZAYWNLZ -VOOZDHA80 -POOZAYWET IT / WId TOOf090R
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO LZG abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771899
Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 78 of 90 PageID 85934

s97xdoy «GPF ET? LOOZHYNZO

69LI

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SeaTWexeT
Sutqow ATTeoTIoUsO] vOOZNArsO
tot edt 3sqo aoa ASOILOVI ON SHA ON  -PoOOzTNArsO
Aapzostp
aeqTodtq of [S®ATIVATA9G sUTdEzeTpozuEg] POOZNNLLO
peqejea Ammosuy Bw 00°09 WdEZWWEL ON SHA ON  -FOOZNNELO
IepPrOsSTp (UTPYD-Spts oTqeydt tw
azejodtq 03 YATM seutzetyqouerg] TVOOZNOLLO
peqeter Auwosut 45H 00°0ST SLVETUN ANIZVWOUGHWOANT ON SHA ON  -7OOZNNESO
AQ AOS TP
AeTOATqd oF [SSaATIeAT AEC suTdezetpozueg] VOOCNNL90
peqetea Aummosuy BH 00°07 WdHZVWEL ON SHA ON -TOOZNNE9O
[S@aTqexeT Aoequoy]
uo T3edtTASqo TW 00°OT GHHS Widv¥ ODVLNWTd ON SHA ON
Zapsostp (UPeUD-SpPTS OfFIeYyIT TY
azeqodtq 03 YIM seutzetyqoueTg] yvoozNarso
peqetea Aumosut Bw 00°00z ALVATWA ANIZVWOUGHWOAST ON SHA ON  -7OOZNNESO
Aepzostp
areqTodtq o3 [S®aATIwATA9G sUTdEzeTpozuseg] POOZTNNLSO
peqejea Ammosuy Bw 00°09 WdHZWWEL ON SHA ON  -FOOZNNETO
leprzostp (UTeUD-epts oTIeUydt Ty
aepodtq 03 YIM seutzetyjouerg] voozNaryo
peqeter Aulosur 45H 00°0ST SLVETWN ENIZYVWOUGHWOANT ON SHA ON  -POOZNNE TO
Aepszcstp
AeTodtq of [SeaTqeATAeq suTdazetpozuag]
peqetea Aummosuy Bw 00°0c WdHZWWGL ON SHA ON
[SeaTqexey] Joe UOD] vOOZNOEO
uo TAedtTASqo TW 00°OT GHHS Wid¥ ODVLNWId ON SHA ON  -FOOZNNEEO
JapszosTp [(UTeUD-epts oTIeydt Ty
azejodtq 03 YIIM SeUuTZzeTyIOUETE] VOOTNMTEO yoOzOMaTZ  voozoqaLo
peqetea Amuosul SW 00°00T SLVETWN ENIZWWOUGHWOANT ON SHA ON -POOZNNEZO -POOZDEASO -POOZAWW6T IT / Wild TOOf090R
NOTLWOIGNI ASOd [NOLLYOI4ZISS¥IO NOTLYOIGIW)] ca TO WOIYd ALVA dOLS HL¥d dOLS 4LVG dOLS INAWLWTuL aaqoo
WHHL OIZSNHD NOILVOIGHW NAYWL NOTLVOIGHW -HIVd LEWIS -S3LVGd LYVLS -H1Vd LYwWLs LOHPans
NOTIVOIGSN CSZINOGNYa THAW] NedO

GTTT JO @zg abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771900
Aepszostp
AeqTodtq o3

ggzxdoyx

SP FET? LOOcCHYNZO

[SPATIeATAaq suTdezeTpozuag]

OLLI

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

CONFIDENTIAL
AZSER12771901

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peyetTor eTuwmosut Bw 00°02 WYd4HZVNEL ON SaA ON
Aepzostp
ALTO TO o7 [SSATIeAT AEG suTdezetpozueg] POOCNOLSC
peqejtes Auwosut BW 00°02 Wd4HZVNdL ON Sada ON -POOCNNLE?
Aepszos tp [(UTeYyO-Sspts oTjeydttiy
AePTOdTq o7 YIATM SsuTzetyjoueryd] POOCNNALOZ
peqejtes Auwosuy Bw 00°0S GLVATVAN ANIZVNOAdHSWOAST ON Sada ON -YOOcNnrat
aTep41osTtp [(uTeyo-epts oTqeydtiy
azeqTodtq of YIM SSuTzetyjousyd]) POOTNNLST
peqejtes Aumuosul BH 00°OST HLIVHTYN ANIZYNOUdSWOAXIT ON Saaz ON -POOCNNLIT
Aepzostp
areqTodtq o4 [S®aTIeATASq eUuTdEzeTpozusg]
peqejtes Amuosuy Bw 00°07 WYd4HZVWNEL ON Sada ON
[SeaATAexeT AoeQUOD]
uotzedtjasqg sdozq 00°ST HLVAINSOOId WNIdGOS ON Sada ON
[S®aTIexeyT
Butqoy ATT eotjowso] POOZNNLET
uot jedtjasqo noon HSOTINLOVYI ON Sada ON -pyoocnnret
[SeATIexeyT
Butqoy ATTeotqowso] POOCNNITT
uot yedt3sqo n° an HSOTNLOYI ON Sada ON -POOCNNLOT
Aepzostp
areptodtq o7 [SSATIeAT AEG suTdezetpozuseg] VOOCNOLTTI
peqejtes Auwosuy BW 00°07 WidHZVNdL ON Sada ON -pyoocNnired
[SeATIexeyT
butaow ATTeoOTIowso] pooZNarEo
uot qedtjsqo n° an HSOTNLOYI ON SaA ON -poocnnred
atepiro0stp [(UTeyo-epts oTqeydttiy
azetTodtq o4 UATM SSUTZeTYAOUSY] voocNarst VOOCOAATC vVOOCOHdLO
peqejtes Aumuosut BW 00°0S SLIVATYN ANIZYNOAdSWOAXT ON SHA ON -POOZNOP80 -POOZDEAC80 -POOZAYW6T IT / Wid TOOf090R
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 629 abed
Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 80 of 90 PagelD 85936

IZLT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
Aepszostp
areptodtq o7 [SSATIeAT AEG suTdezetpozueg] POOZINGOE
pezeTeaa etumosur BW 00°07 WWGEZVNHL ON SHA ON -vpoozInr.z
Aepizo0stp
aAepTodtq o3 [SSATICATASC suTdezetpozuedg] poozinrez
peqzerTar eytmmosur BW 00°0F WYdEZYNEL ON SHA ON -poozINrsz
13 LOS TP
ACTO TO o7 [SSATIEAT IEG suTdezetpozueg] VYOOCIANLYZG
paq,eteair eTmMOSsUT BW 00°0z WYdEZVNHL ON SHA ON -POOZINCEZ
AS AOS TP
AeTOaTqd of [SSaATIeAT AEC suTdezetpozueg] POOCINITS
pezerTear etmmosul BW 00°0% WYGEZVWHL ON SHA ON -VOOZINETZ
AS LOS Tp
APTO TO ol [SSATIeEAT AEG suTdezetpozueg] POOT INEST
paqetair eTmuoSsuUr BW 00°02 WYGEZVNHL ON SHA ON -VOOZINEST
Aepjzostp
reptodtq o7 [SSaTIeATAEq sutTdezetpozusg] FOOCINIST
pezetTear etumosur BW 00°07 WWGHZVWHL ON SHA ON  -PvOOTINE VT
Aepizo0stp
arelTodtq o7 [SSATICATI9C suTdezetpozueg] POO?CIN’OT
payzerar etmuosur BA 00°02 WYdEZYNEL ON SHA ON  -POOZINLOT
Aepjzostp
areptodtq o7 [SSATIeAT AEG suTdezetpozuseg] FOOcIALSoO
peqeter etTuwosul Bw 00°02 WYd4ZVNHL ON SHA ON -vOOZzINI8O
Aepszo0stp
aAepTodtq o2 [SSATIPATASqC suTdezetpozuedg] poocinrea
peyzetear eytmMmosul BW 00°0% WYGEZYWHL ON SHA ON -vOOZINE:0
iJepizostp
azejtodtq o3 [SeaATIeATIegq seuTdezetpozueg]) VOOTINETO VOOTOMGTZ voocomaLo
peqeteaz etTuwosul Bu 00°02 WYGSZYNHL ON SHA ON -POOZNOELZ -POOZDHAS0 -FOOZAYW6T IT / Wd TOOf090R
NOILY¥OIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aadoo
WH3L OIWANEO NOLLYOIGHW NANVL NOILVYOIGHW -3LVG LYWLS -3LVd LUVLS -a3LVd LYVWLs LOFLAAs
NOIIYOIGHN CEZIWOGNYS ‘THav1 Nwdo

GTTT JO O€¢6 Bbed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771902
Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 81 of 90 PagelD 85937

cLLI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
Aepszostp
areptodtq o7 [SSATIeAT AEG suTdezetpozueg] POOZONVTE
pezeTeaa etumosur BA 00°0T WWGEZVNHL ON SHA ON -POOTONYTE
Aepizo0stp
aAepTodtq o3 [SSATICATASC suTdezetpozuedg] POOZONVOE
peqzerTar eytmmosur BW 00°02 WYdEZYNEL ON SHA ON -POOZDNYOE
13 LOS TP
ACTO TO o7 [SSATIEAT IEG suTdezetpozueg] LVYOOCDNV6C
paq,eteair eTmMOSsUT BW 00°OT WYdEZVNHL ON SHA ON -POOZDNVY6Z
AS AOS TP
AeTOaTqd of [SSaATIeAT AEC suTdezetpozueg] POOCONY8z
pezerTear etmmosul BW 00°0E WYGEZVWHL ON SHA ON -LOOZTHNW8Z
AS LOS Tp
APTO TO ol [SSATIeEAT AEG suTdezetpozueg] POOcoNWST
paqetair eTmuoSsuUr BW 00°0F WYGEZVNHL ON SHA ON -vOOzTDNWSZ
Aepjzostp
reptodtq o7 [SSaTIeATAEq sutTdezetpozusg] FOOCONVTZ
pezetTear etumosur BW 00°07 WWGHZVWHL ON SHA ON  -POOTONYST
Aepizo0stp
arelTodtq o7 [SSATICATI9C suTdezetpozueg] POOCODNYTL
payzerar etmuosur BA 00°0? WYdEZYNEL ON SHA ON -POOZDAYPT
Aepjzostp
areptodtq o7 [SSATIeAT AEG suTdezetpozuseg] FOOCONAVCTL
peqeter etTuwosul Bw 00°02 WYd4ZVNHL ON SHA ON  -¥vOOZDNYOT
Aepszo0stp
aAepTodtq o2 [SSATIPATASqC suTdezetpozuedg] Pooconvsa
peyzetear eytmMmosul BW 00°0F WYGEZYWHL ON SHA ON -POOZONYSO
iJepizostp
azejtodtq o3 [SeaATIeATIegq seuTdezetpozueg]) VOOTONWLO VOOTOMGTZ voocomaLo
peqeteaz etTuwosul Bu 00°02 WYGSZYNHL ON SHA ON -POOZDNYZO -POOZDHAS0 -FOOZAYW6T IT / Wd TOOf090R
NOILY¥OIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aadoo
WH3L OIWANEO NOLLYOIGHW NANVL NOILVYOIGHW -3LVG LYWLS -3LVd LUVLS -a3LVd LYVWLs LOFLAAs
NOIIYOIGHN CEZIWOGNYS ‘THav1 Nwdo

GTTT JO TES abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771903
Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 82 of 90 PagelD 85938

eLLi

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

Aapszostp [s6nad
aeqTodtq of pexzeTsy eutdezetpozuag] POOZLOOGZ
peyetort eTuwosul Bu 00°07 WHdIdI0OZ ON DaA ON -VOOTLOO6 TZ
Aapzostp [s6nad
aAepTodtq o3 peqeTay sutdezetpozueg] VOOCLOOBT
peyejTot eTuwoesuy BA 00°OT WHdId1I0OZ ON SaA ON -POOCLOOLE
Taprzostp [sbnizqd
azeqTodtq of pexeTey eutdezetpozueg] VOOZLOO9Z
pe eTort eTuwosult BW o0°0z WHdTdIOZ ON SHA ON -POO0CLOO9~
Aeprzostp
aAepTodtq o2 [SSATIPATASC suTdezetpozuedg] POOZTLOOEZ
peyejtort eTuwosuy BW 00°OT WYdHZVWHL ON SaA ON -VoocLoo¢ce
JIaprzostp
azetTodtq o3 [S@aATIeATAeGq SeUTdEezeTpozuEg] PpoocLooos
pe ,eTort eTuwmosul BM 00°02 WYd4ZVNHL ON SHA ON -POOCLIO0~
Aapszostp
areqTodtq o4 [S®aTIeATASq eUuTdEzeTpozusg] FOOTLOOLT
peyejtort eTuwosuy Bw 0070s WYdHZVXO ON SaA ON -VOOTLOOLT
Jepizostp [s6naq
aeqTodtq o3 peqeTey eutdezetpozusg] POOZLOOSZ
peyejtet eTumosuy BA 00°OT WHdId1I0OZ ON Sada ON -7O0cLOO80
Aapszostp
areqTodtq o3 [SeaATIeATANGq euTdEzZzeTpozueg] FOOTLOOZO
peseTtoa eruwosul Ba 00°02 WYdHZVAHL ON SaA ON -VO0CLOOTO
Jeprzostp [sSnaq
aAepTodtq o2 peqejtay sutdezetpozueg] TOOZLDOLO
pe yejtort eTuwosuy BW OSL HNOTIDIGOZ ON SaA ON -voo0cdHs60
iIapriostp
azejtodtq of [Seat zeatszeq sutTdezetpozuseg] vOOcdHS 80 vOooOcouedT?c voocOudLO
pe yejTer eTuUMOSsUT Bu 00°02 WYdHZVNHL ON SHA ON -POOZdHSTO -POOZDEA80 -POOZAVWE6T IT / WId TOOf090R
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO zeG abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771904
Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 83 of 90 PagelID 85939

PLLI
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
AS AOS Tp
AeToOaTq oF [SSATICATI9C suTdezetpozued] VOOZOXAOTLO
peqejter etTuwosul Bw 00°0S WYdaZVXO ON SHA ON -¥OOZONATO
Aspszostp
ALTO TO o7 [SSATIeAT AEG suTdezetpozueg] VOOCAOCN62
peyzerTar etmuosur BW 00°05 WYdHZVXO ON SHA ON  -¥%OOZAON9Z
Jepsz0stp
APTOdtq o7 [SSATIEATI8q autTdazetpozuag] FOOZCAONOZ
peqejTeaz etTuwosul Bw 00°0S WWdaZVXO ON SHA ON  -VYOOZAONOZ
AJep1zo0stp
azeptodtq o7 . [SSATIEAT AEG suTdezetpozuag] VOOTAONYT
perejter eyuuosur Ba 0070S WYdaZVXO ON SHA ON  -FOOZAONST
Aepszostp
reptodtq o7 [SSaTIeATAEq sutTdezetpozusg] FOOCAONTT
peqeyTeaz etTuwosul Bw 0070s WYdaZv¥XO ON SHA ON  -¥OOZAONET
[SUTTT TO Tug
SATITSUSS Ssewuejoey-eieq)]
WoISs VOOZAONLT
WOTZOTJUT YRCOL Sw 00°OB86T WLOd NITTIOINSd IAHLAWAXONAHd ON SHA ON  -%OOZAONTT
ASpszosSstp
arelTodtq o7 [SSATICATI9C suTdezetpozueg] VOOZCAON60
pe qejTerz eTumosul Ba 0070S WYdaZVXO ON SHA ON  -¥%OOZAONGO
Aapszostp [sbnad
aeqTodtq of peyeTey eutdezetpozueg] vOOZORATO
peyeTer etuwoSsUr BA 00°OT HLVALaVL WHCId10Z ON SHA ON  -¥%OOZAON9O
ASpszostp
arelodtq o7 [SSaATIeAT AEC suTdezetpozued] VOOZAONSO
peqejteaz eTuwosul BW 00°02 WYdaZVWHL ON SHA ON  -¥OOZAONTO
iIapriostp [s6nia
azepodtq of peaeley sutdezetpozueg] YOOZAONED vOOCOHGTZ  voozomaLO
pe ,etTer etuMosur BW 00°0T WHAIdIOZ ON SHA ON -VPOOZLOOOE -POOZDHAS0 -POOZAWW6T IT / Wd ToOfo90m
NOILY¥OIGNI as0qd [NOILVOISISSWIO NOILYOIGSW] da TO UYOINd Lvad dOLS ALYd dOLS Lv dOLS LINSWLWaIYuL aaoo
WHEL OIMHNED NOLLYOIGHW NANVL NOLLYOIGHW -HLVG LYWLS -SLVd LavVLS -aLvd LawLs LOarans
NOLLYOIGHN CaZIWOGNVN ‘THav1 Nado

GTTT JO €€¢9 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771905
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g9zxdoy

SP FET? LOOcCHYNZO

SLLI

ses*QOTPeW IST 600TZOZTI/313/3ndano/ds/9ZT00°L¢PIp/Tenbotes/pord/eisa/

Jap[noys [SOPTT Tuy] soozaasso
3F8T Sy UT uted SW 00°O00ST TIOWZLHOVAYd SHA ON ON -S00¢dHS90
[sastuoby
Toydeserouezpy-z-e9e8q
PATIOS TAS]
Buy ysy Bn 00°00z TIOWZLNEATYS SHA SHA Sada
[seuo ToutTnbozontT a]
stqtqsdAo oTuerYyD Bu 00° 00Z NIOVXOTHHYON SHA SHA SHA
[SUOTIEUTQquoOD
pexty ‘suseborz sq
puy stuseboqseborg] HONTLNOO
esnedouspl Bn €0°T HLVLEOV ANOWHALSIHLAYON SHA SaA SaA ->aINN
aepTnoys [SeptTtuy]
3F9T Syd UT uted 5a 00°005 TJOWWLAOVAd SHA ON ON
Iapiostp azepodtq
o7 peqerTet [Seatzeatseq eutdezetpozusg] SOO0Z.LOOEO S007LOOSO SOOCNYICT
Ssoussel sed Ba OST WYdEdZVaHOT SHA ON ON -SOOZLOOEO -SOOZNYPeT -POOZNNLPO TWA / dLO z00£0908
[seutdezertyL
etuew eqnoe puy seutdezexg ‘seutdezetq]
‘lepzostp zelodta Bu 00°00% HLVAWWNA ANIGVILEYNG SHA ON ON
Iepzlostp reTodtq
ol paqetTear [SSATILATIaQ sUuTdezetpozueg] SOOZNYLOZ
SsSeusseT sed Bw 00°S WYddZVaO1 SauA ON ON -POO0COeAT 2
Aepszostp
areqtodtq o3 [SeaTIeATAeq suTdezetTpozueg] POOZORALO
peseTtoa eruwosul BA 00°ST WYdudZV¥xXO ON Sada ON -YOO0cOXaSO
Aepzostp [s6n2d
azejtodtq o3 peretey eutdezetpozuag] POOZOEALO
pe zejTtor eTuMOsUyt BA 00°OT HLVaLYVL WHOIdIOZ ON Sada ON -PO0cOeaeO
iIapriostp [s6nia
azejodtq of pe ,eTea sutdezetpozueg] voocoudco YOOTOaATS voocOudLO
peweqTor eTumosut Bu 00°02 HLIVALAVL WHAIdIOZ ON Sax ON -POOZDEACZ0 -POOZDEA80 -POOZAYW6T IT / WId TOOf0908
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO ¥EG abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771906
Case 6:06-md-01769-ACC-DAB Document 1363-5 Filed 03/12/09 Page 85 of 90 PagelID 85941

Iepilostp re Todtq

s97xdoy «GPF ET? LOOZHYNZO

OLLI

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

of peqejtTor [SSATIeAT AEG suTdezetpozueg] SOO0¢dHSEz?
SSsousselT {sc Ba og z WYdHZVaO1 SHA ON ON -SOOTdHSE?
Aepizo0stp
aeqTodtq of [S®ATIVATA9G sUTdEzeTpozuEg] Soozd4usro
peqejtes AqSstTxXuy BW 00°0T WYdHZVId SHA ON ON -S00cdHSE0
Iapiostp zeptoedtq
Of peqeTeor [SSATIEAT IEG suTdezetpozueg] soo¢cLooco
Sssoussel ssa Bal oS*Z WYdHZVaOT SHA ON ON -S00¢L50c0
AepTneys [SPTOTeENTY wntdo Tezn jen]
aFSeT ey UT uted n° an TOWWLHOVaYd SHA ON ON
Jeprnoys [S®ptTtuy] soociIonrié
4FeT ey. UT uUTeg SW 00°000T TOWWLHOVaYd SHA ON ON -soocinrod
ASpszostp
aeqTodtq of [S®aATIwATA9G sUTdEzeTpozuseg] SOOcdHSTO
peqejtes AQetTXuy Bw 00°OT WYdHZVId SaA ON ON -S00¢dHSTO
ASp1zostp
AeToOaTq oF [SSATIeEAT AEG suTdezetpozueg] soocddsoc
peaeter AqetTxuy BW 00°ST WYdHZVIGd SHA ON ON -SO0O0cdHSYT
ATSpTNoys [SeptT Tuy] SOOcCONYTT
3F8T Sy UT uTea SW 00°00ST TIONWLHOVaYd SHA ON ON -SOdOcoNnTrO
aAepTnoys [S®pTTtuy] SsoozInNryt
3F2T Sy. UT uted SW 00°000T TIOWWLAOVEVd SHA ON ON -soocInrrt
iepTnoys [SeptTtuy] Soozd4asso
3FeT Sy. UT uted SW 00°O00T TIONWLAOVEVd SHA ON ON -SOO0cdHSTO
Aap Tnoys [Sept Ttuy] soocoOnyTe
332T S43 UT UTed BW O0*00ST TOWZLHOVEYd SaA ON ON -SOOZDOWTE
AepTnoys [S®ptTtuy] sooconvoe S00cLO0S0 SOOCNYCCT
AFST Soya UT uted Bw o0°00S5 TOWWLAOVAd SHA ON ON -SOOZDNWOE -SOOZNWPET -POOZNNOPO TWA / dLO Z00£0908
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO Seg abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

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AZSER12771907
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LLLI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seutwy AzetqzeL] SOOcdHeAeO
sOWeT] PUCH Ba 00°F NHCTHadIad SHA ON ON -SO0O0caHHEO
[seutwy AzetqzaL] SOOCNYITT
sJOuUet] PUCH Bu 00°Z% NHdTaddIad ON SHA ON -SOOCNYLOT
[seutwy Azetq7eq] SOOZNWL0Z
stouety PUeH BW 00°F NHCTaddIG SHA ON ON -SOOCNYIO¢
Taprzostp [sbnizqd
areqtodtq o3 peqeley eutdezetpozueg]
pe etTort eTuwmosult BW 00°OT HLVaALAVL WHATdIOZ SA ON ON
Isplostp relTodtq
Of peqetTesz [SSaTIeATAaeq euTdezetpozuag] GOO0ZLOOLVO
Sssoussel ssa Ba OO°T WYdHZVaO1T SHA ON ON -S00C.LO070
[seutwy Azetq7eq] SOOZNVP9T
stouety PUeH Bu 00°% NHCTaddIG SHA ON ON -SOOCNYI'ST
Aepzostp
azeqtodtq o3 [SeaTIeATAeq suTdezetpozueg] SOOCUWNPT
peqejtes AqetTxuy Ba 00°S WYdaZVId SHA ON ON -SOOCHWNTT
Tepzlostp rzeTodtq
ol peqeterz [S®aATIwATA9G sUTdEzeTpozuseg] SOOZTUYNEO
Sssousse[4ssod Bw 00°OT WYdH2Z2VId SHA ON ON -S00cavWCO
Iepiostp azelodtq
Ol peqeterz [SSaTIeATAEq suTdezetpozueg] SOOZTAONTO
Sssoussel ssa Ba OO°T WYdHZVaO1T SHA ON ON -SO00cdHS eC?
AepTnoys [SeptTtuy] SOO7TINCLT
FET Sa UT uted BW 00°00S TIONWLHOVaYd SHA ON ON -SOOCIONOLT
aAepTnoys [S®pTTtuy] soozinrgc
3327 O42 UT UTeg BW 00°DD0T TIOWWLAOVEVd SHA ON ON -soocinrgd
Iepiostp rzeTodtq
of pezetTes [Seat zeatszeq sutTdezetpozuseg] S007.LOOSO S00cLO0S0 SOOCNYCCT
Sssoussel ssa Bul oS"O WYdHZVaO1 SHA ON ON -SOOZLOOSO -SOOZNWPET -POOZNNLPO TWA / dLO Z00f0908
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO 9€¢ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771908
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Aaeprzostp
azeqtodtq of

s97xdoy «GPF ET? LOOZHYNZO

[SSaTIeaTseq suTdezetpozusg]

8LLI

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

pe ,eTort eTuwmosul Bu o0°0r WYd4ZVNWHL SHA ON ON
[seutdezertyL
Tero puy seutdezexg ‘seutdezetaq] SO00ZLD090
tepiostp azeptodtg Bu 00°00F ELVYWWOA ANIGVILYNG SA ON ON -S00¢.L5050
1epz0stp
areqtodtq o3 [SeaTIeATAeq suTdezetpozueg] SOOCUNNTZ
peqejter AqetTxuy Bal oo°S WYdHZVI0d SHA ON ON -SOOCAVWIT?C
Iepiostp rzeTodtq
ol peqetez [S®aATIwATASG sUTdEzeTpozuEg] SOOZUYN80
Sssousse[4sed Bw o00°S WYdHZVId SaA ON ON -SO00cCaHYNBO
[seutwy AretqrEL] SOOCNYLAT
souety PUeH Ba 00°77 NAHCTYsadIGd SHA ON ON -SOOCNYDLT
Iepzlostp rzeTodtq
oO} peqetTerz [S®ATIVATA9G sUTdEzeTpozuSEg]
SsousseT soy Ba 007s WYddZVId ON SaA ON
[seutwy AzetqzeL] POOTLOOEO
sJOuUet] PUCH Bu 00°Z NHdTaddIad ON SHA ON -POO0CLSOTO
ATSpTNoys [SeptT Tuy] SOOcINréET
FET Sa UT uted BW 00°00S TIOWZLHOVAYd SHA ON ON -SOOcINC ET
aAepTnoys [S®pTTtuy] SOOZ@dHSZT
3F9T Sa UT uted BW 00°00S TOWWLAOVAYd SHA ON ON -S00cdHS¢eT
AeprTnoys [S@ptT Tuy] soozimnrez
3F°T SY UT uted BW 00°00S TIOWWLAOVAVd SHA ON ON -soociInrec
[Sept Ttuy] SOOZUWNOT
SyoepecH BW 00°00S TOWZLHOVEYd SaA ON ON -SOOTAYNOT
[seutwy AzetqzeL] VOOTLOOLO S00cLO0S0 SOOCNYCCT
sJOuUet] PUCH Bu 007% NHdTHddIad ON SHA ON -POOZLOOLO -SOOZNWPET -POOZNNLPO TWA / dLO Z00£0908
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO LEG abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771909
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s97xdoy «GPF ET? LOOZHYNZO

6LLI

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

Jepizostp
azejtodtq of [SPATIeATAaq suTdezeTpozuag] POOZNar90
peqetes Amiosuy BW 00°02 WYdHZVWHL ON SaA SaA -VOOTAWWOE
Jepzostp zeptodtq
Ol paqeTer [SSATIeATIEq SsUTdezeTpozusg] pooz marzo
ssousseT sey BA 00°ST WYdHZVId ON Sada Sada -POOCAWNBZ
[S@ATIPATASq ptoy Aqqeg] POOCLOOLZ
Jepzostp azetodtq Bw 00°000T WiIdOS HLVONdTIVA ON SaA Sada - VOOCAWWYO
[seutdezertyL
puy seutdezexo ‘seutdezetq] POOZNNLEO
Jeprzostp azertodtgd BW 00°002 HIVavVWnd ANIGVILYNS ON ON SaA -MNO
[seutwy Azetq7eq] POOZTAONOZ
70uety PUeH BW 00°2 NadTaadIad ON Sada ON -VOOZAONOZ
Jepiostp rzeptodtq
ol paqeTerz [SeaTIeATAeq suTdezetTpozuag] POOZAON60
Ssousse[Isey BW 007s WwdazZvId ON SaA ON - POOZAON6O
[seutwy AzetqzeL] POOTAONSO
tower PUeCH BA 00°Z% NHdTaadIad ON SHA ON -VOOTAONVO
[seutwy Azetq7eL) PVOOCLOO8Z
tower PUueH BW 00°2 NadTaadIad ON SaA ON -YOO7ZLOOLE
Jepizostp
azejtodtq o3 [S@eaTIeATAeq suTdezetTpozuag] POOZTNOr60
peqeTer Auwosul BW 00°02 WidHZVWHL ON SadA ON -VOOCNIC60
Jepizostp
azejtodtq o1 [SSATIeATIEq SsUTdezeTpozusg] POOZAWNG6Z
peqejtes Amuiosuy BW 00°0F WWdHZvVWHL ON ON Sada -VOOCAWWGC
Japirostp
azetTodtq o4 [Seat zeatszeq sutTdezetpozuseg] VOOTAYNSC S007¢LOOSO SOOCNVLCT
peqejter Aumosul BW 00°02 WWdHZVWHL ON ON SaA -VOOZTAYWN8Z -SOOZNYCTET -POOZNALPO TWA / dLO 200£0908
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO @€¢ abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

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AZSER12771910
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O8ZI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seutwy AzetqzeL] LOOCLOOST
sOWeT] PUCH Bal 00°Z NadTaHddIad ON SHA ON -POOCLOOST
[seutwy AzetqzaL] POOTLOOCT
sJOuUet] PUCH Bu 00°Z% NHdTaddIad ON SHA ON -POO0CLOOCT
Aapszostp [s6nad
aetTodtq of peyeTsy eutdezetpozuag] pOOZLOOS8O
peqetet Auwosuy Sw 00°0T HLVaLavL WHOIdIOZ ON DaA ON -vO07TLOOLO
Iepizostp zeTodtq
ol peqetear [S®ATIVATA9G sUTdEzeTpozuEg] POOZAONLO
ssoussel4ssod BA 00°OT WYddZVId ON SaA ON -PO0cLOOFO
Aapszostp [sbnad
azeqTodtq of pexzetTey eutdezetpozusg] VOOZLOOZO
peqejtes Auwosut BW 00°OT HLVaLAVL WHCTdIOZ ON SHA ON -vOO0cdHSOE
[seutwy AzetqzeL] POOTdHSE60
sJOuUet] PUCH Bu 00°Z NHdTaddIad ON SHA ON -vO0cdHS80
[seutwy Azetq7eL) VOO?CdHSLO
stouety PUeH BW 00°F NadTaHddIGd ON SaA ON -bO0cdHSL0
[seutwy AzetqAzeL] bOOTdHS90
souety PUeCH Ba 00°2 NSACTYdadIad ON SaA ON -voo¢cdHss0
[seutwy AreTAAL] POOcdHS TO
souety PUeH Ba 00°77 NAHCTaHadIad ON SaA ON -voocdHs 70
[seutwy AzetTq291]) vOOCdHESEO
fowety PUeH Ba 00°72 NAHCTadd Id ON SaA ON -vO0cdHsc0
Iepizostp zeTodtq
ol peqeterz [S®aATIwATA9G sUTdEzeTpozuseg] POOTAHSOE
Sssousse[4ssod Bw 00°OT WYdaZvVId ON SaA ON -poociInreo
JTapiostp
azeqtodtq of [Seat zeatszeq sutTdezetpozuseg] voocNnrso S00cLO0S0 SOOCNYCCT
peqeqtes Auwosul BW 00°0F WYdHZVNHL ON SHA ON -POOZNOPLO -SOOZNWPET -POOZNNOPO TWA / dLO Z00£0908
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO 6€¢9 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771911
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I8ZT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seutwy AzetqzeL] LVOOCAONS8T
tower PUeCH Bu 00°Z NHCTHsdIad ON Sax ON -POOZAONPT
Jepizostp [s6naq
aAejpTodtq o2 peqejTay eutdezetpozueg] TVOOZAONTT
pe zeTet eTmmosul BA 00°0T HLVaLYVL WHCIdIOZ ON Sada ON -POOCAONOT
Iepiostp rzeTodtq
Oo peqetear [Seat eaTAeq euTdezetTpozuag] POOTAONOZ
ssoussaT sey BW 00°S WYdHZVIG ON SHA ON  -¥vOOZAONGO
[seutwy Azetq7eq] DOOZAONET
stouety PUeH BW 00°F NHQTesadIad ON Sada ON -FOOZAON9O
Aapszostp [sbnad
azeqTodtq of pexzetTey eutdezetpozusg] VOOZAONSO
pe yejTer eTuWMOSsUyT 5a 00°OT HLVaLAVL WHCTdIOZ ON Sax ON -POOZAONTO
[seutwy AzetqzeL] POOTAONTO
sJOuUet] PUCH Bu 00°Z NHdTasdIad ON SaxA ON -POOCAONZO
[SepTT Tuy] POOCLOOTE
SyoepesH BW 00°00S TOWZLHOVad ON Sada ON -POOCLOOTE
[seutwy AzetqAzeL] DOOZTAONTO
souety PUeCH BW 00°F NHQTYadIad ON Sada ON -P00cLO062
Aapiestp [s6n1aq
aeqTodtq of pexzeTey eutdezetpozueg] POOTLOOOE
pe ,eTort eTuwmosul BM 00°02 HLIVaLYVL WHOIdIOZ ON SaxA ON -PO0cLOO6Z
[SeATIeATASq ptoy Aqqeg] SOOZAONVO
Iapiostp zejtodtg BW 00°008 WONIdGOS HLVYONdTIVA SHA Sada ON -PO0cLOO8 2
[seutwy AretqzeL] VOOTLOOET
souety PUeCH Ba 00°2 NHQTYadIad ON Sada ON -PO0CLOO6T
iIapriostp [s6nia
azetodtq of peqetey eutTdezetpozueg]) YOOTLOO9T  S00ZLOOSO SOOZNWLZT
peqeter Auwosul BA 00°OT HLIVALAVL WHAIdIOZ ON Sax ON -POOZLOO9T -SOOZNYTET -POOZNOCPO TWA / dLO Z00£0908
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO OFS abed

CONFIDENTIAL
AZSER12771912
